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      the Proposed Classes and Subclasses
 9
10
                                   UNITED STATES DISTRICT COURT
11
                                 DISTRICT OF NORTHERN CALIFORNIA
12                                       SAN JOSE DIVISION

13   C.H., a minor, by and through their guardian ad       Case No. 5:19-cv-07016-BLF
     litem NICHOLE HUBBARD, as parent and
14
     guardian of C.H., a minor; CARA JONES, as             CLASS ACTION
15   parent and guardian of; E.J., N.J., A.J., and L.J.,
     minors; JUSTIN EFROS, as parent, by and               SECONDTHIRD AMENDED
16   through their guardian ofad litem CARA JONES;         COMPLAINT
     J.A.E. and J.R.E., minors;, by and through their
17
     guardian ad litem JUSTIN EFROS; M.W., a               DEMAND FOR JURY TRIAL
18   minor, by and through their guardian ad litem
     RENEE GILMORE, as parent and guardian of
19   M.W.; a minor; JAY GOODWIN, as parent and
20   guardian of; A.G., a minor;, by and through their
     guardian ad litem JAY GOODWIN; C.D, a minor,
21   by and through their guardian ad litem BOBBI
     DISHMAN, as parent and guardian of C.D, a
22   minor; individually and on behalf of all others
23   similarly situated,

24                         Plaintiffs,
            v.
25
26   GOOGLE LLC; YOUTUBE LLC; CARTOON
     NETWORK, INC.; CARTOON NETWORK
27   STUDIOS, INC.; CHUCHU TV STUDIOS,
     COOKIESWIRLC; DREAMWORKS
28   ANIMATION LLC; DREAMWORKS


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     ANIMATION TELEVISION, LLC; HASBRO,
 1
     INC.; HASBRO STUDIOS LLC; MATTEL, INC.;
 2   POCKETWATCH, INC.; REMKA, INC.; RTR
     PRODUCTION LLC; AND RFR
 3   ENTERTAINMENT, INC.
 4
                      Defendants.
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 1          Plaintiffs Nichole Hubbard, in her capacity as parent and guardian of her minor child, C.H.; Cara
 2   Jones, in her capacity as parent and guardian of her minor children, E.J., N.J., A.J., and L.J; Justin Efros,
 3   in his capacity as parent and guardian of his minor children, J.A.E. and J.R.E.; Renee Gilmore, in her
 4   capacity as parent and guardian of her minor child, M.W.; Jay Goodwin, in his capacity as parent and
 5   guardian of his minor child, A.G.; and Bobbi Dishman, in her capacity as parent and guardian of her
 6   minor child, C.D. (collectively, “Plaintiffs”)Plaintiffs, by and through their undersigned counsel, hereby
 7   allege the following against Defendants, on behalf of themselves and all others similarly situated, based
 8   on personal knowledge, information and belief, the investigation of counsel, and public sources.
 9                                         NATURE OF THE ACTION
10                  This action arises out of Defendants’ unlawful and deceptive invasion of the right to
11   privacy and reasonable expectation of privacy of millions of children under the age of thirteen, from
12   July 1, 2013 through the presentApril 1, 2020 (the “Class Period”). Plaintiffs bring claims on behalf of
13   their While holding themselves out publicly as respecting privacy rights, Defendants tracked the
14   behaviors and preferences of vulnerable children and solely, and irrefutably, for their significant
15   financial gain in violation of those well-established privacy protections, societal norms, and the laws
16   encapsulating those protections. This unlawful conduct was dependent upon the respective Classes and
17   Subclasses defined belowknowing and willful participation of all other similarly-situatedDefendants:
18   Google and YouTube, for their surreptitious and invasive collection of personal information by tracking
19   and profiling minors without consent through their YouTube platform, and targeting those minors solely
20   for the purpose of commercial gain through behavioral advertising; and the channel owners that
21   produced content designed to attract those vulnerable children under the age of thirteen injured by
22   Defendants’ conduct for: (i) invasion of privacy and the right to be freefor profiling, targeting and
23   behavioral advertising; agreed to allow Google’s deceptive and illicit conduct to occur on their channels
24   in order to share in the enormous illicit profits that conduct generated; and realized an even greater
25   financial benefit than Google from intrusion upon seclusion pursuant to the common laws the hundreds
26   of California, Colorado, New Jersey and the other states identified herein; (ii) violationsmillions of
27   dollars in advertising revenue the California Unfair Competition Law, Cal. Defendants shared. Bus. &
28   Prof. Code § 17200, et seq., the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.,

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 1   the Indiana Deceptive Consumer Sales Act, Ind. Code § 24-5-0.5-3, the Massachusetts Consumer
 2   Protection Act, Mass. Gen. Laws Ann. CH 93A, § 1, et seq., New Jersey Consumer Fraud Act, N.J. Stat.
 3   Ann. § 56:8-1, et seq., and the Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101 et
 4   seq.; (iii) violation of the right to privacy enumerated in the California Constitution, C AL. Const. Art. 1,
 5   § 1; and (iv) relief from Defendants’ unjust enrichment at the expense of minor children.
 6                  Defendants Google LLC and YouTube LLC (the “Google Defendants”) operate the
 7   video-sharing platform YouTube (“YouTube Platform”). The YouTube Platform contains videos
 8   created by individuals and entities that have registered with YouTube and uploaded their videos and
 9   created a “channel.” The YouTube Platform is accessible as a website (www.youtube.com), mobile
10   application, or as an application on a set top streaming device.
11                  Individuals do not have to register or sign in to view videos uploaded to the YouTube
12   Platform. Anyone, regardless of age, who visits the YouTube website can browse through and view
13   videos that have been uploaded. And anyone using a device on which the YouTube app has been
14   installed can watch videos on the YouTube Platform without verifying his or her age.
15                  The Defendants know that the YouTube Platform – which, as alleged, does not have an
16   age registration requirement – is a top online destination for children. Recent Indeed, recent studies have
17   foundshown that YouTube is “the #1 website regularly visited by kids.” As a result Because of its
18   popularity and its known regular use by children, popular child product brands, such as defendant toy
19   companies Mattel and Hasbro, among others, maintain YouTube channels and create content on the
20   YouTube Platform to attract child viewers.
21                  The Google Defendants generate revenue from the YouTube Platform fromthrough
22   YouTube channels that have optedagreed to be “monetized” by allowing– i.e., have agreed to allow the
23   Google Defendants to place paid advertising on their channels in return for a share of the resulting
24   advertising revenue. , with 45% of the revenue going to the Google Defendants, and a larger, 55% share
25   of the revenue, going to the channel owner.
26                  Throughout the Class Period, the Google Defendants enabled “behavioral advertising”
27   on monetized YouTube channels. Behavioral advertising (also known as personal advertising) is
28   informed by the behavior that is tracked across different websites, apps, and devices. When a channel

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 1   owner monetizes a channel with behavioral advertising – to which the channel owner knowingly and
 2   willingly consents – the Google Defendants collect information associated with a viewer’s cookie or
 3   mobile advertising identifier in order to track that viewer’s online activities, and deliver advertising that
 4   is specifically tailored to the viewer’s inferred interests. And because behavioral advertising is based on
 5   the viewer’s personal information, which is tracked across multiple websites, apps, and devices, from
 6   the viewer’s perspective, it is the most intrusive form of targeting.
 7                  During the Class Period, the Google Defendants contracted with numerous content
 8   creators who uploaded child-directed content to the YouTube Platform and agreed to monetize their
 9   channels with behavioral advertising, including Defendants The Cartoon Network, Inc., Cartoon
10   Network Studios, Inc., CookswirlC, Chu Chu TV Studios, DreamWorks Animation LLC, DreamWorks
11   Animation TV, LLC, Hasbro, Inc., Hasbro Studios LLC, Mattel, Inc., Pocketwatch, Inc., Remka, Inc.,
12   RTR Production LLC, and RFR Entertainment, Inc. (collectively, the “Channel Owner Defendants”)
13   owned and/or operated monetized YouTube Platform channels. As discussed more fully below, the
14   Google Defendants and each of the Channel Owner Defendants caused the personal information of
15   children viewing their channels to be collected for the purpose of creating individual profiles for those
16   minors, enabling Defendants to subject the minors to targeted advertising based on their profiles and
17   collectively realize hundreds of millions, if not more, of dollars in revenue as a result.”).
18                  According to Google’s Privacy Policy, Google collects personal data and information
19   from individuals who visit one of Google’s websites or any website that uses Google’s services. Included
20   in the information that Google collectedThe Google Defendants entered into these arrangements with
21   the Channel Owner Defendants with full knowledge of the child-directed content the Channel Owner
22   Defendants create and upload to the YouTube Platform and monetize with behavioral advertising, and
23   the Channel Owner Defendants likewise entered into these agreements with the Google Defendants
24   knowing and intending that their channels would be wrongfully utilized to facilitate this pernicious
25   behavioral advertising targeted to children. The Google Defendants and Channel Owner Defendants
26   knew and intended that, as a result of their arrangements, they would mutually profit from the intrusive
27   tracking and targeting of child viewers for purposes of the behavioral advertising. As a result, during the
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 1   Class Period, Defendants collectively realized hundreds of millions of dollars, if not more, in
 2   manipulating the behavior of these children.
 3                  Included in the personal data and information that Google collected about minor children
 4   during the Class Period are “persistent identifiers” such as internet protocol addresses and device serial
 5   numbers. Collection of persistent identifiers allows Google to develop profiles of individuals over time
 6   by tracking their activities across multiple websites. Recent studies have found that Google is capable
 7   of tracking activity across 80% of the internet. Further, as alleged herein, Google deceptively conceals
 8   its systematic collection of a substantial portion of the information and data it collects from users,
 9   creating undisclosed “shadow profiles” that it utilizes to enhance its financial gains through advertising
10   operations and activities.   Notably, Google’s Privacy Policy deceptively conceals that the purpose of
11   its tracking and assimilating information from its platforms, including YouTube, is to enable it to target
12   the vulnerabilities of children through behavioral advertising for profit.
13                  TheDuring the Class Period, the Channel Owner Defendants knowingly uploaded and
14   hosted child-directed content and monetized their channels with behavioral advertising that uses
15   persistent identifiers to track children. In the opinion of one FTC Commissioner, as to children under
16   13, these actions amount to a “widespread and brazen” violation of the Children’s Online Privacy
17   Protection Act (“COPPA”), 15 U.S.C. § 501, et seq.,.1 COPPA protects children under thirteen years old
18   from having their personal information (“Personal Information”) collected unless their parent has first
19   given verifiable consent. Since 2013, persistent identifiers have been included within the definition of
20   “Personal Information” that operators of website and online services are barred by COPPA from
21   collecting from children under thirteen without parental consent. years old without verifiable parental
22   consent.   And, Defendants’ conduct is not limited to minors under the age of thirteen; Defendants
23   similarly collect the personal information of older children without parental consent.
24
     1
25    Dissenting Statement of FTC Commissioner Rebecca Kelly Slaughter In the Matter of Google LLC
     and YouTube, LLC, available for download at https://www.ftc.gov/system/files/documents/
26   public_statements/1542971/slaughter_google_youtube_statement.pdf (accessed Jan. 14, 2021).
27   On January 21, 2021, President Joseph R. Biden designated Rebecca Slaughter as Acting Chair of the
     FTC. See https://www.ftc.gov/news-events/press-releases/2021/01/ftc-commissioner-rebecca-kelly-
28
     slaughter-designated-acting-chair (accessed Jan. 22, 2021).

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 1                    California, Colorado, New Jersey, and other states provide their citizens with substantial
 2   protections against unwarranted invasions of privacy. In particular, California, Colorado, New Jersey,
 3   and 31 other states recognize the common law right to be free from intrusion upon seclusion, as
 4   formulated by § 652B of the Restatement (Second) of Torts, which prohibits intentional intrusion upon
 5   the solitude or seclusion of another or his or her private affairs or concerns. In addition, the California
 6   Constitution provides California citizens and residents an enumerated right to privacy.
 7                    Plaintiffs’ minor children, Moreover, the actions undertaken by Defendants, including
 8   the tracking and collection of Personal Information from children without verifiable parental consent,
 9   were achieved through deceptive conduct. Publicly, the Google Defendants have consistently and
10   falsely denied marketing the YouTube platform to children – and denied that children utilized the
11   YouTube platform. The Google Defendants did this despite knowing that the YouTube child-directed
12   channels were intentionally designed to appeal to children, that the YouTube Platform was a top
13   attraction for children viewing its content, and despite touting the effectiveness of their tactics to the
14   Channel Owner Defendants, which agreed to use behavioral advertising to monetize their channels on
15   the YouTube platform for their own financial gain. Indeed, as FTC Commissioner Slaughter further
16   noted: “YouTube has long allowed channel owners to turn off default behavioral advertising and serve
17   instead contextual advertising that does not track viewers, but vanishingly few content creators would
18   elect to do so, in no small part because they receive warnings that disabling behavioral advertising can
19   ‘significantly reduce your channel’s revenue.’ In short, both YouTube and the channels have a strong
20   financial incentive to use behavioral advertising.” 2
21                    Motivated by profits, the Google Defendants encouraged, allowed and paid shared
22   revenues to the Channel Owner Defendants to upload and host monetized child-directed content with
23   behavioral advertising on the non-age restricted YouTube Platform. Despite marketing YouTube as the
24   “favorite website for kids 2-12,” internally and in communications with advertisers, the Google
25   Defendants falsely denoted the platform/site as “general audience, so there is no channel/content that is
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     2
         See fn. 1.
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 1   child-directed, and that compliance with COPPA was not required.” 3 This was a fictional ruse used to
 2   evade COPPA’s mandates—a ruse that the Channel Owner Defendants knew was false.
 3                   Outwardly, Google’s Privacy Policies created an expectation of privacy with respect to
 4   the YouTube Platform (and other Google apps and services), stating, [w]hen people use our products,
 5   they trust us with their information, and it’s our job to do right by them” by “being transparent” about
 6   “what data we collect, how it’s used, and why.” 4
 7                   The Google Defendants likewise falsely promised users of the YouTube Platform that
 8   they would, at all times, follow the law. To that end, Google’s Terms of Service states: “We want to
 9   maintain a respectful environment for everyone, which means you must follow these basic rules of
10   conduct” including “comply[ing] with applicable laws.” 5
11                   Google’s Code of Conduct on its corporate website is explicit on this score. It states:
12   “VII. Obey the Law: Google takes its responsibilities to comply with laws and regulations very seriously
13   and each of us is expected to comply with applicable legal requirements and prohibitions.” 6
14                   In short, the Google Defendants, through published Privacy Policies, Terms of Use, and
15   corporate Codes of Conduct, created an expectation of privacy for child viewers of the Channel Owner
16
17   3
         FTC Complaint, In the Matter of Google LLC and YouTube, LLC, at p.9.
18   4
       See Safety Center, Our privacy and security principles, Google, https://safety.google/principles/
     (accessed Jan. 21, 2021); see also Google Privacy Policy, as modified Dec. 18, 2017, available at
19
     https://policies.google.com/privacy/archive/20171218-20180525?hl=en (accessed Jan. 14, 2021);
20   (“Our goal is to be clear about what information we collect, so that you can make meaningful choices
     about how it is used.”); Google Privacy Policy, as modified on March 1, 2012, available at
21   https://policies.google.com/ privacy/archive/20120301?hl=en (accessed Jan. 14, 2021) (“As you use our
     services, we want you to be clear how we’re using information and the ways in which you can protect
22
     your privacy.”).
23   5
          Google      Terms     of   Service,  last    updated     Mar.   31,           2020,     available     at
24   https://policies.google.com/terms?hl=en-US (accessed Jan. 14, 2021).
     6
       Google Code of Conduct, last updated September 25, 2020, available at https://abc.xyz/investor/other/
25   google-code-of-conduct/ (accessed Jan. 14, 2021); see also Google Code of Conduct, last updated
26   October 17, 2017, archived at https://web.archive.org/web /20180421105327/https:/abc.xyz/
     investor/other/google-code-of-conduct.html (accessed Jan. March 29, 2021) (“Preface. ‘Don’t be evil.’
27   Googlers generally apply those words to how we serve our users. But “Don’t be evil” is much more than
     that. . . . [I]t’s also about doing the right thing more generally – following the law, acting honorably, and
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     treating co-workers with courtesy and respect.”)

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 1   Defendants’ child-directed content on the YouTube Platform, but then tracked and collected Personal
 2   Information from those viewers under the false pretense that the Google Defendants would be
 3   “transparent” with parents about what information was being collected from child viewers, and comply
 4   with applicable legal requirements and prohibitions – including COPPA with respect to children under
 5   thirteen – in doing so. They did neither. And the Channel Owner Defendants, knowing of the Google
 6   Defendants’ false promises and violations of the private information of minor children, knowingly
 7   agreed, for financial gain, to participate in the Google Defendants’ deceitful and wrongful conduct.
 8                  The Google Defendants’ actions, as herein alleged, subject them to liability for intrusion
 9   of seclusion under various state laws and common law principles that provide citizen protections against
10   unwarranted invasions of privacy. See, e.g., In Re Nickelodeon Consumer Privacy Litig., 827 F.3d 262
11   (3rd Cir. 2016).
12                  The Channel Owner Defendants aided and abetted and are jointly liable for these privacy
13   intrusions. They each joined with the Google Defendants in a commercial enterprise that had a unity of
14   purpose of tracking and collecting Personal Information from child viewers of the Channel Owner
15   Defendants’ child-directed programming on the YouTube Platform, did so with knowledge of the
16   Google Defendants’ deceitful and unlawful actions (which they enabled, consented to and refused to use
17   their control over their channels to prevent), and profited handsomely from the resulting harm
18   Defendants caused.
19                  During the Class Period, minor Plaintiffs C.H., E.J., N.J., A.J., L.J, J.A.E., J.R.E., M.W.,
20   A.G., and C.D. (collectively, “Plaintiffs’ minor children”) watched many of theone or more monetized
21   YouTube channels during the Class Period, including those owned or operated by the Channel Owner
22   Defendants. While Plaintiffs’ minorthese children viewed videos on the YouTube Platform, Defendants
23   unlawfully and deceptively collected thetheir Personal Information of Plaintiffs’ minor children,
24   including persistent identifiers, and deliveredin order to deliver targeted advertisements to Plaintiffs’
25   minor children Plaintiffs that were intended to influence their behavior.
26                  Defendants surreptitiously and deceptively collected the Personal Information of
27   Plaintiffs’ minor children and other minors under the age of thirteen without verifiable parental consent
28   during the Class Period. Defendants’ actions violated the privacy rights and reasonable expectations of

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 1   privacy of Plaintiffs’ minor children and other similarly-situated young children under thirteen, and
 2   constituted unfair and deceptive trade practices.
 3                  On September 4, 2019, the Federal Trade Commission and New York State Office of the
 4   Attorney General filed a Complaint for Permanent Injunction, Civil Penalties, and Other Equitable
 5   Relief (the “FTC Complaint”) against the Google Defendants concerning the Google Defendants’
 6   wrongful collection and misuse of minors’ Personal Information. The Google Defendants entered into
 7   a Stipulated Order for Permanent Injunction and Civil Penalty Judgment the same day (September 4,
 8   2019), agreeing to pay $170 million as a civil penalty for their misconduct. Pursuant to the Stipulated
 9   Order, the Google Defendants did not agree to immediately cease the misconduct. They were afforded
10   four months to comply (and in some instances, additional time), and, in fact, publicly stated that they
11   would continue their tracking practices for up to four additional months, which enabled them to continue
12   to collect and misuse Personal Information relating to millions of minors for further improper financial
13   gain. Further, the Stipulated Order did not require the Google Defendants to permanently delete,
14   destroy, or otherwise sequester the unlawfully obtained Personal Information that the Google
15   Defendants (or any other entity acting in concert with the Google Defendants as described herein) had
16   collected, disclosed, or utilized concerning Plaintiffs’ minor children and the members of the Classes
17   and Subclasses.
18                  Accordingly, minor Plaintiffs, through their parents and guardians, bring this action, and
19   the claims for the relief asserted herein, on behalf of their minor childrenthemselves and the Classes
20   and Subclasses of similarly-situated minors under the age of thirteen (as defined below) whose privacy
21   rights have, like Plaintiffs’ minor childrenPlaintiffs, been violated by Defendants, for damages,
22   restitution, and appropriate injunctive and/or equitable relief to address Defendants’ unlawful practices.
23                                      JURISDICTION AND VENUE
24                  This Court has general personal jurisdiction over Defendants Cartoon Networks Studios,
25   Inc., CookswirlC, DreamWorks Animation LLC, DreamWorks Animation Television, LLC, Google
26   LLC, YouTube LLC, Hasbro Studios LLC, Mattel, Inc., and Pocketwatch, Inc. because their principal
27   places of business are in California. Additionally, all Defendants are subject to specific personal
28   jurisdiction in this State because a substantial part of the events and conduct giving rise to Plaintiffs’

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 1   claims occurred in this State.
 2                   This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C
 3   §1332(d), because the amount in controversy for the Classes and Subclasses exceeds $5,000,000
 4   exclusive of interest and costs, there are more than 100 putative class members defined below, and
 5   minimal diversity exists because the majority of putative class members are citizens of a state different
 6   than Defendants.
 7                   This Court also has jurisdiction pursuant to 28 U.S.C §1332(d) because the amount in
 8   controversy exceeds $75,000 and is between citizens of different states.
 9                   Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because a substantial
10   portion of the conduct described in this Complaint was carried out in this District. Furthermore,
11   Defendants Google LLC and YouTube LLC are headquartered in this District and subject to personal
12   jurisdiction in this District.
13                                     INTRADISTRICT ASSIGNMENT
14                   Assignment to the San Jose Division is proper under Northern District of California Civil
15   Local Rule 3-2(c) because a substantial part of the events or omissions which give rise to the claims
16   asserted herein occurred in Santa Clara County and Defendant Google LLC’s principal place of business
17   is located in Santa Clara County, California. Under Civil Local Rule 3-2(e), all civil actions which arise
18   in the County of Santa Clara shall be assigned to the San Jose Division.
19                                                   PARTIES7
20   I.      Plaintiffs
21                   Plaintiff Nichole Hubbard (“Plaintiff Hubbard”) is a natural person and is a resident and
22   citizen of the State of California. Plaintiff is the parent and legal guardian of minor C.H.
23                   Plaintiff C.H. is a natural person and is a resident and citizen of the State of California.
24   C.H. is under the age of 13. C.H.’s parent and legal guardian is Nichole Hubbard, who is also a resident
25   and citizen of the State of California.
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27   7
       Plaintiffs have been retained by and will seek leave to amend to add additional minor child plaintiffs
     representing additional states and who watched additional channels in California, if this Complaint is
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     upheld in whole or in part.

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 1                    Plaintiff Cara Jones (“Plaintiff Jones”) is a natural person and is a resident and citizen of
 2   the State of Colorado. Plaintiff Jones is the parent and legal guardian of minorsPlaintiffs E.J, N.J, A.J,
 3   and L.J.
 4                    E.J. is a natural person and is a resident and citizen of the State of Colorado. E.J. is under
 5   the age of 13.
 6                    N.J. is a natural person and is a resident and citizen of the State of Colorado. N.J. is under
 7   the age of 13.
 8                    A.J. is a natural person and is a resident and citizen of the State of Colorado. A.J. is under
 9   the age of 13.
10                    L.J. is a natural person and is a resident and citizen of the State of Colorado. L.J. is under
11   the age of 13.
12                    Plaintiff Justin Efros (“Plaintiff Efros”) is a natural person and is a resident and citizen
13   of the State of New Jersey. Plaintiff Efros is the parent and legal guardian of minors J.A.E. and J.R.E.
14                    Minors J.A.E. and J.R.E. are natural persons and are residents and citizens of the State
15   of Colorado. Both E.J., N.J, A.E.J, and L.J.R.E. and are under the age of 13. Their parent and legal
16   guardian is Cara Jones, who is also a resident and citizen of the State of Colorado.
17                    Plaintiffs J.A.E. and J.R.E. are natural persons and are residents and citizens of the State
18   of New Jersey. J.A.E. and J.R.E. are under the age of 13. Their parent and legal guardian is Justin Efros,
19   who is also a resident and citizen of the State of New Jersey.
20                    Plaintiff Renee Gilmore (“Plaintiff Gilmore”)M.W. is a natural person and is a resident
21   and citizen of the State of Tennessee. Plaintiff Gilmore is the parent and legal guardian of M.W.
22                    M.W. is a natural person and isunder the age of 13. M.W.’s parent and legal guardian is
23   Renee Gilmore, who is also a resident and citizen of the State of Tennessee. M.W. is under the age of
24   13.
25                    Plaintiff Jay Goodwin (“Plaintiff Goodwin”)A.G. is a natural person and is a resident and
26   citizen of the Commonwealth of Massachusetts. Plaintiff GoodwinA.G. is under the age of 13. A.G.’s
27   parent and legal guardian of A.G.
28                    A.G. is a natural person andJay Goodwin, who is also a resident and citizen of the

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 1   Commonwealth of Massachusetts. A.G. is under the age of 13.
 2                  Plaintiff Bobbi Dishman (“Plaintiff Dishman”)C.D. is a natural person and is a resident
 3   and citizen of the State of Indiana. Plaintiff DishmanC.D. is under the age of 13. C.D.’s parent and legal
 4   guardian of C.D.
 5                  C.D. is a natural person and isis Bobbi Dishman (“Plaintiff Dishman”), who is also a
 6   resident and citizen of the State of Indiana. C.D. is under the age of 13.
 7   II.    Defendants
 8          A.      Google Defendants
 9                  Defendant Google LLC (“Google”) is a business incorporated under the laws of the State
10   of Delaware with its principal place of business in Mountain View, California. Google is a wholly-
11   owned subsidiary of Alphabet, Inc. and is the parent company of Defendant YouTube LLC.
12                  Defendant YouTube LLC (“YouTube”) is a wholly-owned subsidiary of Google LLC
13   incorporated under the laws of the State of Delaware with its principal place of business in San Bruno,
14   California. At all times mentioned herein, acting alone or in concert with Defendant Google LLC,
15   YouTube LLC has advertised, marketed, and distributed its YouTube video sharing platform to
16   consumers throughout the United States.
17          B.      Channel Owner Defendants
18               i. Cartoon Network
19                  Defendant The Cartoon Network, Inc. (“Cartoon Network”) is a Delaware corporation
20   with its principal place of business in Atlanta, Georgia.
21                  Defendant Cartoon Network Studios, Inc. (“Cartoon Network Studios”) is a Georgia
22   corporation with its principal place of business in Burbank, California.
23                  Collectively, the Cartoon Network and Cartoon Network Studios are referred to as the
24   “Cartoon Network Defendants.”
25               ii. ChuChu TV
26                  Defendant ChuChu TV Studios (“ChuChuTV”) is an Indian company with its principal
27   place of business located in Chennai, India. ChuChuTV availed itself of the benefits of conducting
28   business in the United States during the Class Period by targeting United States residents with

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 1   ChuChuTV’s content.
 2             iii. CookieSwirlC
 3                  Defendant CookieSwirlC is an entity located in Citrus Heights, California.
 4             iii. DreamWorks
 5                  DreamWorks Animation LLC (“DreamWorks”) is a Delaware corporation with its
 6   principal place of business in Glendale, California.
 7                  DreamWorks Animation Television, LLC (“DreamWorks TV”) is a Delaware
 8   corporation with its principal place of business in Glendale, California.
 9                  Collectively, DreamWorks and DreamWorks TV are referred to as the “DreamWorks
10   Defendants.”
11             iv. Hasbro
12                  Defendant Hasbro, Inc. (“Hasbro”) is a Rhode Island corporation with its principal place
13   of business in Pawtucket, Rhode Island.
14                  Defendant Hasbro Studios LLC (“Hasbro Studios”) is a Rhode Island corporation with
15   its principal place of business in Burbank, California.
16                  Collectively, Defendants Hasbro and Hasbro Studios are referred to as the “Hasbro
17   Defendants.”
18              v. Mattel
19                  Defendant Mattel, Inc. (“Mattel”) is a Delaware corporation with its principal place of
20   business in El Segundo, California.
21             vi. Ryan’s World (f/k/a Ryan ToysReview)
22                  Defendant Remka, Inc. (“Remka”) is a Texas corporation with its principal place of
23   business in Houston, Texas.
24                  Defendant RTR Production, LLC (“RTR Production”) is a Texas corporation with its
25   principal place of business in Houston, Texas.
26                  Defendant RFR Entertainment, Inc. (“RFR Entertainment”) is a Texas corporation with
27   its principal place of business in Houston, Texas.
28                  Defendant Pocketwatch, Inc. (“Pocketwatch”) is a Delaware corporation with its

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 1   principal place of business in Culver City, California.
 2                  Collectively, Remka, RTR Production, RFR Entertainment, and Pocketwatch are referred
 3   to as the “Ryan’s World Defendants.”
 4                                        FACTUAL BACKGROUND
 5   I.     Google and YouTube
 6          A.      Google
 7                  Google is a multinational internet technology and advertising company that owns the
 8   world’s two most-visited internet webpages: www.google.com and www.youtube.com. Google is best
 9   known for operating a search engine that catalogues websites and organizes information on the internet
10   to allow Google users to search the internet’s content. Google uses information that it learns from Google
11   users’ searches and web traffic patterns on websites it owns (including YouTube) and websites that use
12   Google’s advertising services to deliver targeted advertisements. Advertising is Google’s primary source
13   of revenue, accounting for approximately $116 billion out of Google’s $136.2 billion in revenue in 2018.
14          B.      YouTube
15                  YouTube LLC operates an online video-sharing platform, YouTube. YouTube allows its
16   visitors and/or users to view user-generated content that has been uploaded by registered YouTube users
17   to the YouTube Platform.
18                  To upload videos, individuals must register as a YouTube Platform user using a Google
19   account and set up a “channel.” To create a Google account an individual is asked to provide, inter alia,
20   his or her name and date of birth. Google prevents users who identify as under thirteen years old from
21   creating a Google account (an “age gate”). YouTube’s terms of service additionally provide that the
22   YouTube Platform is not intended for users under thirteen:
23          12. Ability to Accept Terms of Service
24
            You affirm that you are either more than 18 years of age, or an emancipated minor, or
25          possess legal parental or guardian consent, and are fully able and competent to enter into
            the terms, conditions, obligations, affirmations, representations, and warranties set forth
26          in these Terms of Service, and to abide by and comply with these Terms of Service. In
            any case, you affirm that you are over the age of 13, as the Service is not intended for
27
            children under 13. If you are under 13 years of age, then please do not use the Service.
28          There are lots of other great web sites for you. Talk to your parents about what sites
            are appropriate for you. (emphasis added).
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 1                  However, notwithstanding the stated age limitation included in YouTube’s Terms of
 2   Service, YouTube videos are viewable by anyone who accesses the YouTube Platform by visiting
 3   www.youtube.com or using the YouTube mobile or streaming device app. Individuals do not have to be
 4   registered with Google, nor signed into the YouTube Platform, to view YouTube videos. The Google
 5   Defendants do not verify the age of an individual opening an already-installed YouTube mobile app on
 6   a mobile device or through other electronic media, including computers. The Google Defendants have,
 7   at all times throughout the Class Period, been well aware that minors under the age of thirteen access
 8   YouTube’s channels; have actively sought to increase viewers of the YouTube Platform by children
 9   under the age of thirteen (all while representing that such minors are not permitted to access the
10   Platform); and have sought to exploit, for commercial purposes and gain, the millions of YouTube
11   viewers under the age of thirteen through Google’s advertising practices, which comprise the vast
12   majority of Google’s earnings.Nor is it likely that most viewers see YouTube’s terms of service, which
13   are accessible only through a link displayed in very small font at the bottom left corner of the YouTube
14   homepage. Minor children are particularly unlikely to click on YouTube’s terms, and, regardless, would
15   not have the ability to understand them or consent to them.
16                  The Google Defendants have, at all times throughout the Class Period, been well aware
17   that minor children access YouTube’s channels and have actively sought to increase viewing on the
18   YouTube Platform by children through content directed toward those children, while publicly
19   representing that such minors are not permitted to access the Platform – and have been astoundingly
20   successful attracting this young viewership.
21   II.    Google’s Advertising Practices
22                  Google offers a number of services, such as YouTube and the email service Gmail, free
23   of charge. Google earns revenue from these services via advertising.
24          A.      Google’s Privacy Policy
25                  The Google Defendants collect personal information from individuals who access the
26   YouTube Platform. Google’s Privacy Policy applies to the YouTube Platform and outlines the personal
27   information the Google Defendants collect. Defendants collect, inter alia, the following information
28   about YouTube’s users:

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 1                  User Activity: searches run, videos watched, views and interactions with content and
 2   ads, voice and audio information, purchase activity, people with whom a user communicates, browsing
 3   history, and activity on third-party sites and apps that use Google services, which includes Google’s
 4   advertising services);
 5                  Location Information: GPS, internet protocol (“IP”) address, device sensor data, and
 6   data from devices located near a user;
 7                  Unique Identifiers: cookie ID, advertising ID, device ID, among others.
 8                   Google defines the term “unique identifiers” as a string of characters that can be used to
 9   uniquely identify a browser, app, or device.” 8 Unique identifiers can arise from a variety of applications,
10   websites, sensors, and devices.
11               i. Cookies
12                   Google stores some unique identifiers in a text file stored on an individual’s browser.
13   These text files are known as “cookies.” The type of information stored in cookies can include websites
14   the user has previously visited, the duration of website visits, videos viewed, advertisements viewed,
15   duration of video views, and advertisements clicked, among other information. One popular use of
16   cookies is to enable an individual to visit a series of affiliated websites, for example Gmail and YouTube,
17   without having to re-enter his or her user name and password on each. Each cookie contains a string of
18   characters, or a “cookie ID,” that allows the website or service to recognize that specific browser.
19   Cookies, and the unique identifiers stored in cookies, can generally be deleted.
20               ii. Persistent Identifiers
21                   Some data and/or information Google collects cannot be easily deleted or reset. Because
22   these data points remain constant, or “persist,” they are colloquially referred to as “persistent identifiers.”
23   Common examples of persistent identifiers are social security numbers and phone numbers. Since
24   persistent identifiers are difficult to change or reset, they are seen by advertisers as a more reliable
25   method of identifying and tracking users over time than cookies.
26                   One example of a persistent identifier collected by Google is a user’s IP address. An IP
27
     8
28     Google Privacy Policy, Google, https://policies.google.com/privacy?hl=en-US (accessed Oct. 21,
     2019).
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 1   address is a numerical label assigned to each device connected to a computer network, such as the
 2   internet. Another example of a persistent identifier collected by Google is a device’s International
 3   Mobile Equipment Identity (“IMEI”) number. Every mobile phone and smartphone is assigned a unique
 4   IMEI that cannot be changed.
 5                  The Google Defendants use persistent identifiers to track individuals’ internet behavior.
 6   For example, a website that uses Google’s advertising services to deliver ads to its visitors will send
 7   Google its visitors’ IP address and/or IMEI number. When another website that uses Google’s
 8   advertising services sends Google the same IP address or IMEI number, Google knows that individual
 9   has visited both websites. Recent studies have found that Google is capable of tracking individuals over
10   80% of the internet.9
11                  Google uses this information to build detailed individual profiles which include
12   identifiers that correlate with individual users. Most individuals have no idea that Google is tracking
13   their activity across 80% of the internet. The data, and virtually no minor child would have any
14   understanding of this activity. The data that Google gathers is stitched into a single profile of a user
15   which gives Google the most accurate, up-to-date, snapshot of a user’s attributes and behaviors. Google
16   uses this data to deliver targeted advertisements to YouTube video viewers based on preferences inferred
17   from their profiles. User profiles such as those developed by Google have been called the “holy grail”
18   of advertising10 and allow Google to charge advertisers increased advertising rates.
19                  Google uses unique and persistent identifiers to track individuals’ activity on any
20   webpage that is using Google’s advertising services. An individual’s activity on those websites is
21   shared with Google:
22          Your activity on other sites and apps
23
     9
24     Steven Englehardt & Arvin Narayanan, Online Tracking: A 1-million-site Measurement and Analysis,
     Princeton University WebTAP Project, http://randomwalker.info/publications/OpenWPM_1_million_
25   site_tracking_measurement.pdf (accessed Oct. 21, 2019) (emphasis added).
     10
26     Randell Cotta, Sr., Overcoming the Last Hurdle in the Quest for the “Holy Grail” of Marketing, KD
     NUGGETS, https://www.kdnuggets.com/2017/02/quest-holy-grail-marketing.html (accessed Oct. 21,
27   2019).
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 1
                This activity might come from your use of Google services, like from syncing your
 2              account with Chrome or your visits to sites and apps that partner with Google. Many
                websites and apps partner with Google to improve their content and services. For example,
 3              a website might use our advertising services (like AdSense) or analytics tools (like Google
                Analytics), or it might embed other content (such as videos from YouTube). These
 4
                services may share information about your activity with Google and, depending on your
 5              account settings and the products in use (for instance, when a partner uses Google
                Analytics in conjunction with our advertising services), this data may be associated with
 6              your personal information.11
 7
                       Google states that it uses these profiles to deliver “more relevant search results and ads”
 8
     to YouTube video viewers.12 To illustrate this point, Google offers the following example: “if you watch
 9
     videos about baking on YouTube, you may see more ads which relate to baking as you browse the
10
     web.”13
11
                       Nowhere did Google’s Privacy Policy advise or explain that the collection of information
12
     from viewers of the content directed at children on YouTube was solely for the purpose of the Google
13
     Defendants’ and the Channel Owner Defendants’ financial gain through manipulation of those viewers
14
     in order to engage in behavioral advertising, which was in contravention of and/or concealed by the
15
     stated purposes contained in the Privacy Policy. In other words, the Google Privacy Policy – to the
16
     extent it provided any indication of collecting information from users – represented that it was for the
17
     benefit of the users and to improve Google’s services. Establishing profiles solely to target and
18
     manipulate children for behavioral advertising for the Google Defendants’ and the Channel Owners’
19
     financial benefit, rather than the benefit of the user, was antithetical to the Google Defendants’
20
     representations in the Privacy Policy.
21
                       Further, Google did not, and does not, have a separate privacy policy for minor children
22
     under the ageas of thirteenOctober 2019 or later. Google applied the data collection practices described
23
24   11
          Google Privacy Policy (accessed Oct. 21, 2019).
     12
25        Id.
26
     13
             Ads       you’ll     find     most      useful,     Google       Privacy    &               Terms,
27   https://policies.google.com/privacy/example/ads-youll-find-most-useful?hl=en (accessed            Oct. 16,
     2019) (emphasis added).
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 1   herein to each individual who visited YouTube, Google, or any website using any of Google’s services
 2   during the Class Period, irrespective of that individual’s age. – even for viewers of children’s content
 3   on YouTube, for which the primary audience, as Google knew full well, is children. 14
 4                    After reaching a settlement with the FTC and the New York Attorney General in fall 2019,
 5   Google announced that it would begin complying with COPPA on the YouTube platform for the first
 6   time beginning in January 2020:
            We are changing how we treat data for children’s content on YouTube. Starting in about four
 7
            months, we will treat data from anyone watching children’s content on YouTube as coming from
 8          a child, regardless of the age of the user. This means that we will limit data collection and use on
            videos made for kids only to what is needed to support the operation of the service. We will also
 9          stop serving personalized ads on this content entirely, and some features will no longer be
            available on this type of content, like comments and notifications. In order to identify content
10
            made for kids, creators will be required to tell us when their content falls in this category, and
11          we’ll also use machine learning to find videos that clearly target young audiences, for example
            those that have an emphasis on kids characters, themes, toys, or games. 15
12
13   YouTube also committed to introducing a new annual training for its teams regarding COPPA.
14                    Subsequent to the filing of Plaintiffs’ initial complaint, Google also created a “Privacy
15   Notice for Google Accounts Managed with Family Link, for Children under 13 (or applicable age in
16   your country).16 In this Privacy Notice, Google admits to collecting minor children’s Personal
17   Information and tracking their activities across the Internet, including to provide recommendations,
18   personalized content, and customized search results.17 Now, in a change from its former practice, Google
19   represents that it “will not serve personalized ads to your child, which means ads will not be based on
20   information from your child’s account. Instead, ads may be based on information like the content of the
21   website or app your child is viewing, the current search query, or general location (such as city or
22
23
     14
24      An update on kits and data protection on YouTube, YouTube Official Blog, Sept. 4, 2019,
     https://youtube.googleblog.com/2019/09/an-update-on-kids.html (accessed Jan. 20, 2021).
25   15
        An update on kids and data protection on YouTube, YouTube Official Blog, Sept. 4, 2019,
26   https://youtube.googleblog.com/2019/09/an-update-on-kids.html (accessed Jan. 20, 2021).
     16
27        https://families.google.com/familylink/privacy/child-policy/ (accessed Dec. 2, 2020).
     17
          Id.
28

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 1   state).”18 Google also now purports to allow children or parents to delete minor children’s activity. 19
 2   None of these disclosures about its collection and tracking of minor children’s Personal Information and
 3   internet activities or purported creation of a right to delete collected information about minor children
 4   existed at the time this action was filed.
 5              B.    YouTube Channel Monetization
 6                    YouTube channel owners that pass a viewership threshold set by the Google Defendants
 7   can choose to “monetize” their channel by allowing Google to run advertisements on the channel
 8   owner’sthat channel. Advertisements can take the form of a video clip played before, during, or after
 9   the channel owner’s video is played, or can be displayed as a banner. The Google Defendants and the
10   owners of monetized YouTube channels share such advertising revenue. The Google Defendants keep
11   45% of the advertising revenue and the channel owner receives 55%. 20
12              C.    Google’s Targeted Advertising Techniques
13                    Advertising on YouTube can either be behavioral or contextual targeting. Behavioral
14   targeting is the delivery of advertisements to individuals based on that user’s personal information,
15   which is tracked across multiple websites, apps, and devices. The information Google Defendants collect
16   is incorporated into an algorithm which can infer which types of advertisements are likely to have the
17   greatest impact on the user associated with the information (i.e., most likely to be clicked).
18                    Behavioral targeting is the default method of advertising employed by Google on
19   monetized channels because it is the most lucrative for both the Google Defendants and for YouTube
20   channel owners. From the user’s perspective, it is also the most intrusive form of targeting. Owners of
21   monetized channels can opt out of behavioral targeting. If a channel owner opts out, Google will employ
22   contextual targeting.
23                    Contextual targeting is a process by which Google matches advertisements to relevant
24   YouTube channels using keywords provided by the advertiser. Google’s system analyzes the content of
25
     18
          Id.
26
     19
          Id.
27   20
         See Eric Rosenberg, How YouTube Ad Revenue Works, INVESTOPEDIA (Oct. 7, 2018),
28   https://www.investopedia.com/articles/personal-finance/032615/how-youtube-ad-revenue-works.asp
     (accessed Oct. 24, 2019).
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 1   a YouTube channel to determine its central theme, which is then matched to an advertiser’s
 2   advertisements using a variety of factors including keywords and topic selections. Contextual targeting
 3   does not rely on user-specific data to provide ads.
 4                  Behavioral targeting is thought be more effective than contextual targeting. Google thus
 5   pays YouTube channel owners more for allowing Google to run behavioral targeted advertisements than
 6   contextual targeting.
 7
     III.   California, Colorado, New Jersey and Thirty-One Other States’States Recognize a
 8          Common Law Right to be Free from Intrusion Upon Seclusion, and the California
            Constitution’s EnumeratedConstitution Specifically Enumerates a Right to Privacy
 9
10                  “Invasion of privacy has been recognized [in California] as a common law tort for over
11   a century.” Matera v. Google Inc., 15-CV-0402, 2016 WL 5339806, at *10 (N.D. Cal, Sept. 23, 2016)
12   (citing Restatement (Second) of Torts §§ 652A-I for the proposition “that the right to privacy was first
13   accepted by an American court in 1905, and ‘a right to privacy is now recognized in the great majority
14   of the American jurisdictions that have considered the question’”). Id. “The common law secures to
15   each individual the right of determining, ordinarily, to what extent his thoughts, sentiments, and
16   emotions shall be communicated to others.” Samuel D. Warren & Louis Brandeis, The Right to Privacy,
17   4 HARV. L. REV. 193, 198 (1890).
18                  The Second Restatement of Torts recognizes the same privacy rights through its tort of
19   intrusion upon seclusion, explaining that “[o]ne who intentionally intrudes, physically or otherwise,
20   upon the solitude or seclusion of another or his private affairs or concerns, is subject to liability to the
21   other for invasion of his privacy.” Restatement (Second) of Torts § 652B (1977). The United States
22   Supreme Court has similarly recognized the primacy of privacy rights, explaining that the Constitution
23   operates in the shadow of a “right to privacy older than the Bill of Rights.” Griswold v. Connecticut,
24   381 U.S. 479, 486 (1965). In addition to California, Colorado, and New Jersey, 31 other states recognize
25   the common law cause of action for intrusion upon seclusion, and California, Colorado, New Jersey and
26   the other 31the states all adhere to the formulation and elements of that cause of action set forth in §
27   652B of the Restatement (Second) of Torts based on elements of the cause of action similar to the
28

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 1   elements adopted in California.21 All of these States recognize the heightened need to protect the privacy
 2   interests of minor children.
 3                   California amended its constitution in 1972 to specifically enumerate a right to privacy
 4   in its very first section, and courts have recognized that this afford individual’saffords individuals a
 5   private right of action for invasions of their privacy. See CAL. CONST. ART. I, § 1. The California
 6   Supreme Court has recognized the fundamental injuries at stake in privacy violations, explaining as
 7   follows:
 8
             [A] measure of personal isolation and personal control over the conditions of its
 9           abandonment is of the very essence of personal freedom and dignity . . . A [person] . . .
             whose conversations may be overhead at the will of another . . . is less of a [person], has
10           less human dignity, on that account. He who may intrude upon another at will is the master
             of the other and, in fact, intrusion is a primary weapon of the tyrant.
11
12   Shulman v. Grp. W Prods., Inc., 18 Cal. 4th 200, 231 (1998) (quoting Edward J. Bloustein, Privacy as
13   an Aspect of Human Dignity: An Answer to Dean Prosser, 39 N.Y.U. L. REV. 962, 973-74 (1964)); see
14   also Gill v. Curtis Pub. Co., 38 Cal. 2d 273, 276 (1952) (“Recognition has been given of a right to
15   privacy, independent of the common rights to property, contract, reputation and physical integrity... In
16   short, it is the right to be let alone.”) (internal quotation marks omitted).
17   IV.     The Children’s Online Privacy Protection Act of 1998
18                   Congress passed COPPA in 1998 in response to concerns that children’s online activities
19   were being tracked by operators of websites and online services. Specifically, COPPA is intended to
20   “maintain the security of personally identifiable information of children collected online” and to “protect
21   children’s privacy by limiting the collection of personal information from children without parental
22   consent.”22 COPPA provides, in pertinent part, that:
23
             It is unlawful for an operator of a website or online service directed to children, or any
24           operator that has actual knowledge that it is collecting personal information from a child,
25           to collect personal information from a child in a manner that violates the regulations

26   21
        The other 31 states are Alabama, Alaska, Arizona, Arkansas, Connecticut, Delaware, Georgia, Hawaii,
     Idaho, Illinois, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Minnesota, Missouri, Nevada,
27
     New Hampshire, North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, South Dakota, Texas, Utah,
28   Vermont, Washington, and West Virginia.
     22
        144 CONG. REC. S12787.
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            prescribed [by the Federal Trade Commission].
 1
 2   15 U.S.C. § 6502(a).
 3                  COPPA applies to any operator of a commercial website or online service directed to
 4   children under thirteen years of age that collects, uses, and/or discloses personal information from
 5   children. The FTC has interpreted COPPA’s definition of “website or online service” to include
 6   individual channels on a general audience platform. Thus, according to the FTC, “content creators and
 7   channel owners” are both “standalone ‘operators’ under COPPA, subject to strict liability for COPPA
 8   violations.”23 Additionally, the FTC considers third parties with actual knowledge that they are
 9   collecting personal information from users of a child-directed site or service as operators under COPPA.
10                  In order to determine whether a website or online service is “directed to children” the
11   FTC will:
12         [C]onsider [the website’s or online service’s] subject matter, visual content, use of
           animated characters or child-oriented activities and incentives, music or other audio
13         content, age of models, presence of child celebrities or celebrities who appeal to children,
           language or other characteristics of the Web site or online service, as well as whether
14
           advertising promoting or appearing on the Web site or online service is directed to
15         children.

16   16 CFR § 312.2

17                  Websites or online services that collect personal information from users of other child-

18   directed websites or online services are deemed as “child-directed” if the website or online service “has

19   actual knowledge that it is collecting personal information directly from users of another Web site or

20   online service directed to children.” 16 C.F.R. § 312.2.

21                  COPPA defines a “child” as an individual under the age of thirteen. 15 U.S.C. § 6501(a).

22   In relevant part, the FTC regulations require an operator to disclose information collection practices and

23   “obtain verifiable parental consent for [any] collection, use, or disclosure of personal information from

24   children.” Id. § 6502(b)(1)(A); see 16 C.F.R. § 312.5(a).

25                  COPPA prohibits the collection of the following information (“Personal Information”)

26
     23
        Statement of Joseph J. Simons & Christine S. Wilson, Regarding FTC and People of the State of New
27
     York v. Google LLC and YouTube, LLC, FEDERAL TRADE COMMISSION, https://www.ftc.gov/system/
28   files/documents/public_statements/1542922/simons_wilson_google_youtube_statement.pdf (accessed
     Oct. 21, 2019).
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 1   from children under thirteen without parental consent:
 2              a. full name;
 3              b. home or physical address;
 4              c. online contact information such as an email address or other identifier;
 5              d. telephone number;
 6              e. social security number;
 7              f. persistent identifier that can be used to recognize a user over time and across different
 8                  sites, including a cookie number, an IP address, a processor or device serial number, or
 9                  a unique device identifier;
10              g. Photo, video, or audio file containing a child’s image or voice; and
11              h. Geolocation information sufficient to identify a street name and city or town.
12                  COPPA thus prohibits, inter alia, the collection of persistent identifiers for behavioral
13   advertising absent notice and verifiable parental consent. 16 C.F.R. §§ 312.5(c)(7), 312.2.
14                  Violations of COPPA and the accompanying FTC regulations “shall be treated as a
15   violation of a rule defining an unfair or deceptive act or practice prescribed under” 15 U.S.C. § 57a.
16                  When videos are viewed on the YouTube Platform by children under the age of thirteen,
17   Defendants do not disclose that they are tracking, profiles, and targeting children—and do not obtain
18   verified parental consent to do so.
19                  Moreover, the standards in COPPA have given rise to accepted norms throughout society
20   for defining the expectations of privacy for minor children.
21                                     SUBSTANTIVE ALLEGATIONS
22
        I.      I. The Google Defendants Deceived the Public Regarding Their Collection of Personal
23
                    IdentifiersDeceptively Tracked American Children without Consent
24
                    At all material times, the Google Defendants deceived Plaintiffs and the members of the
25
     Classes and Subclasses regarding their data collection and tracking behavior. As alleged herein, the
26
     Google Defendants—in concert, with the authorization and consent of the Channel Owner Defendants—
27
     , knowingly and purposefully tracked, profiled, and targeted minors on the YouTube Platform for
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 1   advertising revenue in contravention of privacy rights, societal norms and federal and state statutes,
 2   while feigning compliance with these rights and statutes. Plaintiffs and the members of the Classes and
 3   Subclasses were exploited by the Google Defendants (and their advertising partners, such as the Channel
 4   Owner Defendants) for financial gain.
 5                  The Google Defendants make a serial practice of the deceptive collection and use of user
 6   activity on its platform(s). Well-founded analysis explains that the Google Defendants—to the extent
 7   they accurately disclose any data collection activities —are engaged in the creation of “shadow profiles”
 8   of users (irrespective of whether or not they have Google accounts) tracking, collecting, and using
 9   “hidden datasets” regarding all activity, a significant amount of which is concealed from and unknown
10   to users, and even allows the Google Defendants to target users who have “opted out” of advertising (or
11   data collection) and/or have deleted data. The Google Defendants “monetize” this deceptively collected
12   and stored data, which includes, among other things, unique identifiers, personal information, location
13   information, cookie data and metadata, enhancing Google Defendants’ ability to realize the billions they
14   earn annually in advertising revenue.24
15   II.    The Google Defendants Knowingly Targeted Children Under Thirteen on YouTube
16                  On September 4, 2019, Google issued a statement in conjunction with its settlement with
17   the FTC and New York Attorney General’s office for alleged violations of COPPA that included, inter
18   alia, the following:
19
             From its earliest days, YouTube has been a site for people over 13, but with a boom in
20           family content and the rise of shared devices, the likelihood of children watching without
             supervision has increased. We’ve been taking a hard look at areas where we can do more
21           to address this, informed by feedback from parents, experts, and regulators, including
             COPPA concerns raised by the U.S. Federal Trade Commission and the New York
22
             Attorney General that we are addressing with a settlement announced today. 25
23
24
     24
25      Oracle, Google’s Shadow Profile: A Dossier of Consumers Online and Real World Life (Feb. 2019),
     https://assets.publishing.service.gov.uk/media/5e1c4985e5274a06b7450a13/Oracle_-
26   _Response_to_SoS_-_Appendix_4_-_Google_Shadow_Profiles.pdf at 1-2, 17, passim (accessed Mar.
     12, 2020).
27
     25
28      An update on kits and data protection on YouTube, YouTube Official Blog, Sept. 4, 2019,
     https://youtube.googleblog.com/2019/09/an-update-on-kids.html (accessed Oct. 22, 2019).
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 1                  But the facts establish that the Google Defendants have always targeted children as a core
 2   audience. At all relevant times, the Google Defendants solicited and encouraged the creation of content
 3   that was directly aimed at children under thirteen and made that content available on the YouTube
 4   Platform.
 5                  For example, YouTube The Google Defendants deceptively operated the YouTube
 6   Platform as if it were only used by adults while intentionally luring millions of children to the platform.
 7   The Google Defendants intentionally tracked and collected the personal information of each YouTube
 8   platform user, treatment only an adult can legally consent to, in order to target children with behavioral
 9   advertising despite knowing that millions of these users were actually minor children, including minor
10   children under the age of thirteen, solely for the financial benefit of the Google Defendants and the
11   Channel Owner Defendants, who knowingly and willingly consented to the conduct.
12          A.      Google Defendants Designed YouTube to be Inappropriate for Children.
13                  The Google Defendants operate YouTube according to the principle that the YouTube
14   consumer is the product. The Google Defendants expect YouTube Platform users to consent to the
15   Google Defendants’ data collection practices and subject them to periodic advertisements calculated
16   (based on their own data) to appeal to them.
17                  Data collection of this nature requires the consent of the individual whose data is being
18   collected. But only adults are capable of giving such consent – to the extent it was sufficiently explained
19   in Google’s Privacy Policy or YouTube Terms of Service.
20                  The Google Defendants thus inserted language into the YouTube Terms of Service, and
21   later the Google Privacy Policy, which indicated that YouTube was intended to be used by individuals
22   thirteen and older. According to the Google Defendants, this statement, buried within their privacy
23   policy, was adequate to absolve them of any responsibility to limit their data collection practices.
24                  The Google Defendants’ attempt to insulate themselves from their conduct by notifying
25   children that the website is not for them is, as described above, simply an artifice. In addition, as
26   described above, nowhere do the Google Defendants disclose that they engage in the tracking of
27   information in order to profile and target children who view the YouTube platform solely for the
28   purposes of the Google Defendants’ financial gain from behavioral advertising, which they share with

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 1   the Channel Owner Defendants who enable this conduct.
 2          B.       Google Lured Children to the YouTube Platform with Child-Directed Content
 3                  The economic benefits to the Google Defendants from this conduct were simply too
 4   lucrative to pass up. Thus, despite their repeated, consistent, and public representations that the
 5   YouTube Platform was for adults, the Google Defendants engaged in a concerted effort to lure millions
 6   of minor children, including minor children under the age of thirteen, to use the YouTube Platform so
 7   that the Google Defendants could track them and show them advertisements for profit, enlisting trusted
 8   children’s brands to create child-directed content.
 9                  To accomplish this, the Google Defendants put together guides for content creators which
10   contained insights the Google Defendants had gleaned from their surreptitious tracking of consumers
11   across the internet. This included the creation of the “YouTube Academy” to offer advice on creating
12   “family-friendly” content to YouTube channel owners to enable them be more successful (i.e., get more
13   views and earn more money) and also provided content creators with a 94-page field guide to help
14   content creators produce the “best content for children.” 26 The Google Defendants used the YouTube
15   Academy and the field guide to help ensure that children would flock to the platform and remain on it.
16                  The Google Defendants also deceptively used the creation of the YouTube Kids App as
17   a guise to generate content for children on the YouTube Platform. YouTube Kids’ is YouTube’s
18   application “Made Just for Kids,” and was “designed to be a safer and simpler place for kids to explore
19   their interests through online video.”27 Yet the Google Defendants mandated that every video that was
20   available on the YouTube Kids App was also uploaded to the YouTube Platform. Because every video
21   on the YouTube Kids App was directed towards young children, this necessarily meant that the Google
22   Defendants were knowingly uploading content to the YouTube Platform that was designed specifically
23   to attract child viewers. Despite this knowledge, the Google Defendants tracked every single viewer of
24   these videos on the YouTube Platform. And, as described herein, the viewership of YouTube – the new
25
     26
26       YouTube Kids Field Guide, YouTube, https://static.googleusercontent.com/media/www.youtube.
     com/en//yt/family/media/pdfs/creating-for-youtube-kids-fieldguide.pdf (accessed Oct. 22, 2019).
27   27
        https://www.youtube.com/intl/ALL_us/kids/safer-
     experience/?gclid=Cj0KCQiAjKqABhDLARIsABbJrGmo2SCCYT5X9FGB8mJtmE14Y-AE2-
28
     H1IfLOdYEFfTO513LmMMpO7rYaAmiJEALw_wcB&gclsrc=aw.ds (accessed Jan. 22, 2021.)

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 1   “Saturday Morning Cartoons” – dwarfed that of YouTube Kids.
 2                 Significantly, until 2019, the YouTube Kids App was only available as a mobile app, and
 3   was not accessible via web browser. This meant that when a child searched (likely using Google) for her
 4   favorite show on a web browser, the child would be shown links to child-directed content hosted on the
 5   YouTube Platform and not the YouTube Kids App, which the Google Defendants did not use to employ
 6   their tracking and behavioral advertising scheme. If the child clicked any of those links and watched
 7   those videos, they would be tracked as if they were an adult YouTube user.
 8                  As the screenshot below shows (the page has now been removed from YouTube’s
 9   website), the Google Defendants were aware and encouraged content creators to post child-directed
10   content on the YouTube Platform – YouTube Academy provided specific guidance on creating content
11   intended for young children on the YouTube Platform (not YouTube Kids):
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 1                  To remove any doubt as to what age groups this content was developed for, the Google
 2   Defendants also created a rating system whereby YouTube channel owners could signal that their videos
 3   were safe for children under thirteen. The ratings options were Y (generally intended for ages 0-7); G
 4   (intended for any age); PG (generally intended for ages 10+); Teen (generally intended for ages 13+);
 5   MA (generally intended for ages 16+); and X (generally intended for ages 18+). At one point, YouTube
 6   also used the classification “Made for Kids” for certain videos shown on YouTube. YouTube encouraged
 7   content creators to accurately categorize their content so that they could properly target children viewers
 8   with advertisements.
 9                  YouTube also created the “YouTube Academy” to offer advice on creating “family-
10   friendly” content to YouTube channel owners to enable them be more successful (i.e., get more views
11   and earn more money). As the screenshot below formerly contained on YouTube’s website shows (the
12   page has now been removed from YouTube’s website), the YouTube Academy provided specific
13   guidance on creating content intended for young children on the YouTube Platform (not YouTube Kids):
14                  The Google Defendants also misleadingly used their creation of YouTube Kids as a guise
15   to generate content for children under thirteen on the YouTube Platform. All content posted on YouTube
16   Kids was also available on the general YouTube Platform during the Class Period. To promote the
17   creation of content for children, the Google Defendants provided a 94-page field guide to help content
18   creators produce the “best content for children.”28 But the Google Defendants knew that far fewer
19   children useWhile the Channel Owner Defendants signaled what age groups their videos were intended
20   for, the Google Defendants “rate[d] all videos uploaded to YouTube, as well as the channels as a whole.
21   Defendants assign[ed] each channel and video a rating . . . Defendants assign[ed] these ratings through
22   both automated and manual review.”
23          C.      The Google Defendants Were Aware They Were Tracking Children
24                  The Google Defendants knew that the deceptive tactics they employed to steer and lure
25   children to the YouTube Platform were successful and that far fewer children use the YouTube Kid’s
26
     28
       YouTube Kids Field Guide, YouTube, https://static.googleusercontent.com/media/www.youtube.
27
     com/en//yt/family/media/pdfs/creating-for-youtube-kids-fieldguide.pdf (accessed Oct. 22, 2019).
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 1   Platform compared to the YouTube Platform. For example, an August 2019 study that ranked 350
 2   children’s brands across 19 consumer categories ranked YouTube #1 and YouTube Kids #50. 29 Another
 3   recent study found that almost twice as many children used the YouTube Platform (83%) as used
 4   YouTube Kids (45%).30
 5                 Additional studies confirm that the Google Defendants’ efforts throughout the Class
 6   Period to make attract young children to the YouTube the “new ‘Saturday Morning cartoons’”Platform
 7   were successful. 31 For example:
 8                     A 2014 study by The Marketing Store and Kid Say (“2014 Global Kids Study”)
 9                     found that YouTube was voted as the unanimous favorite website of kids 2-12 and
10                     that 93% of tweens (children aged 8-11) used YouTube;32
11                     A 2015 study by Nielson MRI (“2015 Nielson Study”) found that YouTube was the
12                     “leader in reaching children age 6-11 against top TV channels. The study found that
13                     63% of children age 6-11 watch YouTube, tying TV channel Nickelodeon and
14                     beating the Disney Channel (57%) and Cartoon Network (49%);33
15
16
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18   29
        Smarty Pants® Study Finds YouTube Is #1 Brand Among U.S. Kids, PR NEWSWIRE (Aug. 1, 2019),
19   https://www.prnewswire.com/news-releases/smarty-pants-study-finds-youtube-is-1-brand-among-us-
     kids-300894505.html (accessed Oct. 22, 2019).
20
     30
21     Alexandra Whyte, The surprising social sites where kids spend their time, KIDSCREEN (Apr. 4, 2019),
     http://kidscreen.com/2019/04/04/the-surprising-social-sites-where-kids-spend-their-time/   (accessed
22   Oct. 22, 2019).
23   31
       Complaint for Permanent Injunction, Civil Penalties, and other Equitable Relief – Ex. C, No. 19-cv-
24   2642, ECF No. 3-1, Sept. 6, 2019 (“FTC Exhibit C”).
     32
25     Complaint for Permanent Injunction, Civil Penalties, and other Equitable Relief – Ex. B, No. 19-cv-
     2642, ECF No. 3-1, Sept. 64, 2019 (“FTC Exhibit B”).
26
27   33
       Complaint for Permanent Injunction, Civil Penalties, and other Equitable Relief – Ex. A, No. 19-cv-
     2642, ECF No. 3-1, Sept. 64, 2019 (“FTC Exhibit A”).
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 1                         A 2016 study by LMX (“2016 LMX Study”) found that YouTube was “the #1
 2                         website regularly visited by kids,” beating out the likes of Disney, Cartoon Network,
 3                         PBS, and Amazon;34
 4                         A July 2016 Google Consumer Survey (“2016 Google Consumer Survey”) of 1683
 5                         parents of children ages 2-14 found that “YouTube is the #1 source where children
 6                         discovery new toys + games;”35
 7                         A 2017 study by Smarty Pants (“2017 Smart Pants Study”) found that 96% of
 8                         children ages 6-12 were aware of YouTube and that 94% either love (71%) or like
 9                         (24%) YouTube.36 The same study found that 90% of the children that know
10                         YouTube say they use it, 83% of whom use it daily;37 and
11                         A 2019 by Pew Research (“2019 Pew Study”) study found that videos that “videos
12                         that were directly aimed at a young audience and also featured a child under the age
13                         of 13 were more popular than any other type of content identified in [the] analysis as
14                         measured by view counts.”38
15                    The As one of the world’s most sophisticated advertising companies, the Google
16   Defendants did not need these studies to know that they were aware of and successfully attracting millions
17   of child viewers to the YouTube Platform. However, in case there was any doubt as to the Google
18   Defendants’ awareness of their popularity among young children, evidence establishes that the Google
19   34
          FTC Exhibit C.
20
     35
21        Id.

22   36
         Smarty Pants, 2017 Brand Love Study: 2017 Kid & Family Trends, at 7 (2017),
23   https://daks2k3a4ib2z.cloudfront.net/5435eb4d1e426bb420ac990f/5a316f4f4a2f7d000196532b_2017
     %20Kid%20and%20Family%20Trends%20Report%20EXCERPT.PDF (emphasis added).
24
     37
25        Id.
26
     38
       Patrick Van Kessel, A Week in the Life of Popular YouTube Channels, PEW RESEARCH CENTER, July
27   25, 2019, https://www.pewinternet.org/2019/07/25/a-week-in-the-life-of-popular-youtube-channels/
     (accessed Oct. 16, 2019) (emphasis in original).
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 1   Defendants used these very studies to market themselves to companies that make toys and others
 2   children’s products, including the Channel Owner Defendants Hasbro Defendants and Mattel, as a top
 3   destination for children under thirteen.. For example, Google gave a presentation entitled “Insight on
 4   Families Online” to Mattel, owner of the Fisher-Price line of toys, Barbie, Hot-Wheels, among others
                                          39
 5   and cited the 2015 Nielsen Study.         Mattel’s YouTube presence includes several channels directed
 6   towards children under thirteen, including: Barbie, Monster High, and Thomas & Friends.
 7                   Google also included a section called “Stat Pack: Additional insight into mobile usage
 8   among parents + children” in a presentation to the Hasbro Defendants, maker of GoBots, Lite-Brite, My
 9   Little Pony, Play-Doh, Pokémon, Trolls, among other products.. In the presentation, Google cited the
10   2014 Global Kids Study.40 In a second presentation to the Hasbro Defendants, Google included a section
11   entitled “2016 Kids + Family Digital Trends” and cited both the 2016 LMX Study and Google’s own
12   2016 Google Consumer Survey.41
13                   While the Google Defendants were citing these studies to toy companies, they were
14   simultaneously reiterating their false contention that the YouTube Platform was not intended for children.
15   For example, when a consumer advocacy group filed a complaint with the Federal Trade Commission
16   over YouTube’s data collection practices, a YouTube spokesman told the New York Times: “Because
17   YouTube is not for children, we’ve invested significantly in the creation of the YouTube Kids app to
18   offer an alternative specifically designed for children.” This was misleading at best because what
19   YouTube Kids really allowed the Google Defendants to do was to openly solicit the development of more
20   child-directed content from its Channel Owner Defendant partners that could also be posted on the
21   YouTube Platform for their mutual profit through behavioral advertising targeting young children.
22
     III.     Economic Incentives Drove the Channel Owner Defendants to Bait and Exploit Children
23            Using Nursery Rhymes, Cartoons, and Other Child-Directed Content

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     39
          FTC Exhibit A.
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27   40
          FTC Exhibit B.
28   41
          FTC Exhibit C.

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 1                  The Channel Owner Defendants recognized the economic benefits of creating child-
 2   directed YouTube content that could be used to track Personal Information of minor children and
 3   electedentered into agreements with the Google Defendants to monetize their YouTube channels (i.e.,
 4   allow behavioral targeted advertising to be shown to minors and all other viewers) during the Class
 5   Period. By choosing to monetize their YouTube channels and allow the Google Defendants to employ
 6   the more lucrative behavioral targeted advertising, each of the Channel Owner Defendants knew (or
 7   should have known) that given the nature of the behavioral targeted advertising, the Google Defendants
 8   were in fact targeting minor children, including children under the age of 13, by tracking Personal
 9   Information about those children. As discussed above, the Google Defendants shared 55% of the
10   advertising revenue generated by the Channel Owner Defendants’ with them. All Defendants therefore
11   economically benefited when the Channel Owner Defendants content successfully lured children under
12   thirteen on to the YouTube Platform and the Google Defendants showed these children behavioral
13   targeted advertisements.
14                         The Channel Owner Defendants accomplished this by creating content
15   intentionally designed to attract children, including especially children under the age of thirteen,
16   includingwith content featuring nursery rhymes and children’s songs, toys, and already-popular
17   cartoons. The Google Defendants knew this, as confirmed by the Attorney General of New York’s
18   discovery that a “well-known channel owner . . . repeatedly informed Google and YouTube that its
19   videos were directed to children younger than 13-years-old.” 42
20          A. A. Defendant ChuChuTV
21
22
23
24
25   42
        Letitia James, Google and YouTube to Pay Record Figure For Illegally Tracking And Collecting
26   Personal Information From Children, New York State Office of the Attorney General, Sept. 4, 2019,
     https://ag.ny.gov/press-release/2019/ag-james-google-and-youtube-pay-record-figure-illegally-
27   tracking-and-collecting (accessed Oct. 21, 2019).
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 1                  Defendant ChuChuTV created the monetized ChuChuTV Nursey Rhymes & Kids Songs
 2   in 201343 and opted to monetize the ChuChuTV Nursery Rhymes & Kids Songs YouTube channel
 3   during the Class Period. Defendant ChuChuTV is thus a “content creator[] who upload[ed] child-
 4   directed content and monetize[ed] [its] channels with behavioral advertising that uses persistent
 5   identifiers to track children without verifiable parental consent” described by FTC Commissioner
 6   Rebecca Kelly Slaughter as the primary violators of COPPA on YouTube. 44
 7                  The Google Defendants gave Defendant ChuChuTV the option to turn off behavioral
 8   advertising and to instead show contextual advertising to its viewers, thus giving Defendant ChuChuTV
 9   the authority to control the deceptive conduct at issue. Upon information and belief, because it would
10   have earned less revenue, Defendant ChuChuTV agreed to allow behavioral advertising to viewers on
11   the YouTube Platform.
12                  Defendants ChuChuTV’s child-directed YouTube channels were included as part of the
13   Google’s Preferred “Parenting & Family” Lineup as of March 2018. 45 Because advertisers signing up
14   to advertise to Google Preferred Lineups had the option to serve behavior-based targeted advertising to
15   viewers of those channels, upon information and belief, Plaintiffs believe a channel could not be part of
16   Google’s Preferred “Parenting & Family” Lineup without enabling behavioral advertising on its
17   channel.46
18
     43
           Alexis C. Madrigal,        Raised by       YouTube, THE ATLANTIC (Nov. 2018),
19
     http://www.theatlantic.com/magazine/archive/2018/11/raised-by-youtube/570838/ (accessed Oct. 21,
20   2019).
     44
21      See Rebecca Kelly Slaughter, Dissenting Statement of Commissioner Rebecca Kelly Slaughter In the
     Matter of Google LLC and YouTube, LLC, FEDERAL TRADE COMMISSION (Sept. 4, 2019),
22   https://www.ftc.gov/system/files/documents/public_statements/1542971/slaughter_google_youtube_st
     atement.pdf (“YouTube is likely the online service that today hosts the most violations of COPPA. Those
23   violations are primarily committed by content creators who upload child-directed content and monetize
24   their channels with behavioral advertising that uses persistent identifiers to track children without
     verifiable parental consent.”)
25   45
        See In the Matter of Request to Investigate Google’s YouTube Online Service and Advertising
26   Practices for Violating the Children’s Online Privacy Protection Act, Center for Digital Democracy, et
     al., p. 12.
27   46
        See, e.g. Tim Peterson, With an eye on TV ad budgets, YouTube debuts search-based video ad
28   targeting, DIGIDAY (Mar. 13, 2018), https://digiday.com/future-of-tv/youtube-adds-search-based-

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 1                            Today, ChuChuTV Nursery Rhymes & Kids Songs has over 27 million
 2   subscribers and 18 billion views.47 ChuChuTV Nursery Rhymes & Kids Songs’ homepage features
 3   digital animal cartoons and cartoons of children. The “About” section of ChuChuTV Nursery Rhymes
 4   & Kids Songs’ YouTube channel states:
 5
                ChuChuTV is designed to engage children through a series of upbeat nursery rhymes and
 6              educational songs with colorful animations. Our ChuChuTV characters will teach kids
                their favorite nursery rhymes, colors, shapes, numbers etc. and more importantly good
 7              human values which we feel is very important for the next generation champions. 48
 8
                              Defendant ChuChuTV’s first YouTube video featured a character named Chu
 9
     Chu modeled after ChuChuTV’s founder’s baby daughter (whose nickname was Chu Chu) “dancing to
10
     the popular . . . Indian nursery rhyme “Chubby Cheeks (“Curly hair, very fair / Eyes are blue, lovely too
11
     / Teacher’s pet, is that you?”).”49 Within a few weeks of the upload of its first video, ChuChuTV had
12
     amassed 300,000 views and 5,000 followers. 50 Despite the fact that ChuChuTV’s video was clearly
13
     directed towards young children— – whom the Google Defendants claim are not allowed to and do not
14
     use YouTube— – a YouTube representative contacted ChuChuTV shortly after its launch to say “[y]ou
15
     guys are doing some magic with your content.”51
16
17
18   targeting-tv-style-google-preferred-ad-program/; (“the Google-owned video service is adding the
     search-based targeting option to its Google Preferred ad-buying program, which packages the most
19   popular 5 percent of YouTube channels into category-specific bundles that brands can advertise
     against.”).
20
     47
           ChuChu TV Nursery Rhymes & Kids Songs, About Section,                                   YOUTUBE,
21   https://www.youtube.com/user/TheChuChuTV/about (accessed Oct. 21, 2019).
22
     48
          Id.
23
24   49
          Id.
25
     50
          Id.
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27   51
          Id.
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 1             B. B. The Ryan’s World Defendants
 2                    The Ryan’s World Defendants operate the YouTube channel Ryan’s World (f/k/a Ryans
 3   ToysReview), which features videos of now 9-year-old Ryan Kaji unboxing toys and others children’s
 4   products. The Ryan’s World Defendants optedagreed to monetize the Ryan’s World channel during the
 5   Class Period. The Ryan’s World Defendants are thus “content creators who upload[ed] child-directed
 6   content and monetize[ed] their channels with behavioral advertising that uses persistent identifiers to
 7   track children without verifiable parental consent.”52
 8                             Ryan’s World’s first video was posted in 2015. Since then, with the help of
 9   Defendant Pocketwatch, a kids-entertainment company, Ryan’s World has become the second most
10   popular YouTube channel with approximately 22.5 million subscribers and over 33 billion views. 53
11                    Throughout the Class Period, The Ryan’s World Defendants engaged in a campaign of
12   deception in order to lure young children to the Ryan’s World YouTube Channel by frequently posting
13   disguised advertising directed at children under the age of five to its YouTube channel using popular
14   children’s products. These practices have been the subject of a formal complaint letter filed by Truth in
15   Advertising, Inc. (“TINA”) with the FTC and “misleadingly blurs the distinction between advertising
16   and organize content” for Ryan’s World’s audience and was intended to overcome preschooler’s lack
17   of ability to identify and understand that they are being presented with marketing materials.
18                    A review by TINA of videos posted to the Ryan’s World YouTube Channel concluded
19   that “[t]he target audience for [Ryan’s World] is preschool children, i.e., children under the age of five
20   . . . an appraisal of every video published on [Ryan’s World] between January 1 and July 31, 2019
21   reveals that 92 percent promote at least one product or television/YouTube program that is appropriate
22   for – and targeted at – children under the age of five.”
23                    The Google Defendants gave the Ryan’s World Defendants the option to turn off
24   behavioral advertising and to instead show contextual advertising to its viewers, thus giving the Ryan’s
25
26   52
          See fn. 37 above.
27   53
        Ryan ToysReview, About Section, YOUTUBE, https://www.youtube.com/channel/UChGJGh
     Z9SOOHvBB0Y4DOO_w/about, (accessed Oct. 21, 2019).
28

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 1   World Defendants the authority to control the deceptive conduct at issue. Upon information and belief,
 2   because they would have earned less revenue, the Ryan’s World Defendants opted to allow behavioral
 3   advertising to viewers on the YouTube Platform.
 4                             Ryan’s World “About” section describes itself as “Ryan loves Toys. Toys Review
 5   for kids by a kid! Join Ryan to see him play with toys and review toys for kids! Ryan will also love
 6   doing fun and easy science experiments for kids!” Ryan’s World generated over $11 million in revenue
 7   in 2018 and over $22 million in 2019.54 Because the Google Defendants take 45% of all ad revenues, 55
 8   the Google Defendants earned approximately $15 million from Ryan’s World alone in 2018-2019.
 9             C.     The Hasbro Defendants
10                    The Hasbro Defendants created the My Little Pony Official YouTube channel in 2013
11   and opted to monetize the My Little Pony Official YouTube channel during the Class Period. The Hasbro
12   Defendants are thus “content creators who upload[ed] child-directed content and monetize[ed] their
13   channels with behavioral advertising that uses persistent identifiers to track children without verifiable
14   parental consent.”56
15                             The Hasbro Defendants’ YouTube offerings include the following channels:
16   Play-Doh, Official Play-Doh How To Videos, Baby Alive Official, NERF Official, and
17   TRANSFORMER OFFICIAL. According to Hasbro, the target demographic for My Little Pony is
18   children ages 5-8. My Little Pony’s About section reads as follows::
19
20
21
22   54
        Amanda Perelli, The world’s top-earning YouTube star is an 8-year-old boy who made $22 million a
23   single year reviewing toys, BUSINESS INSIDER, https://www.businessinsider.com/8-year-old-youtube-
     star-ryan-toysreview-made-22-million-2019-10 (accessed Oct. 21, 2019).
24
     55
25       Eric Rosenberg, How YouTube Ad Revenue Works, INVESTOPEDIA (Oct. 7, 2018),
     https://www.investopedia.com/articles/personal-finance/032615/how-youtube-ad-revenue-
26   works.asp.https://www.investopedia.com/articles/personal-finance/032615/how-youtube-ad-revenue-
27   works.asp. (accessed Jan. 13, 2021).
     56
          See fn. 37 above.
28

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            Welcome to the official home of My Little Pony & Equestria Girls! Discover the magic
 1
            of friendship with Twilight Sparkle, Rainbow Dash, Pinkie Pie, Rarity, Fluttershy,
 2          Applejack and friends. Join the #RainbowSquad and subscribe today! 57

 3          D.      Defendant CookieSwirlC

 4                  Defendant CookieSwirlC created the CookieSwirlC YouTube channel in 2013 and opted

 5   to monetize the CookieSwirlC YouTube channel during the Class Period. Today, CookieSwirlC is one

 6   of YouTube’s most popular channels with approximately 12.3 million subscribers and over 12 billion

 7   views.58 CookieSwirlC videos typically feature the unboxing of a popular toy or children’s product

 8   together with a demonstration of its features and capabilities. CookieSwirlC’s “About” section states

 9   that “CookieswirlC’s mission is to inspire creativity and spread positivity around the world through fun

10   uplifting videos that encourage learning and imagination.” 59

11                  EThe Google Defendants gave the Hasbro Defendants the option to turn off behavioral

12   advertising and to instead show contextual advertising to its viewers, thus giving the Hasbro Defendants

13   the authority to control the deceptive conduct at issue. Upon information and belief, because they would

14   have earned less revenue, the Hasbro Defendants agreed to allow behavioral advertising to viewers on

15   the YouTube Platform.

16                  The FTC’s complaint against the Google Defendants specifically cited the Hasbro

17   Defendants as part of a group of YouTube channel owners that hosted child-directed content and allowed

18   the Google Defendants to show behavioral advertising, resulting in “close to $50 million” in revenue

19   for the Google Defendants.60

20
21   57
        My Little Pony, About section, YOUTUBE, https://www.youtube.com/user/mlpequestriagirls/about
22   (accessed Oct. 21, 2019).
23   58
         CookieSwirlC, About section, YOUTUBE, https://www.youtube.com/user/CookieSwirlC/about
24   (accessed Oct. 21, 2019).
25   59
       Id.
     60
26      See FTC Complaint, ¶ 31 (describing the Hasbro Defendants’ YouTube channel content); see also
     FTC Complaint ¶ 41 (“[Google Defendants] earned close to $50 million from behavioral advertising on
27   these channels, which represent only a few examples of the possible universe of child-directed content
     on YouTube.”)
28

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 1                  In addition to producing child-directed content that was posted on YouTube, the Hasbro
 2   Defendants were cited by the New York State Office of the Attorney General for deceptively engaging
 3   in an advertising campaign that tracked child visitors to the Nerf section of Hasbro’s website in order to
 4   serve Hasbro advertisements to those same users as they visited other websites at a later time (a type of
 5   online behavioral advertising prohibited by COPPA known as “remarketing”) and for integrating a third-
 6   party plug-in into many of its websites that allowed users to be tracked across websites and introduced
 7   other third parties that engaged in the type of tracking, profiling, and targeted advertising prohibited
 8   under COPPA.61
 9                  Defendant Hasbro was required to adopt comprehensive reforms as part of a settlement
10   with the office of the Attorney General of the State of New York, including the following:
11                      a. Conducting regular electronic scans to monitor for unexpected third party
12                         tracking technologies that may appear on their children’s websites. Three of the
13                         companies, Viacom, Mattel, and JumpStart will provide regular reports to the
14                         office regarding the results of the scans.
15                      b. Adopting procedures for vetting third parties before they are introduced onto
16                         their children’s websites to determine whether and how the third parties collect,
17                         use, and disclose, and allow others to collect, use, and disclose, personal
18                         information from users.
19                      c. Providing notice to third parties that collect, use, or disclose personal
20                         information of users with information sufficient to enable the third parties to
21                         identify the websites or sections of websites that are child directed pursuant to
22                         COPPA.
23                      d. Updating website privacy policies with either (a) information sufficient to enable
24                         parents and others to identify the websites and portions of websites that are
25
26
     61
        Press Release, A.G Schneiderman Announces Results Of “Operation Child Tracker,” Ending Illegal
27   Online Tracking Of Children At Some Of Nation’s Most Popular Kids’ Websites,
     https://ag.ny.gov/press-release/2016/ag-schneiderman-announces-results-operation-child-tracker-
28
     ending-illegal-online (assessed Jan. 14, 2021).

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 1                             directed to children under COPPA or (b) a means of contacting the company so
 2                             that parents and others may request such information.
 3                    Upon information and belief, the Hasbro Defendants continued to post child-directed
 4   content to the YouTube Platform and opted to show visitors behavioral advertising after entering into its
 5   settlement agreement with the NY AG in 2016.
 6             D.     Defendant Mattel
 7                    Mattel operated several monetized YouTube channels during the Class Period, including
 8   Barbie, Monster High, Hot Wheels, and Thomas & Friends. Defendant Mattel is thus a “content creator[]
 9   who upload[ed] child-directed content and monetize[ed] [its] channels with behavioral advertising that
10   uses persistent identifiers to track children without verifiable parental consent.” 62
11                    The Google Defendants gave Defendant Mattel the option to turn off behavioral
12   advertising and to instead show contextual advertising to its viewers, thus giving Defendant Mattel the
13   authority to control the deceptive conduct at issue. Upon information and belief, because they would
14   have earned less revenue, Defendant Mattel agreed to allow behavioral advertising to viewers on the
15   YouTube Platform.
16                    The FTC’s complaint against the Google Defendants specifically cited the Defendant
17   Mattel as part of a group of YouTube channel owners that hosted child-directed content and allowed the
18   Google Defendants to show behavioral advertising, resulting in “close to $50 million” in revenue for
19   the Google Defendants.63
20                             Collectively, Mattel’s YouTube channels have tens of millions of subscribers and
21   billions of views. Each channel shows child-directed content features popular children’s toys belonging
22   to Mattel’s brands. For example, the Barbie YouTube channel features animated videos of Barbie and
23   related toys, including the “Junior Rainbow Princesses.” The Barbie YouTube channel also features
24
25
     62
          See fn. 37 above.
26
     63
       See FTC Complaint, ¶ 29 (describing Defendant Mattel’s YouTube channel content); see also FTC
27   Complaint ¶ 41 (“[Google Defendants] earned close to $50 million from behavioral advertising on these
     channels, which represent only a few examples of the possible universe of child-directed content on
28
     YouTube.”)

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 1   episodes of “Barbie Dreamtopia,” a show that, according to the FTC and New York Attorney General,
 2   Mattel described as “targeting 3-6 year olds.”
 3                    FIn addition to producing child-directed content that was posted on YouTube, Defendant
 4   Mattel was fined $250,000 in 2016 by the New York State Office of the Attorney General for the
 5   following:
 6                        a. Mattel deployed a tracking technology supplied by a third-party data broker
 7                             across its Barbie, Hot Wheels, Fisher-Price, Monster High, Ever After High, and
 8                             Thomas & Friends websites. Mattel used the tracking technology for measuring
 9                             website metrics, such as the number of visitors to each site, a practice permitted
10                             under COPPA. However, the tracking technology supplied by the data broker
11                             introduced many other third-party tracking technologies in a process known as
12                             “piggy backing.” Many of these third parties engage in the type of tracking,
13                             profiling, and targeted advertising prohibited by COPPA.
14                        b. A tracking technology that Mattel deployed on the e-commerce portion of the
15                             American Girl website, which is not directed to children or covered by COPPA,
16                             was inadvertently introduced onto certain child-directed webpages of the
17                             American Girl website.
18                        c. Mattel uploaded videos to Google’s YouTube.com, a video hosting platform, and
19                             then embedded some of these videos onto the child-directed portion of several
20                             Mattel websites, including the Barbie website. When the embedded videos were
21                             played by children, it enabled Google tracking technologies, which were used to
22                             serve behavioral advertisements.64
23                    Defendant Mattel was required to adopt comprehensive reforms as part of a settlement
24   with the office of the Attorney General of the State of New York, including the following:
25                        a. Conducting regular electronic scans to monitor for unexpected third-party
26                             tracking technologies that may appear on their children’s websites and provide
27                             regular reports to the office regarding the results of the scans.
28   64
          See fn. 51 above.

                                                   40
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 1                       b. Adopting procedures for vetting third parties before they are introduced onto
 2                            their children’s websites to determine whether and how the third parties collect,
 3                            use, and disclose, and allow others to collect, use, and disclose, personal
 4                            information from users.
 5                       c. Providing notice to third parties that collect, use, or disclose personal
 6                            information of users with information sufficient to enable the third parties to
 7                            identify the websites or sections of websites that are child directed pursuant to
 8                            COPPA.
 9                       d. Updating website privacy policies with either (a) information sufficient to enable
10                            parents and others to identify the websites and portions of websites that are
11                            directed to children under COPPA or (b) a means of contacting the company so
12                            that parents and others may request such information.
13                   Upon information and belief, Defendant Mattel continued to post child-directed content
14   to the YouTube Platform and opted to show visitors behavioral advertising after entering into its
15   settlement agreement with the NY AG in 2016.
16            E.     The Cartoon Network Defendants
17                   The Cartoon Network Defendants operated several monetized YouTube channels
18   directed towards children under thirteen during the Class Period, including Steven Universe, the
19   Powerpuff Girls, and Teen Titans Go. The Cartoon Network Defendants are thus “content creators who
20   upload[ed] child-directed content and monetize[ed] their channels with behavioral advertising that uses
21   persistent identifiers to track children without verifiable parental consent.” 65
22                   The Google Defendants gave the Cartoon Network Defendants the option to turn off
23   behavioral advertising and to instead show contextual advertising to their viewers, thus giving the
24   Cartoon Network Defendants the authority to control the deceptive conduct at issue. Upon information
25   and belief, because they would have earned less revenue, the Cartoon Network Defendants agreed to
26   allow behavioral advertising to viewers on the YouTube Platform.
27
28   65
          See fn. 37 above.

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 1                    The FTC’s complaint against the Google Defendants specifically cited the Cartoon
 2   Network Defendants as part of a group of YouTube channel owners that hosted child-directed content
 3   and allowed the Google Defendants to show behavioral advertising, resulting in “close to $50 million”
 4   in revenue for the Google Defendants.66
 5                             The Cartoon Network Defendants’ YouTube channel has over 6 million
 6   subscribers and its content has been viewed over 5.3 billion times. According to the FTC and New York
 7   Attorney General, the Google Defendants selected a clip from the Cartoon Network YouTube channel
 8   in a “Creating for Kids Playbook,” as an example of family-friendly content and also marketed the
 9   Cartoon Network YouTube channel as a “popular YouTube Channel[] kids are watching.”
10             G.     The DreamWorks Defendants
11                    The DreamWorks Defendants operated the child-directed monetized DreamWorksTV
12   YouTube Channel during the Class Period. The DreamWorks TV YouTube channel’s content included
13   several popular children’s shows, including Race to the Edge, Trollhunters, and Shrek. The
14   DreamWorks Defendants are thus “content creators who upload[ed] child-directed content and
15   monetize[ed] their channels with behavioral advertising that uses persistent identifiers to track children
16   without verifiable parental consent.”67
17                             The   “About”   section   of   the   DreamWorks      TV    YouTube      channel
18   describesdescribed the channel as “made just for kids!” throughout the Class Period. The
19   DreamWorksTV YouTube channel has 6.3 million subscribers and its content has been viewed over 4.7
20   billion times.
21                    The Google Defendants gave the DreamWorks Defendants the option to turn off
22   behavioral advertising and to instead show contextual advertising to their viewers, thus giving the
23   DreamWorks Defendants the authority to control the deceptive conduct at issue. Upon information and
24
25
     66
        See FTC Complaint, ¶ 30 (describing the Cartoon Network Defendants’ YouTube channel content);
26   see also FTC Complaint ¶ 41 (“[Google Defendants] earned close to $50 million from behavioral
27   advertising on these channels, which represent only a few examples of the possible universe of child-
     directed content on YouTube.”)
28   67
          See fn. 37 above.

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 1   belief, because they would have earned less revenue, the DreamWorks agreed to allow behavioral
 2   advertising to viewers on the YouTube Platform.
 3                   The FTC’s complaint against the Google Defendants specifically cited the DreamWorks
 4   Defendants as part of a group of YouTube channel owners that hosted child-directed content and allowed
 5   the Google Defendants to show behavioral advertising, resulting in “close to $50 million” in revenue
 6   for the Google Defendants.68
 7
 8
     IV.    Economic Incentives Drove the Google Defendants to Unlawfully Track, Profile, and
 9          Target Children Under Thirteen with Behavioral Targeting

10                          The design and marketing of channels such as ChuChuTV Nursery Rhymes &

11   Kids Songs, Ryan ToysReview, My Little Pony Official, CookieSwirlC, Barbie, and Monster High,

12   among others, as well as the channels’ own categorization of their videos, clearly provided notice to the

13   Google Defendants that children, including children under the age of thirteen, were viewing these

14   channels.

15                          As described below, Plaintiffs’ minor childrenPlaintiffs watched many of the

16   Channel Owner Defendants’ YouTube channels during the Class Period, and were therefore subjected

17   to the Google Defendants’ behavioral targeting, which included the collection of their Personal

18   Information. Google used behavioral targeting to show minor children advertisements that were

19   uniquely tailored to them, and were calculated to lead to increased sales from advertising. Through the

20   use of behavioral targeting, Google and Channel Owner Defendants reaped substantial additional profits.

21   for financial gain.

22                   Targeting advertisements to children adds more value than targeting to adults because

23   children are generally unable to distinguish between content and advertisements. This is especially true

24   in the digital realm where children are less likely to identify and counteract the persuasive intent of

25
     68
26     See FTC Complaint, ¶ 32 (describing the DreamWorks Defendants’ YouTube channel content); see
     also FTC Complaint ¶ 41 (“[Google Defendants] earned close to $50 million from behavioral advertising
27   on these channels, which represent only a few examples of the possible universe of child-directed
     content on YouTube.”)
28

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 1   advertising. This results in children, especially those under the age of eight, accepting advertising
 2   information in commercials “uncritically . . . [and as] truthful, accurate, and unbiased.” 69
 3                          Despite their knowing collection of Personal Information about minor children,
 4   including children under the age of thirteen, the Google Defendants disclaimed anyknowingly
 5   disregarded their obligation to comply with federal and state laws designed to protect children’s privacy
 6   by claiming no children under the age of thirteen watched videos on the YouTube Platform. The Google
 7   Defendants did so because they knew they could not both abide by federal and state law and offer highly
 8   profitable behavioral targeting of children under thirteen.
 9                          As the Attorney General of New York put it, the Google Defendants knew that
10   stopping their illegal tracking, profiling, and targeting practices would result in a substantial loss of
11   revenue:
12
            Google and YouTube knowingly and illegally monitored, tracked, and served targeted ads
13          to young children just to keep advertising dollars rolling in . . . These companies put
            children at risk and abused their power, which is why we are imposing major reforms to
14          their practices and making them pay one of the largest settlements for a privacy matter in
            U.S. history.70
15
16                          Faced with a choice between complying with federal and state privacy laws and
17   their advertising revenue, the Google Defendants chose the money. During the Class Period, Defendants
18   collectively realized hundreds of millions of dollars, if not more, as a result of their actions.
19                          TheThe harmful intrusions of personal privacy of the minor Plaintiffs, and all
20   similarly-situated children they seek to represent, resulting from Defendants’ actions cannot be
21   overstated. During the Class Period, the Google Defendants collected the Personal Information of
22   children, including but not limited to children under the age of thirteen, who viewed monetized YouTube
23
24   69
       Report of the APA Task Force on Advertising and Children (American Psychological Association,
     Feb. 20, 2004), at pp.7-8, available at https://www.apa.org/pi/families/resources/advertising-
25   children.pdf (accessed March 29, 2021).
26   70
        Google and YouTube to Pay Record Figure For Illegally Tracking And Collecting Personal
     Information From Children, NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL, Sept. 4, 2019,
27
     https://ag.ny.gov/press-release/2019/ag-james-google-and-youtube-pay-record-figure-illegally-
28   tracking-and-collecting (accessed Oct. 21, 2019).

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 1   channels, including the Channel Owner Defendants’ channels. This included the collection of persistent
 2   identifiers, which the Google Defendants used to track minor children under thirteen across the internet,
 3   internally develop a profile of the inferred preferences and interests of those children, and target those
 4   children with advertisements designed to influence their behavior.
 5                           Persistent identifiers have been included in the definition of “Personal
 6   Information” subject to COPPA since 2013. Defendants’ collection of the persistent identifiers of
 7   children, including children under thirteen, allowed them to develop detailed profiles of children. As
 8   discussed above, Google’s vast reach across the internet means that nearly all of a child’s online activity
 9   was subject to being tracked by Google.
10                           And even though Google purported to give individuals control over their data
11   throughout the Class Period, it “does not disclose the full extent of the information it collects . . . nor the
12   valuable inferences it draws from this data.”71 While Google claims to enable users to control their data,
13   Google “omits much of the data the company collects, which ifis often far more invasive and
14   revealing.”72
15                           TheBut, as described herein, Google’s purported disclosures do not advise that
16   the profiling of children on the YouTube platform is for the sole purpose of behavioral manipulation for
17   targeted advertising to secure financial gain for the Google Defendants and the Channel Owner
18   Defendants. And, children themselves cannot properly consent to this profiling. Nonetheless, the
19   Google Defendants used these profiles to manipulate and exploit children. The Google Defendants make
20   more money through YouTube by capturing more of an individual’s time. The Google Defendants thus
21   manipulated children using their Personal Information into extending their time on the YouTube
22   Platform, which in turn increased the number of targeted advertisements shown to them, and increased
23   the revenue earned by the Google Defendants and the Channel Owner Defendants.
24
     71
25      Oracle, Google’s Shadow Profile: A Dossier of Consumers Online and Real World Life (Feb. 2019),
     https://assets.publishing.service.gov.uk/media/5e1c4985e5274a06b7450a13/Oracle_-__-
26   Response_to_SoS_-_Appendix_4_-_Google_Shadow_Profiles.pdf (accessed Mar. 12, 2020).
27
     72
          Id.
28

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 1                          The Google Defendants manipulated minor children, including children under the
 2   age of thirteen, into extending the time they used the YouTube Platform by tracking them across the
 3   internet, collecting their Personal Information, plugging the Personal Information gathered into
 4   sophisticated algorithms, and then showing children videos on the YouTube Platform which the Google
 5   Defendants’ algorithms calculated would keep them watching.
 6                          The following is a graphic representation of how the Google Defendants utilized
 7   deep learning and neural networks to suggest videos likely to keep C.H.Plaintiffs and other children
 8   under thirteen engaged on the YouTube Platform: 73
 9
10
11
12
13
14
15
16
17
18
19
20
     Source: Covington, Adams, and Sargin (2016)
21
     The Google Defendants’ algorithms allow them to “make recommendations from a very large corpus
22
     (millions) of videos while still being certain that the small number of videos appearing on the device are
23
     personalized and engaging for the user.” 74
24
25
     73
       Paul Covington, Jay Adams & Emre Sargin, Deep Neural Networks for YouTube Recommendations,
26   GOOGLE AI (2016), https://storage.googleapis.com/pub-tools-public-publication-data/pdf/45530.pdf.
27   (accessed Oct. 19, 2019).
     74
          Id.
28

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 1                          The YouTube Platform’s recommendation feature can extend what was intended
 2   to be a single video view into a marathon viewing session whereby the YouTube Platform provides
 3   video after video for viewer consumption. This “rabbit hole” effect has been well documented. For
 4   example, a New York Times report recently found that YouTube’s “recommendation feature boosts
 5   fringe videos to the mainstream and can unwittingly help spread conspiracies and misinformation about
 6   dangerous diseases, jeopardizing public health.” 75
 7
                            The Google Defendants’ use of algorithms to capture more of a children’s time
 8
     allowed the Google Defendants to show those children more behavior-based advertising, for which the
 9
     Google Defendants charge advertisers a substantial premium over contextual based advertising..
10
                    Plaintiffs and the Classes and Subclasses have been deprived of, and thereby lost, the
11
     economic value of their Personal Information. As Google’s advertising revenue (of $116 billion in 2018)
12
     tellingly demonstrates, this information has tremendous value. Multiple published analyses and studies
13
     have placed a value in excess of $200 on an individual’s Personal Information, and one individual sold
14
     his data for $2,733 on Kickstarter.
15
                            A child’s Personal Information has equivalent (or potentially greater) value than
16
     that of an adult to companies like Defendants. First, a child is more susceptible to being influenced by
17
     advertisements as they often cannot tell the difference between content and advertisements. Second,
18
     Defendants may be able to utilize children’s Personal Information to show them behavior-targeted
19
     advertising for the duration of their lives. Plaintiffs and the Classes and Subclasses can no longer realize
20
     the full economic value of their Personal Information because their Personal Information has already
21
     been collected, analyzed, and acted upon, and monetized by Defendants.
22
                            Defendants’ illegal and improper collection of children’s Personal Information
23
     has given them a significant “first mover” advantage that cannot be undone. The Google Defendants
24
     operate the first and second-most visited websites in the world, and as a result of their unlawful conduct,
25
     the Google Defendants’ algorithms now incorporate ill-gotten data from billions of children’s YouTube
26
27   75
       Max Fisher & Amanda Taub, What is YouTube Pushing You to Watch Next?, N.Y. TIMES (Aug. 9,
     2019), https://www.nytimes.com/2019/08/09/the-weekly/youtube-brazil-far-right.html (accessed Oct.
28
     22, 2019).

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 1   video views. The deep insights gleaned from these viewing sessions will enable the Google Defendants
 2   to keep children viewing the YouTube Platform, to use the Personal Information of children for
 3   potentially the duration of their lives,76 and will solidify the Google Defendants’ dominance in the
 4   market for child-related content.
 5
     V.     Defendants’ Tracking, Profiling, Targeting and Exploitation of Children Without Parental
 6          Consent Violated Plaintiffs’ and Class and Subclass Members’ Reasonable Expectations of
            Privacy and is Highly Offensive
 7
                           Defendants’ conduct in violating privacy rights and reasonable expectations of
 8
     privacy of Plaintiffs and Class and Subclass members is particularly egregious because Defendants
 9
     violated societal norms and laws designed to protect a group— – children— – that society has long
10
     recognized as vulnerable to exploitation and manipulation.
11
                           Parents’ interest in the care, custody, and control of their children is one of the
12
     most fundamental liberty interests recognized by society. It has long been recognized that parents should
13
     maintain control over who interacts with their children and how.
14
                           Because children are more susceptible to deception and exploitation than adults,
15
     society has recognized the importance of providing added legal protections for children, often in the
16
     form of parental consent requirements like COPPA.
17
                           Children develop the ability to use smartphones and tablets by the age of two.77
18
     Almost every family with a child younger than eight in America has a smartphone (95%) and/or tablet
19
     (78%) in the household.78 Often, children are given their own devices, with one 2015 study finding that
20
21   76
       Aza Raskin, inventor and former employee of Firefox & Mozilla Labs, described the dangers of the
22   personal intrusions occasioned by behavioral advertising in the 2020 Netflix documentary, The Social
     Dilemma, thusly: “It’s a little even trite to say now but because we don’t pay for the products that we
23   use, advertisers pay for the products that we use, advertisers are the customers… we’re the thing being
24   sold.”
     77
        Elyse Wanshel, 10 Reason Why You Shouldn’t Give a Child a Smartphone or Tablet, LITTLE THINGS,
25   https://www.littlethings.com/reasons-not-to-give-children-technology (accessed Oct. 21, 2019).
26
     78
       Victoria Rideout, The Common Sense Census: Media Use By Kids Age Zero To Eight,
27
      COMMON SENSE MEDIA (2017) at 3, https://www.commonsensemedia.org/research/the-common-sense-
28   census-media-use-by-kids-agezero-to-eight-2017 (accessed Oct. 21, 2019).

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 1   by age four, 75% of children had their own tablet, smartphone, or iPod. 79 This proliferation of internet-
 2   connected device usage by children under thirteen renders Defendants’ conduct highly offensive and an
 3   egregious breach of social norms
 4                          For example, a survey conducted by the Center for Digital Democracy (“CDD”)
 5   and Common Sense Media of more than 2,000 adults found overwhelming support for the basic
 6   principles of privacy embedded in the California Constitution, state common law, as well as federal
 7   law.80 The parents who were polled responded as follows when asked whether they agreed or disagreed
 8   with the following statements:
 9          a.      “It is okay for advertisers to track and keep a record of a child’s behavior online if they
10                  give the child free content.”
11                         5 percent strongly agree
12                         3 percent somewhat agree
13                         15 percent somewhat disagree
14                         75 percent strongly disagree
15                         3 percent do not know or refused to answer
16          b.      “As long as advertisers don’t know a child’s name and address, it is okay for them to
17                  collect and use information about the child’s activity online.”
18                         3 percent strongly agree
19                         17 percent somewhat agree
20                         10 percent somewhat disagree
21
22
     79
23      The Dangers of YouTube for Kids, THE ATLANTIC (Nov. 2018), https://www.theatlantic.com/
     magazine/archive/2018/11/raised-by-youtube/570838/ (accessed Oct. 22, 2019)(“[) (“[A] team of
24   pediatricians at Einstein Medical Center, in Philadelphia, found that YouTube was popular among
     device-using children under the age of 2. Oh, and 97 percent of the kids in the study had used a mobile
25   device. By age 4, 75 percent of the children in the study had their own tablet, smartphone, or iPod. And
26   that was in 2015.).

27   80
       Center for Digital Democracy, Survey on Children and Online Privacy, Summary of Methods
28   and     Findings,      https://www.democraticmedia.org/sites/default/files/COPPA%20Executive%20
     Summary%20and%20Findings.pdf (accessed Oct. 21, 2019).
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 1                        69 percent strongly disagree
 2                        1 percent do not know or refused to answer
 3          c.      “It is okay for advertisers to collect information about a child’s location from that child’s
 4                 mobile phone.”
 5                        6 percent strongly agree
 6                        3 percent somewhat agree
 7                        7 percent somewhat disagree
 8                        84 percent strongly disagree
 9                        less than 1 percent do not know or refused to answer
10          d.     “Before advertisers put tracking software on a child’s computer, advertisers should
11                 receive the parent’s permission.”
12                        89 percent strongly agree
13                        5 percent somewhat agree
14                        2 percent somewhat disagree
15                        4 percent strongly disagree
16                        less than 1 percent do not know or refused to answer
17          e.      “There is a federal law that says that online sites and companies need to ask parents’
18                 permission before they collect Personal Information from children under age 13. Do you
19                 think the law is a good idea or a bad idea?”
20                        93 percent said it was a good idea
21                        6 percent said it was a bad idea
22                        1 percent did not know or refused to answer.
23                         The Google Defendants’ unlawful and deceptive collection of Personal
24   Information— – enabled by and with the knowledge of the Channel Owner Defendants— – and
25   manipulative YouTube Platform recommendation feature substantially affects the amount of time minor
26   children, including children under the age of thirteen, spend on the YouTube Platform. For example, a
27   recent study found that while 60% of kids use the YouTube Platform search bar to find videos to watch,
28   43% of kids use its “suggested videos” function and 30% use “popular suggestions.” This subjects an

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 1   already-vulnerable population to the very same rabbit-hole effect that even adults fall victim to, but to
 2   greater effect.
 3                          The Google Defendants’ and Channel Owner Defendants’ collaborative
 4   surreptitious and deceptive tracking, profiling, and targeting of children is all the more troubling in light
 5   of the Google Defendants’ inability to prevent obscene content from being uploaded on the YouTube
 6   Platform. For example, one report found that “hundreds of . . . videos of children’s cartoon characters
 7   with inappropriate themes” such as graphic violence on the YouTube Platform. 81 The effect of this
 8   content— – which Defendants cannot apparently prevent from being uploaded to the YouTube
 9   Platform— – on children is profound. One child psychotherapist has stated that “over time the she has
10   seen a rise in cases of children suffering from anxiety triggered by videos they have watched on
11   YouTube” and that the children “exhibit loss of appetite, sleeplessness, crying fits and fear.” 82
12                          The Google Defendants and the Channel Owner Defendants exploited children
13   under thirteen for financial gain by manipulating them into remaining engaged on the YouTube Platform
14   and showing them behavior-based advertising to the detriment of their mental health, so that Defendants
15   earned substantial advertising revenue.
16                          By failing to (i) obtain parental consent, (ii) disclose to parents the nature and
17   purpose of their data collection practices (and use of that data), and (iii) take other steps to preclude the
18   capture of children’s Personal Information, and by manipulating and exploiting the habits of minors for
19   their economic gain, Defendants have breached the privacy rights and reasonable expectations of privacy
20   of Plaintiffs’ minor children and the millions of minors in the Classes and Subclasses who have viewed
21   You Tube’s monetized channels, in contravention of privacy norms that are reflected in consumer
22   surveys, centuries of common law, state and federal statutes, legislative commentaries, industry standards
23   and guidelines, and scholarly literature.
24
     81
       Anisa Subedar & Will Yates, The disturbing YouTube videos that are tricking children, BBC
25   TRENDING (Mar. 27, 2017), https://www.bbc.com/news/blogs-trending-39381889 (accessed Oct. 22,
26   2019).

27   82
       Josephine Bila, YouTube’s dark side could be affecting your child’s mental health, CNBC (Feb. 13,
     2018),       https://www.cnbc.com/2018/02/13/youtube-is-causing-stress-and-sexualization-in-young-
28
     children.html (accessed Oct. 23, 2019).

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 1
     VI.    Defendants Tracked and Profiled Plaintiffs and Unlawfully Obtained Plaintiffs’ Personal
 2          Information Under False Pretenses.

 3                  The actions by Defendants as herein alleged, including the tracking and collection of

 4   Personal Information from children were achieved through deceptive conduct.

 5                  Despite aggressively marketing YouTube as “today’s leader in reaching children age 6-

 6   11 against top TV channels” and promoting that “YouTube was unanimously voted as the favorite

 7   website for kids 2-12,” and that “93% of tweens visit YouTube to watch videos,” 83 the Google

 8   Defendants falsely and deceptively asserted, when convenient and profitable, that they did not need to

 9   comply with COPPA. For example, in response to one advertising company’s questions regarding

10   advertising on YouTube as it relates to a toy company and COPPA, Google Defendant’s employee

11   responded, “we don’t have users that are below 13 on YouTube and platform/site is general audience,

12   so there is no channel/content that is child-directed and no COPPA compliance is needed.” 84

13                  This was in contrast to the expectation of privacy the Google Defendants’ public actions

14   created. For example, during the Class Period, Google’s Privacy Policies created an expectation of

15   privacy with respect to the YouTube Platform (and other Google apps and services). As far back as

16   June 2013, Google emphasized honesty and transparency in its personal data collection activities,

17   stating: “Our goal is to be clear about what information we collect, so that you can make meaningful

18   choices about how it is used.” 85 These assurances carried through the Class Period to today. Google’s

19   current Privacy Policy states: “When people use our products, they trust us with their information, and

20   it’s our job to do right by them” by “being transparent” about “what data we collect, how it’s used, and

21   why.”86

22
     83
       See Complaint for Permanent Injunction, Civil Penalties, and other Equitable Relief, No. 19-cv-
23   2642 (D.D.C., Sept. 4, 2019), at ¶ 23.
24   84
       See Complaint for Permanent Injunction, Civil Penalties, and other Equitable Relief, No. 19-cv-2642
     (D.D.C., Sept. 4, 2019), at ¶ 24.
25
     85
          Google Privacy Policy and Terms, as modified June 24, 2013,                          available   at
26   https://policies.google.com/privacy/archive/20130624?hl=en (accessed Jan. 14, 2021).
27   86
         Google Privacy Policy and Terms, as modified September 20, 2020, available at
     https://policies.google.com/privacy?hl=en (accessed Jan. 14, 2021).
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 1                  The Google Defendants also promised users of the YouTube Platform that the Google
 2   Defendants and their corporate partners, including the Channel Owner Defendants, would, at all times,
 3   follow the law. To that end, Google’s Terms of Service state: “We want to maintain a respectful
 4   environment for everyone, which means you must follow these basic rules of conduct” including
 5   “comply[ing] with applicable laws.”87
 6                  Google’s Code of Conduct repeatedly emphasized Google’s adherence to legal
 7   requirements and its promise to conform its activities to applicable law. For nearly two decades,
 8   Google’s Code of Conduct began with its original “Don’t be evil” motto, ubiquitous in its website
 9   publications when the company emerged in 2001, and underscoring the company’s public
10   pronouncement to always “do the right thing,” “act[] honorably”, and “follow[] the law:
11
            “Don’t be evil.” Googlers generally apply those words to how we serve our users. But
12          “Don’t be evil” is much more than that. Yes, it’s about providing our users unbiased access
            to information, focusing on their needs and giving them the best products and services that
13          we can. But it’s also about doing the right thing more generally – following the law,
            acting honorably and treating co-workers with courtesy and respect. 88
14
15                  Google dropped “Don’t be evil” from the preface of its Code of Conduct in 2018. 89 But,
16   the company’s corporate Code of Conduct continues to publicly tout that it has always complied, and
17   will continue to comply, with all applicable law. Google’s current Code of Conduct states: “VII. Obey
18   the Law: Google takes its responsibilities to comply with laws and regulations very seriously and each
19   of us is expected to comply with applicable legal requirements and prohibitions.” 90
20
21
22   87
           Google Terms of Service, as modified March                         21,    2020,     available   at
     https://policies.google.com/terms?hl=en (accessed Jan. 14, 2021).
23
     88
         Google Code of Conduct, as modified October 12, 2017, available in archive form at
24   https://web.archive.org/web/20180421105327/https:/abc.xyz/investor/other/google-code-of-
     conduct.html (accessed Jan. 14, 2012).
25
     89
       See Christopher Carbone, “Google revises code of conduct, removes ‘Don’t be evil’”, New York Post,
26   My 22, 2018, available at https://nypost.com/2018/05/22/google-revises-code-of-conduct-removes-
27   dont-be-evil/ (accessed March 29, 2021).
     90
          Google Code of Conduct, as modified September 25, 2020,                              available   at
28
     https://abc.xyz/investor/other/google-code-of-conduct/ (accessed March 29, 2021).

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 1                    In short, the Google Defendants, through published Privacy Policies, Terms of Use, and
 2   corporate Codes of Conduct, created an expectation of privacy for child viewers of the Channel
 3   Defendants’ child-directed content on the YouTube Platform, and then tracked and collected Personal
 4   Information from those viewers under the false pretense that the Google Defendants would be
 5   “transparent” with parents about what information was being collected from child viewers, and comply
 6   with applicable legal requirements and prohibitions and established societal norms – including COPPA
 7   – in doing so.
 8                    The Google Defendants failed to live up to their public assurances. Instead, they used
 9   these assurances to create an expectation of privacy for child viewers on the YouTube Platform and
10   then, contrary to their promises to follow the law, tracked and obtained the minor Plaintiffs’ and Class’
11   and Subclass’ Personal Information under false pretenses.
12   VII.   The Channel Owner Defendants Are Jointly Liable
13                    The Channel Owner Defendants were fully aware that the YouTube Platform was the top
14   destination for young children; that they were creating content for children to be shown and viewed on
15   the YouTube Platform; and that the Google Defendants engaged in behavioral, targeted advertising of
16   highly coveted young viewers who viewed the Channel Owner Defendants’ content on their channels.
17                    The Channel Owner Defendants had to consent to and did, in fact, consent to, behavioral
18   advertising targeting these young children on the YouTube platform – and by necessity the collection of
19   Personal Information and data from these children on the Channel Owner Defendants’ behalf for the
20   purposes of allowing the behavioral advertising to be shown on their channels.
21                    The Channel Owner Defendants were aware that this was being done without parental
22   consent and in violation of societal norms, the privacy and protection of children, and various laws and
23   regulations designed to safeguard those norms and privacy protections.
24                    The Channel Owner Defendants encouraged and enabled the conduct by continuing to
25   produce and air child-directed content, which enabled them to realize the financial benefits therefrom.
26   And, although the Channel Owner Defendants had the full ability to put an end to the Google Defendants’
27   deceptive and wrongful use of their channels, the Channel Owner Defendants knowingly allowed such
28

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 1   misconduct to continue. Thus, not only did the Channel Owner Defendants know about, authorize and
 2   agree to the conduct, and benefit from it, they did nothing to stop it and instead perpetuated it.
 3                  It is a long-standing common law principle that parties share joint and several liability for
 4   wrongdoing where there is a concert of action; a unity of purpose or design; and two or more defendants
 5   work separately but for a common purpose of each acting with the knowledge and consent of the others.
 6                  Here, each of the Channel Owner Defendants joined with the Google Defendants in a
 7   commercial enterprise that had a unity of purpose of tracking and collecting Personal Information from
 8   child viewers of the Channel Owner Defendants’ child-directed programming on the Google Defendants’
 9   YouTube Platform. The Channel Owner Defendants did so knowing that their monetization of their
10   child-directed content would entail behavioral advertising directed to minor children, including children
11   under the age of thirteen, and that the tracking and collection of Personal Information of such minors
12   would be conducted in violation of COPPA, state and federal privacy laws, and societal norms, and
13   contrary to the expectation of privacy and public assurances to always follow the law that the Google
14   Defendants touted in their Privacy Policies, Terms of Service, and Code of Conduct.
15                  The Channel Owner Defendants aided and abetted the Google Defendants. They had
16   actual knowledge of the Google Defendants’ illegal and improper conduct and they gave substantial
17   assistance or encouragement to the Google Defendants in this conduct.
18                  The Channel Owner Defendants agreed to participate with the Google Defendants in this
19   misconduct in order to obtain the enormous profits generated by Defendants’ collective wrongdoing,
20   receiving the larger 55% share of the advertising revenue generated during the Class Period through
21   Defendants’ unlawful and deceptive actions. Having shared in the upside of the parties’ unity of purpose,
22   the Channel Owner Defendants likewise share liability with the Google Defendants for the harm
23   Defendants caused.
24                             ALLEGATIONS RELATING TO PLAINTIFFS
25          A.      Plaintiff HubbardC.H.
26                          During the Class Period, Plaintiff Hubbard’s minor child, C.H.,C.H. watched
27   videos and advertisements on the YouTube Platform using YouTube.com and the YouTube mobile app,
28   and, on certain occasions, the YouTube Kids App.

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 1                          C.H. viewed multiple monetized YouTube channels owned by Channel Owner
 2   Defendants during the Class Period, including, among others, the following channels: (i) ChuChuTV:
 3   ChuChu Nursery Rhymes & Kids Songs, (ii) Ryan’s World (f/k/a Ryan ToysReview): Ryan Toys
 4   Review, and (iii) Hasbro: My Little Pony, and (iv) CookieSwirlC: CookieSwirlC.
 5                  Channel Owner Defendants ChuChu TV, the Ryan’s World Defendants, the Hasbro
 6   Defendants, and CookieSwirlC knowingly and purposefully opted in to Google Defendants’ behavioral
 7   advertising which enabled Google Defendants to collect Personal Information from the children viewing
 8   their channels in exchange for advertising revenue.
 9                          The Google Defendants and these Channel Owner Defendants collected and
10   enabled collection of C.H.’s Personal Information for the purposes of tracking, profiling, and targeting
11   C.H. with advertisements as she watched these Channel Owner Defendants’ YouTube videos.
12                          Neither the Google Defendants nor these Channel Owner Defendants obtained
13   verifiable parental consent prior to the collection of C.H.’s Personal Information.
14                  The Google Defendants and Channel Owner Defendants ChuChu TV, the Ryan’s World
15   Defendants, the Hasbro Defendants, and CookieSwirlC actively and fraudulently concealed their
16   unlawful acts described herein and further deceptively misled parents and the public about the Google
17   Defendants’ intentional design and employment of the You Tube Platform and the monetized channels
18   thereon to attract and provide video viewing to minors under the age of thirteen and to exploit such
19   minors’ Personal Information for the Google Defendants’ and these Chanel Owner Defendants’
20   enormous financial gain.
21                          Neither Plaintiff C.H. nor their parent and guardian Nichole Hubbard could not
22   have reasonably discovered this conduct earlier through investigation. Plaintiff C.H. is a minor unable
23   to consent to or understand Defendants’ tracking of personal information, and Defendants concealed
24   from and misled Nichole Hubbard about their tracking, profiling, and targeting of her child.
25                          The tracking, profiling, and targeting of C.H. without parental consent by the
26   Google Defendants and these Channel Owner Defendants is highly offensive and constitutes an invasion
27   of C.H.’s privacy.
28          B.      Plaintiff Jones

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 1          B.      Plaintiffs E.J., N.J., A.J, and L.J.
 2                          During the Class Period, Plaintiff Jones’ minor children,Plaintiffs E.J., N.J., A.J.,
 3   and L.J.,. watched videos and advertisements on the YouTube Platform using YouTube.com and the
 4   YouTube mobile app.
 5                          E.J., N.J., A.J., and L.J. viewed multiple monetized YouTube channels owned by
 6   Channel Owner Defendants during the Class Period, including, among others, the following channels:
 7   (i) Mattel: Hot Wheels, Fisher Price, and Thomas & Friends, (ii) Hasbro: Hasbro Channel, Play-Doh,
 8   and My Little Pony, (iii) Cartoon Network: DC Super Hero Girls, and Steven Universe; (iv)
 9   DreamWorks: DreamWorks TV World, Universal Kids Preschool, TheSkylanderBoy and Girl, and
10   EthanGamer; (v) ChuChu TV: ChuChu TV Nursey Rhymes & Kids Song, ChuChu TV Surprise Eggs
11   Toys, and ChuChu TV Funzone, and (vi) Ryan’s World (f/k/a Ryan ToysReview): Ryan Toys Review,
12   and (vii) CookieSwirlC: CookiwSwirlC.
13                  Channel Owner Defendants Mattel, the Hasbro Defendants, the Cartoon Network
14   Defendants, the DreamWorks Defendants, ChuChu TV, the Ryan’s World Defendants, and
15   CookieSwirlC knowingly and purposefully opted in to Google Defendants’ behavioral advertising
16   which enabled Google Defendants to collect Personal Information from the children viewing their
17   channels in exchange for advertising revenue.
18                          The Google Defendants and these Channel Owner Defendants collected and
19   enabled collection of E.J.’s, N.J.’s, A.J.’s, and L.J.’s Personal Information for the purposes of tracking,
20   profiling, and targeting E.J., N.J., A.J., and L.J. with advertisements as they watched these Channel
21   Owner Defendants’ YouTube videos.
22                          Neither the Google Defendants nor these Channel Owner Defendants obtained
23   verifiable parental consent prior to the collection of E.J., N.J., A.J., and L.J.’s Personal Information.
24                  The Google Defendants and Channel Owner Defendants Mattel, the Hasbro Defendants,
25   the Cartoon Network Defendants, the DreamWorks Defendants, ChuChu TV, the Ryan’s World
26   Defendants, and CookieSwirlC actively and fraudulently concealed their unlawful acts described herein
27   and further deceptively misled parents and the public about the Google Defendants’ intentional design
28   and employment of the You Tube Platform and the monetized channels thereon to attract and provide

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 1   video viewing to minors under the age of thirteen and to exploit such minors’ Personal Information for
 2   the Google Defendants and these Channel Owner Defendants’ enormous financial gain.
 3                    Plaintiff Jones could not have reasonably discovered this conduct earlier through
 4   investigation.
 5                    Neither Plaintiffs E.J., N.J., A.J., and L.J. nor their parent and guardian Cara Jones could
 6   have reasonably discovered this conduct earlier through investigation. Plaintiffs E.J., N.J., A.J., and L.J.
 7   are minors unable to consent to or understand Defendants’ tracking of personal information, and
 8   Defendants concealed from and misled Cara Jones about their tracking, profiling, and targeting of her
 9   children.
10                           The tracking, profiling, and targeting of E.J., N.J., A.J., and L.J. without parental
11   consent by the Google Defendants and these Channel Owner Defendants is highly offensive and
12   constitutes an invasion of E.J.’s, N.J.’s, A.J.’s, and L.J.’s privacy.
13           C.       Plaintiff EfrosJ.A.E. and J.R.E.
14                           During the Class, Period Plaintiff Efros’ minor children,, Plaintiffs J.A.E. and
15   J.R.E.,. watched videos and advertisements on the YouTube Platform using YouTube.com and the
16   YouTube mobile app.
17                           J.A.E. and J.R.E. viewed multiple monetized YouTube channels owned by
18   Channel Owner Defendants during the Class Period, including, among others, the following channels:
19   (i) Mattel: Thomas & Friends, (ii) Cartoon Network: Cartoon Network, The Amazing World of Gumball,
20   and Boomerang Official, (iii) DreamWorks: Universal Kids, and (iv) Ryan’s World (f/k/a Ryan
21   ToysReview): Ryan Toys Review.
22                    Channel Owner Defendants Mattel, the Cartoon Network Defendants, the DreamWorks
23   Defendants, and the Ryan’s World Defendants knowingly and purposefully opted in to Google
24   Defendants’ behavioral advertising which enabled Google Defendants to collect Personal Information
25   from the children viewing their channels in exchange for advertising revenue.
26                           The Google Defendants and these Channel Owner Defendants collected and
27   enabled collection of J.A.E.’s and J.R.E.’s Personal Information for the purposes of tracking, profiling,
28

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 1   and targeting J.A.E. and J.R.E. with advertisements as they watched these Channel Owner Defendants’
 2   YouTube videos.
 3                          Neither the Google Defendants nor these Channel Owner Defendants obtained
 4   verifiable parental consent prior to the collection of J.A.E.’s and J.R.E.’s Personal Information.
 5                  The Google Defendants Neither Plaintiffs J.A.E. and Channel Owner Defendants Mattel,
 6   the Cartoon Network Defendants, the DreamWorks Defendants, and the Ryan’s World Defendants
 7   actively and fraudulently concealed J.R.E. nor their unlawful acts described herein and further
 8   deceptively misled parents and the public about the Google Defendants’ intentional design and
 9   employment of the You Tube Platform and the monetized channels thereon to attract and provide video
10   viewing to minors under the age of thirteen and to exploit such minors’ Personal Information for the
11   Google Defendants’ and these Chanel Owner Defendants’ enormous financial gain.
12                          Plaintiffparent and guardian Justin Efros could not have reasonably discovered
13   this conduct earlier through investigation. Plaintiffs are minors unable to consent to or understand
14   Defendants’ tracking of personal information, and Defendants concealed from and misled Justin Efros
15   about their tracking, profiling, and targeting of his children.
16                          The tracking, profiling, and targeting of J.A.E. and J.R.E. without parental
17   consent by the Google Defendants and these Channel Owner Defendants is highly offensive and
18   constitutes an invasion of J.A.E.’s and J.R.E.’s privacy.
19          D.      Plaintiff GilmoreM.W.
20                          During the Class Period, Plaintiff Gilmore’s minor child, M.W.,. watched videos
21   and advertisements on the YouTube Platform using YouTube.com and the YouTube mobile app.
22                          M.W. viewed multiple monetized YouTube channels owned by Channel Owner
23   Defendants during the Class Period, including, among others, the following channels: (i) Mattel: Barbie,
24   and Polly Pocket, (ii) Cartoon Network: The Amazing World of Gumball, (iii) Hasbro: Transformers
25   Official, Play-Doh, Baby Alive Official, and My Little Pony, (iv) DreamWorks: Gamer Chad, and (v)
26   Ryan’s World (f/k/a Ryan ToysReview): Ryan’s Toys Review, and (vi) CookieSwirlC: CookieSwirlC.
27                  Channel Owner Defendants Mattel, the Cartoon Network Defendants, the Hasbro
28   Defendants, the DreamWorks Defendants, the Ryan’s World Defendants, and CookieSwirlC knowingly

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 1   and purposefully opted in to Google Defendants’ behavioral advertising which enabled Google
 2   Defendants to collect Personal Information from the children viewing their channels in exchange for
 3   advertising revenue.
 4                          The Google Defendants and these Channel Owner Defendants collected and
 5   enabled collection of M.W.’s Personal Information for the purposes of tracking, profiling, and targeting
 6   M.W. with advertisements as she watched these Channel Owner Defendants’ YouTube videos.
 7                          Neither the Google Defendants nor these Channel Owner Defendants obtained
 8   verifiable parental consent prior to the collection of M.W.’s Personal Information.
 9                  The Google Defendants and Channel Owner Defendants Mattel, the Cartoon Network
10   Defendants, the Hasbro Defendants, the DreamWorks Defendants, the Ryan’s World Defendants, and
11   CookieSwirlC actively and fraudulently concealed their unlawful acts described herein and further
12   deceptively misled parents and the public about the Google Defendants’ intentional design and
13   employment of the You Tube Platform and the monetized channels thereon to attract and provide video
14   viewing to minors under the age of thirteen and to exploit such minors’ Personal Information for the
15   Google Defendants’ and these Chanel Owner Defendants’ enormous financial gain.
16                          Neither Plaintiff M.W. nor their parent and guardian Renee Gilmore could not
17   have reasonably discovered this conduct earlier through investigation. Plaintiff is a minor unable to
18   consent to or understand Defendants’ tracking of personal information, and Defendants concealed from
19   and misled Renee Gilmore about their tracking, profiling, and targeting of her child.
20                          The tracking, profiling, and targeting of M.W without parental consent by the
21   Google Defendants and these Channel Owner Defendants is highly offensive and constitutes an invasion
22   of M.W’s privacy.
23          E.      Plaintiff GoodwinA.G.
24                          During the Class Period, Plaintiff Goodwin’s minor child, A.G.,. watched videos
25   and advertisements on the YouTube Platform using YouTube.com and the YouTube mobile app, and,
26   on certain occasions, the YouTube Kids App..
27                          A.G. viewed multiple monetized YouTube channels owned by Channel Owner
28   Defendants during the Class Period, including, among others, the following channels: (i) Mattel:

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 1   American Girl Welliewishers, (ii) Ryan’s World (f/k/a Ryan ToysReview): Ryan Toys Review, and (iii)
 2   Cartoon Network: DC Super Hero Girls, (iv) CookieSwirlC: CookieSwirlC, and (v) DreamWorks:
 3   Gamer Chad.
 4                  Channel Owner Defendants Mattel, the Ryan’s World Defendants, the Cartoon Network
 5   Defendants, the DreamWorks Defendants, and CookieSwirlC knowingly and purposefully opted in to
 6   Google Defendants’ behavioral advertising which enabled Google Defendants to collect Personal
 7   Information from the children viewing their channels in exchange for advertising revenue.
 8                          The Google Defendants and these Channel Owner Defendants collected and
 9   enabled collection of A.G.’s Personal Information for the purposes of tracking, profiling, and targeting
10   A.G. with advertisements as she watched these Channel Owner Defendants’ YouTube videos.
11                          Neither the Google Defendants nor these Channel Owner Defendants obtained
12   verifiable parental consent prior to the collection of A.G.’s Personal Information.
13                  The Google Defendants and Channel Owner Defendants Mattel, the Ryan’s World
14   Defendants, the Cartoon Network Defendants, the DreamWorks Defendants, and CookieSwirlC actively
15   and fraudulently concealed their unlawful acts described herein and further deceptively misled parents
16   and the public about the Google Defendants’ intentional design and employment of the You Tube
17   Platform and the monetized channels thereon to attract and provide video viewing to minors under the
18   age of thirteen and to exploit such minors’ Personal Information for the Google Defendants’ and these
19   Chanel Owner Defendants’ enormous financial gain.
20                          Neither Plaintiff A.G. nor their parent and guardian Jay Goodwin could not have
21   reasonably discovered this conduct earlier through investigation. Plaintiff is a minor unable to consent
22   to or understand Defendants’ tracking of personal information, and Defendants concealed from and
23   misled Jay Goodwin about their tracking, profiling, and targeting of his children.
24                          The tracking, profiling, and targeting of A.G. without parental consent by the
25   Google Defendants and these Channel Owner Defendants is highly offensive and constitutes an invasion
26   of A.G.’s privacy.
27          F.      Plaintiff DishmanC.D.
28                          During the Class Period, Plaintiff Dishman’s minor child, C.D.,. watched videos

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 1   and advertisements on the YouTube Platform.
 2                          C.D. viewed multiple monetized YouTube channels owned by Channel Owner
 3   Defendants during the Class Period, including, among others, the following channels: (i) Cartoon
 4   Network.
 5                  The Cartoon Network Defendants knowingly and purposefully opted in to Google
 6   Defendants’ behavioral advertising which enabled Google Defendants to collect Personal Information
 7   from the children viewing their channels in exchange for advertising revenue.
 8                          The Google Defendants and the Cartoon Network Defendants collected and
 9   enabled collection of C.D.’s Personal Information for the purposes of tracking, profiling, and targeting
10   C.D. with advertisements as she watched Cartoon Network’s YouTube videos.
11                          Neither the Google Defendants nor the Cartoon Network Defendants obtained
12   verifiable parental consent prior to the collection of C.D.’s Personal Information.
13                  The Google Defendants and the Cartoon Network Defendants actively and fraudulently
14   concealed their unlawful acts described herein and further deceptively misled parents and the public
15   about the Google Defendants’ intentional design and employment of the You Tube Platform and the
16   monetized channels thereon to attract and provide video viewing to minors under the age of thirteen and
17   to exploit such minors’ Personal Information for the Google Defendants’ and the Cartoon Network
18   Defendants’ enormous financial gain.
19                          Neither Plaintiff C.D. nor their parent and guardian Bobbi Dishman could not
20   have reasonably discovered this conduct earlier through investigation. Plaintiff is a minor unable to
21   consent to or understand Defendants’ tracking of personal information, and Defendants concealed from
22   and misled Bobbi Dishman about their tracking, profiling, and targeting of her.
23                          The tracking, profiling, and targeting of C.D. without parental consent by the
24   Google Defendants and the Cartoon Network Defendants is highly offensive and constitutes an invasion
25   of C.D..’s privacy.
26                                       TOLLING AND ESTOPPEL
27   I.     Discovery Rule Tolling
28                          Plaintiffs and the Classes and Subclasses had no way of knowing about

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 1   Defendants’ conduct with respect to the collection and impermissible and unauthorized use of, and profit
 2   from, the Personal Information of Plaintiffs and the members of the Classes and Subclasses.
 3                             Neither Plaintiffs nor any other members of the Classes and Subclasses, through
 4   the exercise of reasonable diligence, could have discovered the conduct alleged herein. Further,
 5   Plaintiffs and the members of the Classes and Subclasses did not discover, and did not know of facts
 6   that would have caused a reasonable person to suspect, that Defendants were engaged in the conduct
 7   alleged herein.
 8                             For these reasons, all applicable statutes of limitation have been tolled by
 9   operation of the discovery rule with respect to claims asserted by Plaintiffs, the Classes, and the
10   Subclasses.
11   II.    Fraudulent Concealment Tolling
12                             By failing to provide notice of the collection and use of the Personal Information
13   and obtain verifiable consent, in violation of COPPA and societal norms and conventions, Defendants
14   concealed their conduct and the existence of the claims asserted herein from Plaintiffs and the members
15   of the Classes and Subclasses.
16                             Upon information and belief, Defendants intended by their acts to conceal the
17   facts and claims from Plaintiffs and members of the Classes and Subclasses. Plaintiffs and the members
18   of the Classes and Subclasses were unaware of the facts alleged herein without any fault or lack of
19   diligence on their part and could not have reasonably discovered Defendants’ conduct. For this reason,
20   any statute of limitations that otherwise may apply to the claims of Plaintiffs or members of the Classes
21   should be tolled.
22   III.   Estoppel
23                             Despite their duties and obligations under COPPA, Defendants failed to provide
24   notice of the collection and use of the Personal Information and obtain verifiable consent in breach and
25   violation thereof.
26                             Defendants therefore are estopped from relying on any statutes of limitations in
27   defense of this action.
28                                       CLASS ACTION ALLEGATIONS

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 1                          Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil
 2   Procedure 23(a), 23(b)(2), and 23(b)(3).
 3                          Plaintiffs Hubbard, Jones, and Efros, in their capacity of parents and guardians of
 4   their minor children, C.H., E.J., N.J., A.J., L.J., J.A.E., and J.R.E., through their parents and guardians,
 5   seek class certification of claims for the common law privacy cause of action of “Intrusion Upon
 6   Seclusion,” on behalf of a class defined as follows:
 7          The Intrusion Upon Seclusion Class: all children and parents and/or legal guardians of
 8          childrenpersons residing in the States of Alabama, Alaska, Arizona, Arkansas, California,
 9          Colorado, Connecticut, Delaware, Georgia, Hawaii, Idaho, Illinois, Iowa, Kansas,
10          Kentucky, Louisiana, Maine, Maryland, Minnesota, Missouri, Nevada, New Hampshire,
11          and New Jersey, North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, South Dakota,
12          Texas, Utah, Vermont, Washington, and West Virginia who are younger than the age of
13          thirteen and used YouTube, or were sixteen or younger than the age of thirteen when they
14          used YouTube, and from whom Defendants collected, used, or disclosed Personal
15          Information without first obtaining verified parental consent during Class Period.
16                           All Plaintiffs, in their capacity as parents and guardians of their minor children,
17   C.H., E.J., N.J., A.J., L.J., J.A.E., J.R.E., M.W., A.G., and C.D.., through their parents and guardians,
18   seek certification of a claim for violation of the California Unfair Competition Law, Cal. Bus. & Prof.
19   Code § 17200, et seq., on behalf of a class defined as follows:
20          Nationwide UCL Class: all children and parents and/or legal guardians of
21          childrenpersons residing in the United States who are younger than the age of thirteen and
22          used YouTube, or were sixteen or younger than the age of thirteen when they used
23          YouTube, and from whom Defendants collected, used, or disclosed Personal Information
24          without first obtaining verified parental consent. during the Class Period.
25                          Plaintiff Hubbard, in her capacity asC.H. through their parent and guardian of her
26   minor child C.H.,Hubbard, seeks certification of claims for violations of the State of California
27   Constitution Right to Privacy and the California Unfair Competition Law, Cal. Bus. & Prof. Code §
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 1   17200, et seq. as well as a claim for Unjust Enrichment on behalf of a California Subclass defined as
 2   follows:
 3          The California Subclass: all children and parents and/or legal guardians of persons
 4          residing in the State of California who are younger than the age of thirteen and used
 5          YouTube, or were sixteen or younger than the age of thirteen when they used YouTube,
 6          and from whom Defendants collected, used, or disclosed Personal Information without
 7          first obtaining verified parental consent during the Class Period.
 8                         Plaintiff Jones, in her capacity as parent and guardian of her minor children E.J.,
 9   N.J., A.J., and L.J., seeksthrough their parent and guardian Jones, seek certification of a claim for
10   violation of the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101 et seq., as well as a claim
11   for Unjust Enrichment on behalf of a Colorado Subclass defined as follows:
12          The Colorado Subclass: all children and parents and/or legal guardians of persons
13          residing in the State of Colorado who are younger than the age of thirteen and used
14          YouTube, or were sixteen or younger than the age of thirteen when they used YouTube,
15          and from whom Defendants collected, used, or disclosed Personal Information without
16          first obtaining verified parental consent during the Class Period.
17                         Plaintiff Dishman, in her capacity asC.D., through their parent and guardian of
18   her minor child, C.D.,, seeks certification of a claim for violation of the Indiana Deceptive Consumer
19   Sales Act, Ind. Code § 24-5-0.5-3, as well as a claim for Unjust Enrichment on behalf of an Indiana
20   Subclass defined as follows:
21          The Indiana Subclass: all children and parents and/or legal guardians of persons residing
22          in the State of Indiana who are younger than the age of thirteen and used YouTube, or were
23          sixteen or younger than the age of thirteen when they used YouTube, and from whom
24          Defendants collected, used, or disclosed Personal Information without first obtaining
25          verified parental consent during the Class Period.
26                         Plaintiff Goodwin, in his capacity asA.G., through their parent and guardian of
27   his minor child, A.G.,Goodwin, seeks certification of a claim for violation of the Massachusetts
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 1   Consumer Protection Act, Mass. Gen. Laws. Ann. Ch. 93A, § 1, et seq., as well as a claim for Unjust
 2   Enrichment on behalf of a Massachusetts Subclass defined as follows:
 3          The Massachusetts Subclass: all children and parents and/or legal guardians of persons
 4          residing in the Commonwealth of Massachusetts who are younger than the age of thirteen
 5          and used YouTube, or were sixteen or younger than the age of thirteen when they used
 6          YouTube, and from whom Defendants collected, used, or disclosed Personal Information
 7          without first obtaining verified parental consent during the Class Period.
 8                         Plaintiff Efros, in his capacity asPlaintiffs J.E. and J.E., through their parent and
 9   guardian of his minor children, J.E. and J.E., seeksEfros, seek certification of a claim for violation of
10   the New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8-1 et seq., as well as a claim for Unjust
11   Enrichment on behalf of New Jersey Subclass defined as follows:
12          The New Jersey Subclass: all children and parents and/or legal guardians of persons
13          residing in the State of New Jersey who are younger than the age of thirteen and used
14          YouTube, or were sixteen or younger than the age of thirteen when they used YouTube,
15          and from whom Defendants collected, used, or disclosed Personal Information without
16          first obtaining verified parental consent during the Class Period.
17                         Plaintiff Gilmore, in her capacity asM.W., through their parent and guardian of
18   her minor child, M.W.,Gilmore, seeks certification of a claim for violation of the Tennessee Consumer
19   Protection Act, Tenn. Code Ann. § 47-18-101 et seq., as well as a claim for Unjust Enrichment on behalf
20   of a Tennessee Subclass defined as follows:
21          The Tennessee Subclass: all children and parents and/or legal guardians of persons
22          residing in the State of Tennessee who are younger than the age of thirteen and used
23          YouTube, or were sixteen or younger than the age of thirteen when they used YouTube,
24          and from whom Defendants collected, used, or disclosed Personal Information without
25          first obtaining verified parental consent during the Class Period.
26                         Plaintiffs reserve the right to modify or refine the Classes or Subclasses
27   definitions based upon discovery of new information and in order to accommodate any of the Court’s
28   manageability concerns.

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 1                          Excluded from the Classes and Subclasses are: (a) any Judge or Magistrate Judge
 2   presiding over this action and members of their staff, as well as members of their families; (b)
 3   Defendants and Defendants’ predecessors, parents, successors, heirs, assigns, subsidiaries, and any
 4   entity in which any Defendant or its parents have a controlling interest, as well as Defendants’ current
 5   or former employees, agents, officers, and directors; (c) persons who properly execute and file a timely
 6   request for exclusion from the Classes or Subclass; (d) persons whose claims in this matter have been
 7   finally adjudicated on the merits or otherwise released; (e) counsel for Plaintiffs and Defendants; and (f)
 8   the legal representatives, successors, and assigns of any such excluded persons.
 9                          Ascertainability. The proposed Classes and Subclasses are readily ascertainable
10   because they are defined using objective criteria so as to allow class members to determine if they are
11   part of a Class or Subclass. Further, the Classes and Subclasses can be readily identified through records
12   maintained by Defendants.
13                          Numerosity (Rule 23(a)(1)). The Classes and Subclasses are so numerous that
14   joinder of individual members herein is impracticable. The exact number of members of the Classes and
15   Subclasses, as herein identified and described, is not known, but download figures indicate that the
16   YouTube has collected information on millions of children.
17                          Commonality (Rule 23(a)(2)). Common questions of fact and law exist for each
18   cause of action and predominate over questions affecting only individual Class and Subclass members,
19   including the following:
20           a. Whether Defendants collected the Personal Information of children under thirteen;;
21           b. Whether Defendants had knowledge they were collecting the Personal Information of
22               children under the age of thirteen;
23           c. Whether Defendants obtained verifiable parental consent to collect the Personal Information
24               of children under the age of thirteen;;
25           d. Whether the collection of Personal Information of children under the age of thirteen is
26               highly offensive to a reasonable person;
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 1           e. Whether the collection of Personal Information of children under the age of thirteen without
 2               parental consent is sufficiently serious and unwarranted as to constitute an egregious breach
 3               of social norms;
 4           f. Whether Defendants’ conduct violated COPPA;
 5           g.f. Whether Defendants’ conduct constituted an invasion of privacy based on common law
 6               protection against intrusion upon seclusion under the laws of California, Colorado, New
 7               Jersey, and the other states set forth in the Intrusion Upon Seclusion Class;
 8           h.g.Whether Defendants’ conduct constitutes a violation of the California Constitution right to
 9               privacy;
10           i.h. Whether Defendants’ conduct was unlawful or deceptive;
11           j.i. Whether Defendants’ conduct violated the California Unfair Competition Law, the
12               Colorado Consumer Protection Act, the Indiana Deceptive Consumer Sales Act, the
13               Massachusetts Consumer Protection Act, the New Jersey Consumer Fraud Act, and the
14               Tennessee Consumer Protection Act;
15           k.j. Whether Plaintiffs and the Classes and Subclasses are entitled to monetary damages and the
16               measure of those damages;
17           l.k. Whether Plaintiff HubbardPlaintiffs and the California Subclass are entitled to restitution,
18               and disgorgement and/or other equitable and injunctive relief;;
19           m.l.   Whether Defendants were unjustly enriched by their conduct under the laws of
20               California, Colorado, Indiana, Massachusetts, New Jersey, and Tennessee;.
21           n.m. Whether Defendants’ fraudulently concealed their conduct; and
22           o.n.Whether Plaintiffs and the Classes and Subclasses are entitled to injunctive or other
23               equitable relief.
24                          Typicality (Rule 23(a)(3)). Plaintiffs’ claims are typical of the claims of the other
25   members of the proposed Classes and Subclasses. Plaintiffs and members of the Classes and Subclasses
26   (as applicable) suffered an invasion of privacy and injuries as a result of Defendants’ wrongful conduct
27   that is uniform across the Classes and Subclasses.
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 1                          Adequacy (Rule 23(a)(4)). Plaintiffs have and will continue to fairly and
 2   adequately represent and protect the interests of the Classes and Subclasses. Plaintiffs have retained
 3   counsel competent and experienced in complex litigation and class actions. Plaintiffs have no interest
 4   that is antagonistic to those of the Classes and Subclasses, and Defendants have no defenses unique to
 5   Plaintiffs. Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf of
 6   the members of the Classes and Subclasses, and they have the resources to do so. Neither Plaintiffs nor
 7   Plaintiffs’ counsel have any interest adverse to those of the other members of the Classes and Subclasses.
 8                          Substantial Benefits. This class action is appropriate for certification because
 9   class proceedings are superior to other available methods for the fair and efficient adjudication of this
10   controversy and joinder of all members of the Classes and Subclasses is impracticable. The prosecution
11   of separate actions by individual members of the Classes and Subclasses would impose heavy burdens
12   upon the Courts and Defendants, would create a risk of inconsistent or varying adjudications of the
13   questions of law and fact common to members of the Classes and Subclasses, and would be dispositive
14   of the interests of the other members not parties to the individual adjudications or would substantially
15   impair or impede their ability to protect their interests. This proposed class action presents fewer
16   management difficulties than individual litigation, and provides the benefits of single adjudication,
17   economies of scale, and comprehensive supervision by a single court. Class treatment will create
18   economies of time, effort, and expense and promote uniform decision-making.
19                          Class certification, therefore, is appropriate under Fed. R. Civ. P. 23(b)(3)
20   because the above common questions of law or fact predominate over any questions affecting individual
21   members of the Classes, and a class action is superior to other available methods for the fair and efficient
22   adjudication of this controversy.
23                          Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2) because
24   Defendants have acted or refused to act on grounds generally applicable to the Classes and Subclasses,
25   so that final injunctive relief or corresponding declaratory relief, if any, that may be awarded by the
26   Court is appropriate as to the Classes and Subclasses as a whole.
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 1                           Plaintiffs reserve the right to revise the foregoing class allegations and definitions
 2   based on facts learned and legal developments following additional investigation, discovery, or
 3   otherwise.
 4                                            CLAIMS FOR RELIEF
 5                                        FIRST CLAIM FOR RELIEF
 6                                           Intrusion Upon Seclusion
 7    (Brought on Behalf of Plaintiffs Hubbard, Jones, and Efros and the Intrusion Upon Seclusion
 8                 ClassC.H., E.J., N.J., A.J., L.J., J.A.E. and J.R Against All Defendants)
 9                   Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
10                   Plaintiffs, in their capacity as parents and guardians of their minor childrenPlaintiffs
11   C.H., E.J., N.J., A.J.,, L.J., J.A.E., and J.R.E., have reasonable expectations of privacy in their mobile
12   devices and their online behavior and activities, generally. C.H.’s, E.J.’s, N.J.’s, A.J.’s, L.J.’s, J.A.E.’s,
13   and J.R.E.’s. incorporate the foregoing allegations as if fully set forth herein.
14                           Plaintiffs and the Intrusion Upon Seclusion Class members’ private affairs
15   include their behavior on their mobile devices, online, as well as any other behavior that may be
16   monitored by the surreptitious and deceptive tracking employed or otherwise enabled by or through the
17   YouTube Platform.
18                   The parents and guardians of Plaintiffs as well as the parents or guardians of Intrusion
19   Upon Seclusion Class members have reasonable expectations of privacy in their children’s mobile
20   devices and their online behavior and activities, generally. This expectation stemmed from the Google
21   Defendants’ representations, throughout the Class Period, that they would “do no evil,” that “[w]hen
22   people use our products, they trust us with their information, and it’s our job to do right by them” by
23   “being transparent” about “what data we collect, how it’s used, and why” (among other
24   misrepresentations), and follow the law, as well as the expectation that all Defendants’ would respect
25   children’s privacy online, in accordance with societal expectations, law, and public policy. The
26   expectations of Plaintiffs’ parents and guardians includes that the Google Defendants would not track
27   their children’s activity across much of the Internet, without their consent, in order for both the Google
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 1   Defendants and the Channel Owner Defendants to reap additional profits from behavioral targeted
 2   advertisements.
 3                  As children aged sixteen or younger, Plaintiffs lacked the ability to form expectations
 4   about reasonable privacy or to consent to Defendants’ actions. They relied on their parents for such
 5   determinations.
 6                          The Google Defendants intentionally intruded on and into C.H.’s, E.J.’s, N.J.’s,
 7   A.J.’s, L.J.’s, J.A.E.’s, J.R.E.’sPlaintiffs’ and the Intrusion Upon Seclusion Class members’ solitude,
 8   seclusion, or private affairs by intentionally and surreptitiously and deceptively obtaining, improperly
 9   gaining knowledge of, reviewing, and/or retaining C.H.’s, E.J.’s, N.J.’s, A.J.’s, L.J.’s, J.A.E.’s,
10   J.A.E.’sPlaintiffs’ and the Intrusion Upon Seclusion Class members’ activities through the monitoring
11   and tracking activities described herein.
12                          These intrusions are highly offensive to a reasonable person. This is evidenced
13   by, inter alia, countless consumer surveys, studies, and op-eds decrying the online tracking of children,
14   centuries of common law, state and federal statutes and regulations including COPPA and Federal Trade
15   Commission regulations, legislative commentaries, enforcement actions undertaken by the FTC,
16   industry standards and guidelines, and scholarly literature on consumers’ reasonable expectations.
17                  These societal expectations and laws created a duty that Defendants owed to Plaintiffs
18   and class members. The Google Defendants breached that duty by tracking and monitoring children,
19   and all Defendants breached that duty by profiting from behavioral advertising.
20                          Defendants’ intrusion into the sacrosanct relationship between parent and child
21   and subsequent commercial exploitation of children’s special vulnerabilities online also contributes to
22   the highly offensive nature of Defendants’ activities.
23                  Plaintiffs’ children C.H. E.J., N.J., A.J., L.J., J.A.E., J.R.E.,Channel Owner Defendants
24   are jointly liable with Google Defendants because all Defendants acted in concert to harm Plaintiffs and
25   Class members, and/or the Channel Owner Defendants directed, permitted, assisted, and/or encouraged
26   the Google Defendants in the conduct here described.
27                  Moreover, the Channel Owner Defendants aided and abetted the Google Defendants.
28   They had actual knowledge that the Google Defendants’ conduct breached duties owed by law and

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 1   public policy, and they gave substantial assistance or encouragement to the Google Defendants in this
 2   conduct. The Channel Owner’s conduct also constitutes a breach of duty to Plaintiffs and Class members
 3   when separately considered.
 4                          Plaintiffs and the Intrusion Upon Seclusion Class members were harmed by the
 5   intrusion into their private affairs as detailed throughout this Complaint. Defendants’ actions and
 6   conduct complained of herein were a substantial factor in causing the harm suffered by Plaintiffs and
 7   their minor children and the Intrusion Upon Seclusion Class members.
 8                          Plaintiffs and the Intrusion Upon Seclusion Class members therefore seek (1)
 9   injunctive relief, in the form of orders compelling the deletion, destruction, and/or sequestration of all
10   personal data obtained by the Google Defendants in violation of state law and appropriate injunctive
11   relief against the Channel Owner Defendants; and (2) compensatory and punitive damages in an amount
12   to be determined at trial. Plaintiffs and the Intrusion Upon Seclusion Class members seek punitive
13   damages because Defendants’ actions—which were malicious, oppressive, and willful—were calculated
14   to injure Plaintiffs and the Intrusion Upon Seclusion Class members and made in conscious disregard
15   of Plaintiffs’ and the Intrusion Upon Seclusion Class members’ rights. Punitive damages are warranted
16   to deter Defendants from engaging in future misconduct.
17                                      SECOND CLAIM FOR RELIEF
18          Violation of the California Unfair Competition Law, Cal. Bus. & Prof. Code §17200
19    (Brought on Behalf of All Plaintiffs and the Nationwide UCL Class, and on Behalf of Plaintiff
20                   HubbardC.H. and the California Subclass Against All Defendants)
21                  Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
22                  Under the UCL, a business practice that is likely to deceive an ordinary consumer
23   constitutes a deceptive business practice. Defendants’ conduct was deceptive, unfair, and unlawful in
24   numerous respects. The Google Defendants have intentionally and deceptively misled parents and the
25   public about Defendants’ intention to use the YouTube Platform and the monetized channels thereon to
26   attract and provide video viewing to children in order to gain access to the Personal Information of such
27   children and to exploit such children’s Personal Information for Google Defendants’ and Channel
28   Owner Defendants’ financial gain.

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 1                  During the Class Period, the Google Defendants have asserted that they “do no evil” and
 2   are being “transparent” about “what data we collect, how it’s used, and why” (among other
 3   misrepresentations), that they comply with all applicable laws, and that children are not permitted to
 4   access the YouTube Platform. The parents and guardians of Plaintiffs and Class members also
 5   reasonably expected that all Defendants, including Channel Owners, respect children’s privacy online,
 6   in accordance with societal expectations and public policy as well as state and federal statutes and
 7   regulations including COPPA and Federal Trade Commission regulations. At the same time, the Google
 8   Defendants and the Channel Owner Defendants have, at all times throughout the Class Period, been well
 9   aware that children, including children under the age of 13, access YouTube’s channels; have actively
10   sought to increase viewing of the YouTube Platform by children; and have sought to exploit, for
11   commercial purposes and gain, the millions of YouTube child viewers. Defendants’ knowledge of the
12   widespread use of the Platform by children (which the Google Defendants have expressly touted in their
13   advertising sales efforts) and failure to disclose that they are tracking, profiling, and targeting such
14   children and/or profiting from this behavior, while at the same time representing that the YouTube
15   Platform complies with law and societal expectation, and does not permit and does not seek to reach
16   children, are likely to and, in fact, did deceive Plaintiffs and Nationwide UCL Class and California
17   Subclass Members and their parents or guardians. Defendants’ conduct therefore constitutes deceptive
18   business practices in violation of Cal. Bus. & Prof. Code §17200.
19                  Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
20                  The Channel Owner Defendants’ conduct separately violates both the unfair and unlawful
21   prongs of the UCL. All Defendants acted in concert to harm Plaintiffs and class members, and/or the
22   Channel Owner Defendants directed, permitted, assisted, and/or encouraged the Google Defendants in
23   the conduct here described.
24                  Moreover, the Channel Owner Defendants aided and abetted the Google Defendants. They
25   had actual knowledge that the Google Defendants’ conduct breached duties owed by law and public
26   policy, and they gave substantial assistance or encouragement to the Google Defendants in this conduct.
27   Channel Owner Defendants personally participated in these unlawful and unfair practices by creating and
28   posting child-directed content and allowing more profitable behavioral advertising on their YouTube

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 1   Channels. They also had unbridled control over these practices, in that they could have chosen not to post
 2   child-directed content or not to allow behavioral advertising.
 3                            Defendants engaged in business acts and practices deemed “unlawful” under the
 4   UCL, because, as alleged above,. The Google Defendants unlawfully tracked, targeted, and profiled
 5   Plaintiffs’ minor childrenPlaintiffs and the Nationwide UCL Class and California Subclass Members
 6   without obtaining parental consent in violation of COPPA and, Federal Trade Commission regulations.
 7   , and other laws. The Google Defendants also engaged in business acts and practices deemed “unlawful”
 8   under the UCL as to the California Subclass by unlawfully tracking, targeting, and profiling Plaintiffs’
 9   minor children, in violation of the California Constitutional Right to Privacy, Cal. Const. Art. Const.
10   Art. 1, § 11, § 1. Channel Owner Defendants and the Google Defendants jointly reaped additional
11   advertising profits from these actions.
12                     Defendants also engaged in business acts or practices deemed “unfair” under the UCL
13   because, as alleged above, Defendants failed to disclose that the Google Defendants were tracking,
14   profiling, and targeting Plaintiffs’ and the Nationwide UCL Class’s and California Subclasses’ children
15   through the collection of Personal Information., and that both Google Defendants and Channel Owner
16   Defendants were profiting from this. Unfair acts under the UCL have been interpreted using three
17   different tests: (1) whether the public policy which is a predicate to a consumer unfair competition action
18   under the unfair prong of the UCL is tethered to specific constitutional, statutory, or regulatory
19   provisions; (2) whether the gravity of the harm to the consumer caused by the challenged business
20   practice outweighs the utility of the defendant’s conduct; and (3) whether the consumer injury is
21   substantial, not outweighed by any countervailing benefits to consumers or competition, and is an injury
22   that consumers themselves could not reasonably have avoided. Defendants’ conduct is unfair under each
23   of these tests.
24                     Defendants’ conduct is unfair under each of these tests. As described above, Defendants’
25   conduct violates the policies underlying privacy laws and, with respect to children under the age of
26   thirteen, the mandates of COPPA. The gravity of the harm of the Google Defendants’ secret tracking,
27   profiling, and targeting of children, and the Channel Owners’ active and joint cooperation with it, is
28   significant and there is no corresponding benefit to consumers of such conduct. Finally, because

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 1   Plaintiffs and the Nationwide UCL Class and California Subclass Members were minors unable to
 2   consent to or understand Defendants’ conduct—and because their parents did not consent to this conduct
 3   and were misled by their belief that Defendants would follow applicable laws and societal expectations
 4   about children’s privacy as well as Defendants’ statements—they could not have avoided the harm.
 5                  The Google Defendants’ misrepresentations and omissions include both implicit and
 6   explicit representations.
 7                  Defendants’ representations and omissions were material because they were likely to
 8   deceive reasonable consumers such as the parents or guardians of Plaintiffs and Class and Subclass
 9   Members about the terms under which their children were watching the YouTube Platform as well as the
10   fact that Defendants were collecting and profiting from minors’ Personal Information without their
11   parents and guardians’ knowledge or consent.
12                  Defendants had a duty to disclose the above-described facts due to the important public
13   interest in securing the privacy of minors’ Personal Information and the fact that minors are unable to
14   fully protect their own interests. Plaintiffs and Nationwide UCL Class and California Subclass Members
15   placed trust in Defendants as major and reputable companies who represent that they are in compliance
16   with applicable laws and societal interests in safeguarding minors’ Personal Information. Additionally,
17   Defendants had sole ability to understand the extent of Google Defendants’ collection of Personal
18   Information, and the parents or guardians of Plaintiffs and Nationwide UCL Class and California
19   Subclass Members could not reasonably have discovered—and were unaware of—Defendants’ secret
20   tracking, profiling, and targeting.
21                  Defendants invaded Plaintiff’s and Nationwide UCL Class and California Subclass
22   Members privacy without their or their parents and guardians’ consent.
23                  Because Defendants held themselves out as complying with law and public policy
24   regarding minors’ privacy rights, the parents or guardians of Plaintiffs and Nationwide UCL Class and
25   California Subclass Members acted reasonably in relying on Defendants’ misrepresentations and
26   omissions.
27                  Plaintiffs and Nationwide UCL Class and California Subclass Members could not have
28   reasonably avoided injury because Defendants’ business acts and practices unreasonably created or took

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 1   advantage of an obstacle to the free exercise of their decision-making. By withholding the important
 2   information that they were collecting and profiting from minors’ Personal Information, Defendants
 3   created an asymmetry of information.
 4                           Further, Defendants’ conduct is immoral, unethical, oppressive, unscrupulous
 5   and substantially injurious to consumers, and there are no greater countervailing benefits to consumers
 6   or competition.
 7                   As described above, Defendant’s conduct violates the policies underlying privacy
 8   lawPlaintiffs, as well as COPPA. The gravity of the harm of Defendants’ secret tracking, profiling, and
 9   targeting of minors under the age of thirteen is significant and there is no corresponding benefit to
10   consumers of such conduct. Finally, because Plaintiffs and the Nationwide UCL Class and California
11   Subclass Members were completely unaware of Defendants secret tracking, profiling, and targeting,
12   they could not have possibly avoided the harm.
13                   Under the UCL, a business practice that is likely to deceive an ordinary consumer
14   constitutes a deceptive business practice. Defendants’ conduct was deceptive in numerous respects.
15   The Google Defendants have intentionally and deceptively misled parents and the public about
16   Defendants’ intention to use the YouTube Platform and the monetized channels thereon to attract and
17   provide video viewing to minors under the age of thirteen in order to gain access to the Personal
18   Information of such minors and to exploit such minors’ Personal Information for Defendants’ financial
19   gain. The Google Defendants have falsely asserted that such children are not permitted to access the
20   Platform while, at the same time, the Google Defendants and the Channel Owner Defendants have, at
21   all times throughout the Class Period, been well aware that minors under the age of thirteen access
22   YouTube’s channels; have actively sought to increase viewing of the YouTube Platform by children
23   under the age of thirteen; and have sought to exploit, for commercial purposes and gain, the millions of
24   YouTube viewers under the age of thirteen. Defendants’ knowledge of the widespread use of the
25   Platform by children under the age of thirteen (which the Google Defendants have expressly touted in
26   their advertising sales efforts) and failure to disclose that they are tracking, profiling, and targeting such
27   children without parental consent, while at the same time representing that the You Tube Platform does
28   not permit and does not seek to reach children under the age of thirteen, are likely to and, in fact, did

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 1   deceive Plaintiffs and Nationwide UCL Class and California Subclass Members. Defendants’ conduct
 2   therefore constitutes deceptive business practices in violation of Cal. Bus. & Prof. Code §17200.
 3                           Plaintiffs’ minor children, C.H., E.J., N.J., A.J., L.J., J.A.E., J.E., M.W., and A.G.,
 4   as well as the Nationwide UCL Class and California Subclass Members, were harmed by Defendants’
 5   violations of Cal. Bus. & Prof. Bus. & Prof. Code §17200, and lost money or property by virtue of the
 6   loss of their Personal Information through invasion of their privacy and, as alleged herein, the
 7   deprivation and loss of the value of their Personal Information. Defendants’ actions and conduct
 8   complained of hereinCode §17200. Defendants’ practices were a substantial factor in causing the harm
 9   suffered byand caused injury in fact and actual damages to Plaintiffs and Class Members. As a direct
10   and proximate result of Defendants’ deceptive acts and practices, Plaintiffs and their minor children the
11   Nationwide UCL and Nationwide UCL Class and California Subclass Members have suffered and will
12   continue to suffer an ascertainable loss of money or property, real or personal, and monetary and non-
13   monetary damages, as described above, including the loss or diminishment in value of their Personal
14   Information and the loss of the ability to control the use of their Personal Information, which allowed
15   Defendants to profit at the expense of Plaintiffs’ and Nationwide UCL Class and California Subclass
16   Members. Plaintiffs’ and Class and California Subclass MembersSubclass Members’ Personal
17   Information has tangible value; it is now in the possession of Defendants, who have used and will use it
18   for their financial gain.
19                           Plaintiffs’ and the Nationwide UCL Class and California Subclass Members’
20   injury was the direct and proximate result of Defendants’ conduct described herein.
21                     The Google Defendants’ retention of Plaintiffs’ and Nationwide UCL Class and
22   California Subclass Members’ Personal Information present a continuing risk to them as well as the
23   general public.
24                           Plaintiffs, individually and on behalf of the Nationwide UCL Class and California
25   Subclass, seek: (1) an injunction requiring Google Defendants to permanently delete, destroy or
26   otherwise sequester the Personal Information collected without parental consent and appropriate
27   injunctive relief against Channel Owner Defendants; (2) compensatory restitution of Plaintiffs’ and the
28   Class and Subclass Members’ money and property lost as a result of Defendants’ acts of unfair

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 1   competition; (3) disgorgement of Defendants’ unjust gains; and (4) reasonable attorney’s fees (pursuant
 2   to Cal. Code of Civ. Proc. § 1021.5).
 3                                      THIRD CLAIM FOR RELIEF
 4                                       California Unjust Enrichment
 5         (Brought on Behalf of Plaintiff HubbardC.H. and the California Subclass Against All
 6                                                 Defendants)
 7                          Plaintiff HubbardC.H., incorporates the foregoing allegations as if fully set forth
 8   herein.
 9                          By virtue of the unlawful, unfair and deceptive conduct alleged herein,
10   Defendants knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of
11   the Personal Information of Plaintiff’s minor child, C.H.,Plaintiff and the members of the California
12   Subclass for advertising and commercialization purposes.
13                          This Personal Information, the value of the Personal Information, and/or the
14   attendant revenue, were monetary benefits conferred upon Defendants by C.H.Plaintiff and the members
15   of the California Subclass.
16                   Defendants are jointly liable because all Defendants acted in concert to harm Plaintiffs
17   and class members, and/or aided and abetted each other in the conduct herein described.
18                          As a result of Defendants’ conduct, C.H.Plaintiff and California Subclass
19   Members suffered actual damages in the loss of value of their Personal Information and the lost profits
20   from the use of their Personal Information.
21                          It would be inequitable and unjust to permit Defendants to retain the enormous
22   economic benefits (financial and otherwise) they have obtained from and/or at the expense of
23   C.H.Plaintiff and the members of the California Subclass.
24                          Defendants will be unjustly enriched if they are permitted to retain the economic
25   benefits conferred upon them by C.H.Plaintiff and the members of the California Subclass through the
26   Google Defendants obtaining the Personal Information and the value thereof, and both the Google
27   Defendants     and the Channel Owner Defendants profiting from the unlawful, unauthorized and
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 1   impermissible use of the Personal Information of C.H.Plaintiff and the members of the California
 2   Subclass.
 3                           Plaintiff and the members of the California Subclass are therefore entitled to
 4   recover the amounts realized by Defendants at the expense of Plaintiff and the members of the Subclass.
 5                           Plaintiff and the California Subclass have no adequate remedy at law.
 6                           Plaintiff and the members of the California Subclass are entitled to restitution,
 7   disgorgement, and/or the imposition of a constructive trust to the recover the amount of Defendants’ ill-
 8   gotten gains, and/or other sums as may be just and equitable.
 9                                       FOURTH CLAIM FOR RELIEF
10                                         Colorado Unjust Enrichment
11   (Brought on Behalf of Plaintiff JonesPlaintiffs E.J, N.J, A.J, and L.J. and the Colorado Subclass
12                                            Against All Defendants)
13                           Plaintiff Jones incorporatesPlaintiffs E.J, N.J, A.J, and L.J. incorporate the
14   foregoing allegations as if fully set forth herein.
15                           By virtue of the unlawful, unfair and deceptive conduct alleged herein,
16   Defendants knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of
17   the Personal Information of Plaintiff’s minor children, E.J, N.J, A.J, and L.J.,Plaintiffs and the members
18   of the Colorado Subclass for advertising and commercialization purposes.
19                           This Personal Information, the value of the Personal Information, and/or the
20   attendant revenue, were monetary benefits conferred upon Defendants by E.J, N.J, A.J, and L.J.
21   Plaintiffs and the members of the Colorado Subclass.
22                   Defendants are jointly liable because all Defendants acted in concert to harm Plaintiffs
23    and Colorado Subclass Members, and/or aided and abetted each other in the conduct herein described.
24                           As a result of Defendants’ conduct, E.J, N.J, A.J,Plaintiffs and L.J. andColorado
25   Subclass Members suffered actual damages in the loss of value of their Personal Information and the
26   lost profits from the use of their Personal Information.
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 1                         It would be inequitable and unjust to permit Defendants to retain the enormous
 2   economic benefits (financial and otherwise) they have obtained from and/or at the expense of E.J, N.J,
 3   A.J, and L.J.Plaintiffs and the members of the Colorado Subclass.
 4                         Defendants will be unjustly enriched if they are permitted to retain the economic
 5   benefits conferred upon them by E.J, N.J, A.J, and L.J.Plaintiffs and the members of the Colorado
 6   Subclass through the Google Defendants obtaining the Personal Information and the value thereof, and
 7   both the Google Defendants and the Channel Owner Defendants profiting from the unlawful,
 8   unauthorized and impermissible use of the Personal Information of E.J, N.J, A.J, and L.J.Plaintiffs and
 9   the members of the Colorado Subclass.
10                         PlaintiffPlaintiffs and the members of the Colorado Subclass are therefore
11   entitled to recover the amounts realized by Defendants at the expense of PlaintiffPlaintiffs and the
12   members of the Subclass.
13                         PlaintiffPlaintiffs and the Colorado Subclass have no adequate remedy at law.
14                         PlaintiffPlaintiffs and the members of the Colorado Subclass are entitled to
15   restitution, disgorgement, and/or the imposition of a constructive trust to the recover the amount of
16   Defendants’ ill-gotten gains, and/or other sums as may be just and equitable.
17                                      FIFTH CLAIM FOR RELIEF
18                                       Indiana Unjust Enrichment
19                                      FIFTH CLAIM FOR RELIEF
20                                       Indiana Unjust Enrichment
21   (Brought on Behalf of Plaintiff DishmanC.D. and the Indiana Subclass Against All Defendants)
22                         Plaintiff DishmanC.D. incorporates the foregoing allegations as if fully set forth
23   herein.
24                         By virtue of the unlawful, unfair and deceptive conduct alleged herein,
25   Defendants knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of
26   the Personal Information of Plaintiff’s minor child, C.D.,Plaintiff and the members of the Indiana
27   Subclass for advertising and commercialization purposes.
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 1                         This Personal Information, the value of the Personal Information, and/or the
 2   attendant revenue, were monetary benefits conferred upon Defendants by C.D.Plaintiff and the members
 3   of the Indiana Subclass.
 4                  Defendants are jointly liable because all Defendants acted in concert to harm Plaintiff
 5   and Indiana Subclass members, and/or aided and abetted each other in the conduct herein described.
 6                         As a result of Defendants’ conduct, C.D.Plaintiff and Indiana Subclass Members
 7   suffered actual damages in the loss of value of their Personal Information and the lost profits from the
 8   use of their Personal Information.
 9                         It would be inequitable and unjust to permit Defendants to retain the enormous
10   economic benefits (financial and otherwise) they have obtained from and/or at the expense of
11   C.D.Plaintiff and the members of the Indiana Subclass.
12                         Defendants will be unjustly enriched if they are permitted to retain the economic
13   benefits conferred upon them by C.D.Plaintiff and the members of the Indiana Subclass through the
14   Google Defendants obtaining the Personal Information and the value thereof, and both the Google
15   Defendants and the Channel Owner Defendants profiting from the unlawful, unauthorized and
16   impermissible use of the Personal Information of C.D.Plaintiff and the members of the Indiana Subclass.
17                         Plaintiff and the members of the Indiana Subclass are therefore entitled to recover
18   the amounts realized by Defendants at the expense of Plaintiff and the members of the Subclass.
19                         Plaintiff and the Indiana Subclass have no adequate remedy at law.
20                         Plaintiff and the members of the Indiana Subclass are entitled to restitution,
21   disgorgement, and/or the imposition of a constructive trust to the recover the amount of Defendants’ ill-
22   gotten gains, and/or other sums as may be just and equitable.
23                                        SIXTH CLAIM FOR RELIEF
24                              New JerseyMassachusetts Unjust Enrichment
25     (Brought on Behalf of Plaintiff A.G. and the Massachusetts Subclass Against All Defendants)
26                  Plaintiff A.G. incorporates the foregoing allegations as if fully set forth herein.
27                  By virtue of the unlawful, unfair and deceptive conduct alleged herein, Defendants
28   knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of the Personal

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 1   Information of Plaintiff and the members of the Massachusetts Subclass for advertising and
 2   commercialization purposes.
 3                  This Personal Information, the value of the Personal Information, and/or the attendant
 4   revenue, were monetary benefits conferred upon Defendants by Plaintiff and the members of the
 5   Massachusetts Subclass.
 6                  Defendants are jointly liable because all Defendants acted in concert to harm Plaintiff
 7   and Massachusetts Subclass Members, and/or aided and abetted each other in the conduct herein
 8   described.
 9                  As a result of Defendants’ conduct, Plaintiff and Massachusetts Subclass Members
10   suffered actual damages in the loss of value of their Personal Information and the lost profits from the
11   use of their Personal Information.
12                  It would be inequitable and unjust to permit Defendants to retain the enormous economic
13   benefits (financial and otherwise) they have obtained from and/or at the expense of Plaintiff and the
14   members of the Massachusetts Subclass.
15                  Defendants will be unjustly enriched if they are permitted to retain the economic benefits
16   conferred upon them by Plaintiff and the members of the Massachusetts Subclass through the Google
17   Defendants obtaining the Personal Information and the value thereof, and the Google Defendants and
18   the Channel Owner Defendants profiting from the unlawful, unauthorized and impermissible use of the
19   Personal Information of Plaintiff and the members of the Massachusetts Subclass.
20                  Plaintiff and the members of the Massachusetts Subclass are therefore entitled to recover
21   the amounts realized by Defendants at the expense of Plaintiff and the members of the Subclass.
22                  Plaintiff and the Massachusetts Subclass have no adequate remedy at law.
23                  Plaintiff and the members of the Massachusetts Subclass are entitled to restitution,
24   disgorgement, and/or the imposition of a constructive trust to the recover the amount of Defendants’ ill-
25   gotten gains, and/or other sums as may be just and equitable.
26                                    SEVENTH CLAIM FOR RELIEF
27                                   EfrosNew Jersey Unjust Enrichment
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 1      (Brought on Behalf of Plaintiffs J.A.E. and J.R.E. and the New Jersey Subclass Against All
 2                                                 Defendants)
 3                           Plaintiff Efros incorporatesPlaintiffs J.A.E. and J.R.E. incorporate the foregoing
 4   allegations as if fully set forth herein.
 5                           By virtue of the unlawful, unfair and deceptive conduct alleged herein,
 6   Defendants knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of
 7   the Personal Information of Plaintiff’s minor children, J.A.E. and J.R.E.,Plaintiffs, and the members of
 8   the New Jersey Subclass for advertising and commercialization purposes.
 9                           This Personal Information, the value of the Personal Information, and/or the
10   attendant revenue, were monetary benefits conferred upon Defendants by J.A.E. and J.R.E.Plaintiffs and
11   the members of the New Jersey Subclass.
12                   Defendants are jointly liable because all Defendants acted in concert to harm Plaintiffs
13   and class members, and/or aided and abetted each other in the conduct herein described.
14                           As a result of Defendants’ conduct, J.A.E. and J.R.E.Plaintiffs and Subclass
15   Members suffered actual damages in the loss of value of their Personal Information and the lost profits
16   from the use of their Personal Information.
17                           It would be inequitable and unjust to permit Defendants to retain the enormous
18   economic benefits (financial and otherwise) they have obtained from and/or at the expense of J.A.E. and
19   J.R.E.Plaintiffs and the members of the New Jersey Subclass.
20                           Defendants will be unjustly enriched if they are permitted to retain the economic
21   benefits conferred upon them by J.A.E. and J.R.E.Plaintiffs and the members of the New Jersey Subclass
22   through the Google Defendants obtaining the Personal Information and the value thereof, and the Google
23   Defendants and the Channel Owner Defendants profiting from the unlawful, unauthorized and
24   impermissible use of the Personal Information of J.A.E. and J.R.E.Plaintiffs and the members of the
25   New Jersey Subclass.
26                           PlaintiffPlaintiffs and the members of the New Jersey Subclass are therefore
27   entitled to recover the amounts realized by Defendants at the expense of Plaintiff and the members of
28   the Subclass.

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 1                          PlaintiffPlaintiffs and the New Jersey Subclass have no adequate remedy at law.
 2                          PlaintiffPlaintiffs and the members of the New Jersey Subclass are entitled to
 3   restitution, disgorgement, and/or the imposition of a constructive trust to the recover the amount of
 4   Defendants’ ill-gotten gains, and/or other sums as may be just and equitable.
 5                                      EIGHTH CLAIM FOR RELIEF
 6                                       Tennessee Unjust Enrichment
 7                                     SEVENTH CLAIM FOR RELIEF
 8                                     Massachusetts Unjust Enrichment
 9       (Brought on Behalf of Plaintiff GoodwinM.W. and the MassachusettsTennessee Subclass
10                                           Against All Defendants)
11                          Plaintiff GoodwinM.W. incorporates the foregoing allegations as if fully set forth
12   herein.
13                   By virtue of the unlawful, unfair and deceptive conduct alleged herein, Defendants
14   knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of the Personal
15   Information of Plaintiff’s minor child, A.G., and the members of the Massachusetts Subclass for
16   advertising and commercialization purposes.
17                   This Personal Information, the value of the Personal Information, and the attendant
18   revenue, were monetary benefits conferred upon Defendants by A.G. and the members of the
19   Massachusetts Subclass.
20                   As a result of Defendants’ conduct, A.G. and Subclass Members suffered actual damages
21   in the loss of value of their Personal Information and the lost profits from the use of their Personal
22   Information.
23                   It would be inequitable and unjust to permit Defendants to retain the enormous economic
24   benefits (financial and otherwise) they have obtained from and/or at the expense of A.G. and the
25   members of the Massachusetts Subclass.
26                   Defendants will be unjustly enriched if they are permitted to retain the economic benefits
27   conferred upon them by A.G. and the members of the Massachusetts Subclass through Defendants
28   obtaining the Personal Information and the value thereof, and profiting from the unlawful, unauthorized

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 1   and impermissible use of the Personal Information of A.G. and the members of the Massachusetts
 2   Subclass.
 3                  Plaintiff and the members of the Massachusetts Subclass are therefore entitled to recover
 4   the amounts realized by Defendants at the expense of Plaintiff and the members of the Subclass.
 5                  Plaintiff and the Massachusetts Subclass have no adequate remedy at law.
 6                  Plaintiff and the members of the Massachusetts Subclass are entitled to restitution,
 7   disgorgement, and/or the imposition of a constructive trust to the recover the amount of Defendants’ ill-
 8   gotten gains, and/or other sums as may be just and equitable.
 9                                     EIGHTH CLAIM FOR RELIEF
10                                       Tennessee Unjust Enrichment
11     (Brought on Behalf of Plaintiff Gilmore and the Tennessee Subclass Against All Defendants)
12                  Plaintiff Gilmore incorporates the foregoing allegations as if fully set forth herein.
13                         By virtue of the unlawful, unfair and deceptive conduct alleged herein,
14   Defendants knowingly realized hundreds of millions of dollars in revenue from the sale and/or use of
15   the Personal Information of Plaintiff’s minor child, M.W.,Plaintiff and the members of the Tennessee
16   Subclass for advertising and commercialization purposes.
17                         This Personal Information, the value of the Personal Information, and/or the
18   attendant revenue, were monetary benefits conferred upon Defendants by M.W.Plaintiff and the
19   members of the Tennessee Subclass.
20                  Defendants are jointly liable because all Defendants acted in concert to harm Plaintiff
21   and Tennessee Subclass members, and/or aided and abetted each other in the conduct herein described.
22                         As a result of Defendants’ conduct, M.W.Plaintiff and Tennessee Subclass
23   Members suffered actual damages in the loss of value of their Personal Information and the lost profits
24   from the use of their Personal Information.
25                         It would be inequitable and unjust to permit Defendants to retain the enormous
26   economic benefits (financial and otherwise) they have obtained from and/or at the expense of
27   M.W.Plaintiff and the members of the Tennessee Subclass.
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 1                          Defendants will be unjustly enriched if they are permitted to retain the economic
 2   benefits conferred upon them by M.W.Plaintiff and the members of the Tennessee Subclass through the
 3   Google Defendants obtaining the Personal Information and the value thereof, and the Google Defendants
 4   and the Channel Owner Defendants profiting from the unlawful, unauthorized and impermissible use of
 5   the Personal Information of M.W.Plaintiff and the members of the Tennessee Subclass.
 6                          Plaintiff and the members of the Tennessee Subclass are therefore entitled to
 7   recover the amounts realized by Defendants at the expense of Plaintiff and the members of the Subclass.
 8                          Plaintiff and the Tennessee Subclass have no adequate remedy at law.
 9                          Plaintiff and the members of the Tennessee Subclass are entitled to restitution,
10   disgorgement, and/or the imposition of a constructive trust to the recover the amount of Defendants’ ill-
11   gotten gains, and/or other sums as may be just and equitable.
12                                       NINTH CLAIM FOR RELIEF
13                    California Constitutional Right to Privacy, Cal. Const. Art. 1, § 1.
14         (Brought on Behalf of Plaintiff HubbardC.H. and the California Subclass Against All
15                                                  Defendants)
16                          Plaintiff HubbardC.H. incorporates the foregoing allegations as if fully set forth
17   herein.
18                          Plaintiff Hubbard’s minor child, C.H., and the California Subclass Members have
19   reasonable expectations of privacy in their mobile devices and their online behavior, generally.
20   C.H.’sPlaintiff’s and the California Subclass Members’ private affairs include their behavior on their
21   mobile devices and computers, as well as any other behavior that may be monitored by the surreptitious
22   tracking employed or otherwise enabled by Defendants.
23                   The parents and guardians of Plaintiff, as well as the parents or guardians of California
24   Subclass Members, have reasonable expectations of privacy in their children’s mobile devices and their
25   online behavior and activities, generally. This expectation stemmed from the Google Defendants’
26   representations, throughout the Class Period, that they would “do no evil,” that “[w]hen people use our
27   products, they trust us with their information, and it’s our job to do right by them” by “being transparent”
28   about “what data we collect, how it’s used, and why” (among other misrepresentations), and follow the

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 1   law. The expectations of Plaintiffs’ parents and guardians included that the Google Defendants would
 2   not track their children’s activity across much of the Internet, without their consent, in order for both the
 3   Google Defendants and the Channel Owner Defendants to reap huge profits from behavioral targeted
 4   advertisements.
 5                     As minor children, Plaintiff and California Subclass Members lack the ability to form
 6   expectations about reasonable privacy or to consent to Defendants’ actions. Plaintiff and California
 7   Subclass Members rely on their parents for such determinations.
 8                            The Google Defendants intentionally intruded on and into C.H.’sPlaintiff’s and
 9   the California Subclass Members’ solitude, seclusion, or private affairs by intentionally and
10   surreptitiously    obtaining,   improperly    gaining   knowledge     of,   reviewing,    and/or   retaining
11   C.H.’sPlaintiff’s and the California Subclass Members’ activities through the monitoring and tracking
12   activities described herein.
13                     The Channel Owner Defendants are jointly liable along with the Google Defendants
14   because all Defendants acted in concert to harm Plaintiff and California Subclass members, and/or the
15   Channel Owner Defendants directed, permitted, assisted, and/or encouraged the Google Defendants in
16   the conduct here described.
17                     Furthermore, the Channel Owner Defendants aided and abetted the Google Defendants.
18   They had actual knowledge that the Google Defendants’ conduct breached duties owed by law and
19   societal conduct, and they gave substantial assistance or encouragement to the Google Defendants in this
20   conduct. The Channel Owner’s conduct also constitutes a breach of duty to Plaintiff and California
21   Subclass Members when separately considered.
22                            These intrusions are highly offensive to a reasonable person. This is evidenced
23   by, inter alia, countless consumer surveys, studies, and op-eds decrying the online tracking of children,
24   centuries of common law, state and federal statutes and regulations, legislative commentaries,
25   enforcement actions undertaken by the FTC, industry standards and guidelines, and scholarly literature
26   on consumers’ reasonable expectations.
27                     These societal expectations and laws created a duty that Defendants owed to Plaintiff and
28   California Subclass Members. The Google Defendants breached that duty by tracking and monitoring

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 1   children, and both the Google Defendants and the Channel Owner Defendants breached that duty by
 2   profiting from behavioral advertising.
 3                           Defendants’ intrusion into the sacrosanct relationship between parent and child
 4   and subsequent commercial exploitation of children’s special vulnerabilities online also contributes to
 5   the highly offensive nature of Defendants’ activities.
 6                           Defendants’ conduct as aforesaid violated C.H.’sPlaintiff’s and the California
 7   Subclass Members’ right to privacy, as guaranteed by ART. 1, § 1 of the California Constitution.
 8                           C.H.Plaintiff and the California Subclass Members were harmed by the intrusion
 9   into their private affairs as detailed throughout this Complaint. Defendants’ actions and conduct
10   complained of herein were a substantial factor in causing the harm suffered by C.H.Plaintiff and the
11   California Subclass Members.
12                   Plaintiff, on their own behalf and on behalf of C.H. and the California Subclass Members,
13   therefore seeks (1) injunctive relief requiring the Google Defendants to permanently delete, destroy
14   and/or sequester all personal data obtained in violation of state law and appropriate injunctive relief
15   against the Channel Owner Defendants; and (2) compensatory and punitive damages in an amount to be
16   determined at trial. Plaintiff and the California Subclass Members seek punitive damages because
17   Defendants’ actions—which were malicious, oppressive, and willful—were calculated to injure C.H.
18   and the California Subclass Members them and were made in conscious disregard of their rights.
19   Punitive damages are warranted to deter Defendants from engaging in future misconduct.
20                                       TENTH CLAIM FOR RELIEF
21                  Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et. seq.
22    (Brought on Behalf of Plaintiffs E.J, N.J, A.J, and L.J. and the Colorado Subclass Against All
23                                                   Defendants)
24                   Plaintiffs E.J, N.J, A.J, and L.J. incorporate the foregoing allegations as if fully set forth
25   herein.
26                   Defendants are “persons” as defined by C.R.S. § 6-1-102(6);
27                   Plaintiffs and Colorado Subclass Members are actual or potential consumers of the
28   YouTube Platform and the Channel Owner Defendants’ channels hosted on this platform. They are also

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 1   actual or potential consumers of the advertisements for goods and services shown on the Channel Owner
 2   Defendants’ channels by the Google Defendants.
 3                  Defendants’ conduct was deceptive, unfair, and unlawful in numerous respects. The
 4   Google Defendants have intentionally and deceptively misled parents and the public about Defendants’
 5   intention to use the YouTube Platform and the monetized channels thereon to attract and provide video
 6   viewing to children in order to gain access to the Personal Information of such children and to exploit
 7   such children’s Personal Information for the Google Defendants’ and the Channel Owner Defendants’
 8   financial gain. During the Class Period, the Google Defendants have asserted that they “do no evil” and
 9   are being “transparent” about “what data we collect, how it’s used, and why” (among other
10   misrepresentations), that they comply with all applicable laws, and that children are not permitted to
11   access the YouTube Platform. The parents and guardians of Plaintiffs and Subclass members also
12   reasonably expected that all Defendants, including the Channel Owners, respect children’s privacy
13   online, in accordance with societal expectations and public policy as well as state and federal statutes
14   and regulations including COPPA and Federal Trade Commission regulations. At the same time, the
15   Google Defendants and the Channel Owner Defendants have, at all times throughout the Class Period,
16   been well aware that children access YouTube’s channels; have actively sought to increase viewing of
17   the YouTube Platform by children; and have sought to exploit, for commercial purposes and gain, the
18   millions of child YouTube viewers. Defendants’ knowledge of the widespread use of the Platform by
19   children (which the Google Defendants have expressly touted in their advertising sales efforts) and
20   failure to disclose that they are tracking, profiling, and targeting such children and/or profiting from this
21   behavior, while at the same time representing that the YouTube Platform complies with law and societal
22   expectation, and does not permit and does not seek to reach children, are likely to and, in fact, did
23   deceive Plaintiffs and Colorado Subclass Members and their parents or guardians.
24                  The Channel Owner Defendants’ conduct separately violates the Colorado Consumer
25   Protection Act. All Defendants acted in concert to harm Plaintiffs and class members, and/or the Channel
26   Owner Defendants substantially participated in, directed, permitted, assisted, and/or encouraged the
27   Google Defendants in the conduct here described.
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 1                  Moreover, the Channel Owner Defendants aided and abetted the Google Defendants. They
 2   had actual knowledge that the Google Defendants’ conduct breached duties owed by law and public
 3   policy, and they gave substantial assistance or encouragement to the Google Defendants in this conduct.
 4   The Channel Owner Defendants personally participated in these unlawful and unfair practices by creating
 5   and posting child-directed content and allowing more profitable behavioral advertising on their YouTube
 6   channels. They also had unbridled control over these practices, in that they could have chosen not to post
 7   child-directed content or not to allow behavioral advertising.
 8                  Defendants engaged in deceptive, unfair, and unlawful trade acts or practices in the
 9   course of their business, vocation, or occupation, in violation of C.R.S. § 6-1-105, including but not
10   limited to violations of C.R.S. §6-1-105(e); §6-1-105(g); §6-1-105(i); §6-1-105(l); §6-1-105(n); §6-1-
11   105(u); and §6-1-105(3), and in contravention of social norms.
12                  The above unlawful, unfair, and deceptive acts and practices by Defendants were immoral,
13   unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers that the
14   consumers could not reasonably avoid; this substantial injury outweighed any benefits to consumers or
15   to competition.
16                  C.H.’s and the CaliforniaDefendants’ acts and practices were unfair because they caused
17   or were likely to cause substantial injury to Plaintiffs and Colorado Subclass Members that was not
18   reasonably avoidable by them and not outweighed by countervailing benefits to consumers or to
19   competition.
20                  The injury to Plaintiffs and Colorado Subclass Members was and is substantial because it
21   was non-trivial and non-speculative; and involved a monetary injury and an unwarranted risk to the safety
22   of their Personal Information. The injury to consumers was substantial not only because it inflicted harm
23   on a significant and unprecedented number of minors, but also because it inflicted a significant amount
24   of harm on each minor.
25                  Plaintiffs and Colorado Subclass Members could not have reasonably avoided injury
26   because Defendants’ business acts and practices unreasonably created or took advantage of an obstacle
27   to the free exercise of their decision-making. By misleading Plaintiffs’ parents and/or guardians about
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 1   the important information that they were collecting and profiting from minors’ Personal Information,
 2   Defendants created an asymmetry of information.
 3                  Defendants intended to mislead Plaintiffs, Colorado Subclass Members, and their parents
 4   and guardians and induce them to rely on their misrepresentations and omissions. Defendants knew that
 5   they were collecting and profiting from minors’ Personal Information and that the risk of collecting of
 6   minors’ Personal Information was highly likely. Defendants’ actions in engaging in the above-named
 7   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with respect
 8   to the rights of Plaintiffs and members of the Colorado Subclass.
 9                  Defendants’ representations and omissions were material because they were likely to
10   deceive reasonable consumers such as the parents or guardians of Plaintiffs and Subclass members about
11   the terms under which their children were watching the YouTube Platform as well as the fact that
12   Defendants were collecting and profiting from minors’ Personal Information without their parents and
13   guardians’ knowledge or consent.
14                  Defendants had a duty to disclose the above-described facts due to the important public
15   interest in securing the privacy of minors’ Personal Information and the fact that minors are unable to
16   fully protect their own interests. Plaintiffs and Colorado Subclass Members placed trust in Defendants as
17   major and reputable companies who represent that they are in compliance with applicable laws and
18   societal interests in safeguarding minors’ Personal Information. Additionally, Defendants had sole ability
19   to understand the extent of the Google Defendants’ collection of Personal Information and the parents or
20   guardians of Plaintiffs and Colorado Subclass Members could not reasonably have discovered—and were
21   unaware of—Defendants’ secret tracking, profiling, and targeting.
22                  Defendants invaded Plaintiffs’ and Subclass Members’ privacy without their or their
23   parents and guardians’ consent. Because Defendants’ held themselves out as complying with law and
24   public policy regarding minors’ privacy rights, Plaintiff and Colorado Subclass Members acted
25   reasonably in relying on Defendants’ misrepresentations and omissions.
26                  As detailed infra, Defendants’ deceptive trade practices significantly impacted the
27   public, because there are millions of minor viewers of their YouTube channels, including Plaintiffs and
28   Colorado Subclass Members.

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 1                   Defendants’ deceptive trade practices caused injury in fact and actual damages to
 2   Plaintiffs and Colorado Subclass Members. As a direct and proximate result of Defendants’ deceptive
 3   acts and practices, Plaintiffs and Colorado Subclass Members have suffered and will continue to suffer
 4   an ascertainable loss of money or property, real or personal, and monetary and non-monetary damages,
 5   as described above, including the loss or diminishment in value of their Personal Information and the
 6   loss of the ability to control the use of their Personal Information, which allowed Defendants to profit
 7   at the expense of Plaintiffs and Colorado Subclass members. Plaintiffs’ and Subclass Members’ Personal
 8   Information has tangible value; it is now in the possession of Defendants, who have used and will use it
 9   for their financial gain.
10                   The injuries of Plaintiffs and Colorado Subclass Members were to legally protected
11   interests. The gravity of the harm of Defendants’ secret tracking, profiling, and targeting of children is
12   significant and there is no corresponding benefit to consumers of such conduct.
13                   Plaintiffs and Colorado Class Members seek relief under Colo. Rev. Stat. § 6-1-101, et.
14   seq., including, not limited to, compensatory damages, statutory damages, restitution, penalties,
15   appropriate injunctive relief, and/or attorneys’ fees and costs.
16                                     ELEVENTH CLAIM FOR RELIEF
17                  Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-0.5-1, et seq.
18         (Brought on Behalf of Plaintiff C.D. and the Indiana Subclass Against All Defendants)
19                   Plaintiff C.D. incorporates the foregoing allegations as if fully set forth herein.
20                   Defendants are “persons” as defined by Ind. Code § 24-5-0.5-2(a)(2).
21                   Defendants are “suppliers” as defined by Ind. Code § 24-5-0.5-2(a)(1) because they
22   regularly engage in or solicit “consumer transactions” within the meaning of § 24-5-0.5-2(a)(3)(A).
23                   Defendants’ conduct was deceptive, unfair, and unlawful in numerous respects. The
24   Google Defendants have intentionally and deceptively misled parents and the public about Defendants’
25   intention to use the YouTube Platform and the monetized channels thereon to attract and provide video
26   viewing to children in order to gain access to the Personal Information of such children and to exploit
27   such children’s Personal Information for the Google Defendants’ and the Channel Owner Defendants’
28   financial gain. During the Class Period, the Google Defendants have asserted that they “do no evil” and

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 1   are being “transparent” about “what data we collect, how it’s used, and why” (among other
 2   misrepresentations), that they comply with all applicable laws, and that children are not permitted to
 3   access the YouTube Platform. The parents and guardians of Plaintiff and Subclass members also
 4   reasonably expected that all Defendants, including the Channel Owners, respect children’s privacy
 5   online, in accordance with societal expectations and public policy as well as state and federal statutes
 6   and regulations including COPPA and Federal Trade Commission regulations. At the same time, the
 7   Google Defendants and the Channel Owner Defendants have, at all times throughout the Class Period,
 8   been well aware that children access YouTube’s channels; have actively sought to increase viewing of
 9   the YouTube Platform by children; and have sought to exploit, for commercial purposes and gain, the
10   millions of child viewers of YouTube. Defendants’ knowledge of the widespread use of the Platform
11   by children (which the Google Defendants have expressly touted in their advertising sales efforts) and
12   failure to disclose that they are tracking, profiling, and targeting such children without parental consent
13   and/or profiting from this behavior, while at the same time representing that the YouTube Platform
14   complies with law and societal expectation, and does not permit and does not seek to reach children, are
15   likely to and, in fact, did deceive Plaintiffs and Indiana Subclass Members and their parents or guardians.
16                  The Channel Owner Defendants’ conduct separately violates the Indiana Consumer Sales
17   Act. As alleged herein, all Defendants acted in concert to harm Plaintiffs and Indiana Subclass members,
18   and/or the Channel Owner Defendants substantially participated in, directed, permitted, assisted, and/or
19   encouraged the Google Defendants in the conduct here described.
20                  Moreover, the Channel Owner Defendants aided and abetted the Google Defendants. They
21   had actual knowledge that the Google Defendants’ conduct breached duties owed by law and public
22   policy, and they gave substantial assistance or encouragement to the Google Defendants in this conduct.
23   The Channel Owner Defendants personally participated in these unlawful and unfair practices by
24   creating and posting child-directed content and allowing more profitable behavioral advertising on their
25   YouTube channels. They also had unbridled control over these practices, in that they could have chosen
26   not to post child-directed content or not to allow behavioral advertising.
27                  Defendants’ misrepresentations and omissions include both implicit and explicit
28   representations.

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 1                  Defendants’ actions constituted unfair, abusive, and deceptive acts, omissions, and
 2   practices in connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).
 3                  Defendants’ acts and practices were “unfair” because they caused or were likely to cause
 4   substantial injury to Plaintiff and Indiana Subclass Members which was not reasonably avoidable by
 5   them and not outweighed by countervailing benefits to consumers or to competition.
 6                  Defendants engaged in “deceptive” acts and practices in violation of Indiana Code § 24-
 7   5-0.5-3(a) and § 24-5-0.5-3(b), including:
 8                   a. Misrepresenting that the subject of a consumer transaction has sponsorship,
 9                      approval, performance, characteristics, accessories, uses, or benefits it does not
10                      have; and
11                   b. Misrepresenting that the subject of a consumer transaction is of a particular standard,
12                      quality, grade, style, or model.
13                  Defendants’ acts and practices were also “abusive” for numerous reasons, including:
14                   a. Defendants materially interfered with the ability of the parents or guardians of
15                      Plaintiff and Indiana Subclass Members’ ability to understand the terms and
16                      conditions of their minors’ viewing of YouTube channels. Defendants’ failure to
17                      disclose their collecting and profiting from minors’ Personal Information interfered
18                      with Plaintiff and Indiana Subclass Members’ decision-making.
19                   b. Defendants unreasonably took advantage of Plaintiff and Indiana Subclass
20                      Members’ lack of understanding about the material risks, costs, or conditions of a
21                      consumer transaction.
22                   c. Defendants took unreasonable advantage of child consumers’ inability to protect
23                      their own interests.
24                   d. Defendants took unreasonable advantage of parents’ and guardians’ reasonable
25                      reliance that Defendants were acting in accordance with law, public policy, and
26                      public policy to not profit from minor’s Personal Information.
27                  Defendants intended to mislead Plaintiff and Indiana Subclass Members and their parents
28   and guardians and induce them to rely on their misrepresentations and omissions. Plaintiff and Indiana

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 1   Subclass Members could not have reasonably avoided injury because Defendants’ business acts and
 2   practices unreasonably created or took advantage of an obstacle to the free exercise of their decision-
 3   making. By withholding the important information that they were collecting and profiting from minors’
 4   Personal Information, Defendants created an asymmetry of information.
 5                  Defendants’ representations and omissions were material because they were likely to
 6   deceive reasonable consumers such as the parents or guardians of Plaintiff and Indiana Subclass Members
 7   about the terms under which their children were watching the YouTube Platform as well as the fact that
 8   Defendants were collecting and profiting from minors’ Personal Information without their parents and
 9   guardians’ knowledge or consent.
10                  Defendants had a duty to disclose the above-described facts due to the important public
11   interest in securing the privacy of minors’ Personal Information and the fact that minors are unable to
12   fully protect their own interests. Plaintiff and Indiana Subclass Members placed trust in Defendants as
13   major and reputable companies who represent that they are in compliance with applicable laws and
14   societal interests in safeguarding minors’ Personal Information. Additionally, Defendants had sole
15   ability to understand the extent of the Google Defendants’ collection of Personal Information, and the
16   parents or guardians of Plaintiff and Indiana Subclass Members could not reasonably have discovered—
17   and were unaware of—Defendants’ secret tracking, profiling, and targeting.
18                  Defendants invaded Plaintiff’s and Subclass Members’ privacy without their or their
19   parents and guardians’ consent. Because Defendants held themselves out as complying with law and
20   public policy regarding minors’ privacy rights, the parents or guardians Plaintiff and Indiana Subclass
21   Members acted reasonably in relying on Defendants’ misrepresentations and omissions.
22                  Defendants acted intentionally, knowingly, and maliciously to violate Indiana’s
23   Deceptive Consumer Sales Act, and recklessly disregarded Plaintiff’s and Indiana Subclass Members’
24   rights. Defendants’ actions were not a result of mistake of fact or law, honest human error or judgment,
25   overzealousness, mere negligence, or other human failing.
26                  Defendants’ conduct includes incurable deceptive acts under Ind. Code § 24-5-0.5-
27   2(a)(8) that Defendants engaged in as part of a scheme, artifice, or device with intent to defraud or
28   mislead.

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 1                   Defendants’ deceptive trade practices caused injury in fact and actual damages to
 2   Plaintiff and Indiana Subclass Members. As a direct and proximate result of Defendants’ deceptive acts
 3   and practices, Plaintiffs and Indiana Subclass Members have suffered and will continue to suffer an
 4   ascertainable loss of money or property, real or personal, and monetary and non-monetary damages, as
 5   described above, including the loss or diminishment in value of their Personal Information and the loss
 6   of the ability to control the use of their Personal Information, which allowed Defendants to profit at the
 7   expense of Plaintiff and Indiana Subclass members. Plaintiff’s and Subclass Members’ Personal
 8   Information has tangible value; it is now in the possession of Defendants, who have used and will use it
 9   for their financial gain
10                   The Google Defendants’ retention of Plaintiff’s and Indiana Subclass Members’ Personal
11   Information present a continuing risk to them as well as the general public.
12                   Plaintiff and Indiana Subclass Members seek all monetary and nonmonetary relief
13   allowed by law, including the greater of actual damages or $500 for each non-willful violation; the
14   greater of treble damages or $1,000 for each willful violation; restitution; reasonable attorneys’ fees and
15   costs; injunctive relief; and punitive damages.
16                                        TWELFTH CLAIM FOR RELIEF
17                   rights. Punitive damages are warranted to deter Defendants from engaging in future
18   misconduct.
19                                          TENTH CLAIM FOR RELIEF
20         Massachusetts Consumer Protection Act, Mass. Gen. Laws Ann. CH 93A, § 1, et. seq.
21       (Brought on Behalf of Plaintiff GoodwinA.G. and the Massachusetts Subclass Against All
22                                                    Defendants)
23                              Plaintiff GoodwinA.G. incorporates the foregoing allegations as if fully set forth
24   herein.
25                              Defendants and Massachusetts Subclass Members are “persons” as meant by
26   Mass. Gen. Laws. Ann. Ch. 93A, § 1(a).
27                              Defendants operate in “trade or commerce” as meant by Mass. Gen. Laws Ann.
28   ch. 93A, § 1.

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 1                          Defendants advertised, offered, or sold goods or services in Massachusetts and/or
 2   engaged in trade or commerce directly or indirectly affecting the people of Massachusetts, as defined by
 3   Mass. Gen. Laws Ann. Ch. 93A, § 1(b).
 4                          Defendants’ conduct was deceptive, unfair, and unlawful in numerous respects.
 5   The Google Defendants have intentionally and deceptively misled parents and the public about
 6   Defendants’ intention to use the YouTube Platform and the monetized channels thereon to attract and
 7   provide video viewing to minors under the age of thirteenchildren in order to gain access to the Personal
 8   Information of such minorschildren and to exploit such minors’children’s Personal Information for the
 9   Google Defendants’ and the Channel Owner Defendants’ financial gain. TheDuring the Class Period,
10   the Google Defendants have falsely asserted that such they “do no evil” and are being “transparent”
11   about “what data we collect, how it’s used, and why” (among other misrepresentations), that they
12   comply with all applicable laws, and that children are not permitted to access the Platform while,
13   atYouTube Platform. The parents and guardians of Plaintiff and Subclass members also reasonably
14   expected that all Defendants, including the Channel Owners, respect children’s privacy online, in
15   accordance with societal expectations and public policy as well as state and federal statutes and
16   regulations including COPPA and Federal Trade Commission regulations. At the same time, the Google
17   Defendants and the Channel Owner Defendants have, at all times throughout the Class Period, been well
18   aware that minors under the age of thirteenchildren access YouTube’s channels; have actively sought to
19   increase viewing of the YouTube Platform by children under the age of thirteen; and have sought to
20   exploit, for commercial purposes and gain, the millions of YouTubechild viewers under the age of
21   thirteen. of YouTube. Defendants’ knowledge of the widespread use of the Platform by children under
22   the age of thirteen (which the Google Defendants have expressly touted in their advertising sales efforts)
23   and failure to disclose that they are tracking, profiling, and targeting such children without parental
24   consent and/or profiting from this behavior, while at the same time representing that the You
25   TubeYouTube Platform complies with law and societal expectation, and does not permit and does not
26   seek to reach children under the age of thirteen, are likely to and, in fact, did deceive Plaintiff Goodwin
27   and Massachusetts Subclass members.Members and their parents or guardians.
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 1                  The Channel Owner Defendants’ conduct separately violates the Massachusetts Consumer
 2   Protection Act. Throughout the Class Period, all Defendants acted in concert to harm Plaintiff and
 3   Massachusetts Subclass members, and the Channel Owner Defendants substantially participated in,
 4   directed, permitted, assisted, and/or encouraged the Google Defendants in the conduct herein described.
 5                  Moreover, during the Class Period, the Channel Owner Defendants aided and abetted the
 6   Google Defendants. They had actual knowledge that the Google Defendants’ conduct breached duties
 7   owed by law and public policy, and they gave substantial assistance or encouragement to the Google
 8   Defendants in this conduct. The Channel Owner Defendants personally participated in these unlawful
 9   and unfair practices by creating and posting child-directed content and allowing more profitable
10   behavioral advertising on their YouTube Channels. They also had unbridled control over these practices,
11   in that they could have chosen not to post child-directed content or not to allow behavioral advertising.
12                  By these actions, Defendants engaged in unfair methods of competition and unfair and
13   deceptive acts and practices in the conduct of trade or commerce, in violation of Mass. Gen. Laws Ann.
14   ch. 93A, § 2(a), including but not limited to the following:
15                  a.      Defendants knowingly omitted, suppressed, and concealed the material fact that
16                          they were collecting, profiting from, and/or monetizing through advertisement the
17                          Personal Information of Massachusetts Subclass Members, with the intent that
18                          others rely on the omission, suppression, and concealment;
19                  b.      Defendants engaged in unfair and deceptive acts and practices by collecting,
20                          profiting from, and/or monetizing through advertisement minors’ personal
21                          information, in violation of duties imposed by and public policies reflected in
22                          applicable federal and state laws, including COPPA and Federal Trade
23                          Commission Regulations;
24                          Defendants engaged in unfair and deceptive acts and practices with respect to the
25   sale of YouTube video services by failing to take proper action following the collection of minors’
26   Personal Information to protect this information from further use to direct behavior-based advertising to
27   minors.)..
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 1                          Defendants’ acts and practices were unfair because they fall within the penumbra
 2   of common law, statutory, and established concepts of unfairness, given that Defendants solely held the
 3   true facts about their collection and/or monetization of minor children’s Personal Information, which
 4   neither Plaintiff Goodwin and the Massachusetts Subclass Members nor their parents or guardians could
 5   not independently discover.
 6                          Consumers Plaintiff and Massachusetts Subclass Members could not have
 7   reasonably avoided injury because Defendants’ acts and practices unreasonably created or took advantage
 8   of an obstacle to the free exercise of consumer decision-making. By withholding By misleading
 9   Plaintiff’s and Massachusetts’ Subclass Members’ parents and/or guardians about the important
10   information about that they were collecting and/or profiting from minors’ Personal Information,
11   Defendants created an asymmetry of information between it and consumers that precluded consumers
12   from taking action to avoid or mitigate injury..
13                          Defendants’ actions had no counterveilingcountervailing benefit to consumers or
14   to competition.
15                          Defendants intended to mislead Plaintiff and Massachusetts Subclass Members
16   and their parents and guardians and induce them to rely on its misrepresentations and omissions.
17   Defendants’ representations and omissions were material because they were likely to deceive Plaintiff
18   and Massachusetts Subclass members about the collection and/or monetization of minor
19   children’sreasonable consumers such as the parents and guardians of Plaintiff and Subclass Members
20   about the terms under which their children were watching the YouTube Platform as well as the fact that
21   Defendants were collecting and profiting from minors’ Personal Information without Plaintiffs’ or their
22   parents and guardian’s knowledge or consent.
23                  Defendants had a duty to disclose the above-described facts due to the important public
24   interest in securing the privacy of minors’ Personal Information and the fact that minors are unable to
25   fully protect their own interests. Plaintiff and Massachusetts Subclass Members placed trust in
26   Defendants as major and reputable companies who represent that they are in compliance with applicable
27   laws and public policy to safeguard minors’ Personal Information. Additionally, Defendants had sole
28   ability to understand the extent of the Google Defendants’ collection of Personal Information and the

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 1   parents or guardians of Plaintiff and Massachusetts Subclass Members could not reasonably have
 2   discovered—and were unaware of—Defendants’ secret tracking, profiling, and targeting.
 3                   Defendants invaded Plaintiff’s and Subclass Members’ privacy without their or their
 4   parents and guardians’ consent. Because Defendants’ held themselves out as complying with law and
 5   public policy regarding minors’ privacy rights, Plaintiff and Massachusetts Subclass Members acted
 6   reasonably in relying on Defendants’ misrepresentations and omissions.
 7                           Defendants acted intentionally, knowingly, and maliciously to violate
 8   Massachusetts’ Consumer Protection Act, and recklessly disregarded Plaintiff and Massachusetts
 9   Subclass Members’ rights. Defendants knew or should have known that by not securing verifiable
10   parental consent before showing YouTube content created for children to minors, they were failing to
11   safeguard minors’ Personal Information, and that collection of minors’ Personal Information in
12   contravention of law and public policy was highly likely.
13                   Defendants’ deceptive trade practices caused injury in fact and actual damages to A.G.
14   and Massachusetts Subclass Members. As a direct and proximate result of Defendants’ unfair and
15   deceptive acts and practices, Plaintiff and Massachusetts Subclass Members have suffered and will
16   continue to suffer injury,an ascertainable lossesloss of money or property, real or personal, and monetary
17   and nonmonetarynon-monetary damages, as described above, including the loss or diminishment in value
18   of their Personal Information and the loss of the ability to control the use of their Personal Information,
19   which allowed Defendants to profit at the expense of A.G. and Massachusetts Subclass Members.
20                   Plaintiff and Massachusetts Subclass members. Plaintiff’s and Subclass Members’
21   Personal Information has tangible value; it is now in the possession of Defendants, who have used and
22   will use it for their financial gain.
23                           Plaintiff, through their parent and guardian Goodwin, sent a demand for relief to
24   the Google Defendants (the only Defendants with offices located in Massachusetts) on March 26, 2020.
25   The Google Defendants responded to Plaintiff’s demand on April 10, 2020 and did not offer Plaintiff
26   Goodwin relief.
27                   The Google Defendants’ retention of Plaintiff’s and Massachusetts’ Subclass Members’
28   Personal Information present a continuing risk to them.

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 1                          Plaintiff Goodwin and Massachusetts Subclass Members seek all monetary and
 2   non-monetary relief allowed by law, including actual damages, double or trouble damages, injunctive or
 3   other equitable relief, and attorneys’ fees and costs.
 4                                     ELEVENTH CLAIM FOR RELIEF
 5                  Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et. seq.
 6       (Brought on Behalf of Plaintiff Jones and the Colorado Subclass Against All Defendants)
 7                  Plaintiff Jones incorporates the foregoing allegations as if fully set forth herein.
 8                  Defendants are “persons” as defined by C.R.S. § 6-1-102(6);
 9                  Plaintiff Jones, her minor children E.J, N.J, A.J, and L.J., and Colorado Subclass
10   Members are actual or potential consumers of the YouTube Platform and Channel Owner Defendants’
11   Channels hosted on this platform. They are also actual or potential consumers of the advertisements
12   for goods and services shown on Channel Owner Defendants’ Channels by Google Defendants.
13                  Defendants engaged in deceptive, unfair, and unlawful trade acts or practices in the
14   course of their business, vocation, or occupation, in violation of C.R.S. § 6-1-105, including but not
15   limited to the following:
16         (a)      Knowingly or recklessly made a false representation as to the characteristics and use of
17                  the YouTube Platform by minors, in violation of C.R.S. §6-1-105(e);
18         (b)      Represented that the YouTube Platform and Channel Owner Defendants’ Channels
19                  complied with privacy laws, public policy, and minors’ rights although they knew or
20                  should have known that the content did not protect minors’ Personal Information, in
21                  violation of C.R.S. §6-1-105(g);
22         (c)      Advertised content on YouTube Channels with an intent not sell it as advertised, in
23                  violation of C.R.S. §6-1-105(i);
24         (d)      Made false or misleading statements as to price and cost of using the YouTube Platform
25                  and viewing Channel Owner Defendants’ Channels, in violation of C.R.S. §6-1-105(l);
26         (e)      Employed “bait and switch” advertising, allowing advertising on YouTube Channels on
27                  terms other than those advertised and with undisclosed conditions, in violation of C.R.S.
28                  §6-1-105(n);

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 1         (f)       Failed to disclose the material information that they were collecting minors’ Personal
 2                   Information in order to induce Colorado Subclass Members to view Channel Owner
 3                   Defendants’ Channels and the accompanying advertisements, in violation of C.R.S. §6-
 4                   1-105(u);
 5         (g)       Collected the Personal Information of minors, in violation of the duties imposed by and
 6                   the public policies reflected in applicable federal and state laws, including COPPA and
 7                   the Colorado Right against intrusion upon seclusion, in violation of C.R.S. §6-1-105(3).
 8                   As detailed infra, Defendants’ deceptive trade practices significantly impacted the
 9   public, because there are millions of viewers of their YouTube Channels, including Plaintiff Jones, her
10   minor children E.J, N.J, A.J, and L.J., and Colorado Subclass Members.
11                   Defendants’ representations and omissions were material because they were likely to
12   deceive reasonable consumers to induce them to allow their minor children to watch YouTube without
13   being aware that Defendants’ were collecting and profiting from minors’ Personal Information.
14                   Defendants’ deceptive trade practices caused injury in fact and actual damages to E.J,
15   N.J, A.J, and L.J. and Colorado Subclass Members in the form of the loss or diminishment in value of
16   their Personal Information and the loss of the ability to control the use of their Personal Information,
17   which allowed Defendants to profit at the expense of E.J, N.J, A.J, and L.J. and Colorado Subclass
18   Members.
19                   The injuries of E.J, N.J, A.J, and L.J. and Colorado Subclass Members were to legally
20   protected interests. The gravity of the harm of Defendants’ secret tracking, profiling, and targeting of
21   minors under the age of thirteen is significant and there is no corresponding benefit to consumers of
22   such conduct.
23                   Plaintiff Jones and Colorado Class Members seek relief under Colo. Rev. Stat. § 6-1-
24   101, et. seq., including, not limited to, compensatory damages, statutory damages, restitution, penalties,
25   injunctive relief, and/or attorneys’ fees and costs.
26                                     TWELFTH CLAIM FOR RELIEF
27                   Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-0.5-1, et seq.
28      (Brought on Behalf of Plaintiff Dishman and the Indiana Subclass Against All Defendants)

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 1                  Plaintiff Dishman incorporates the foregoing allegations as if fully set forth herein.
 2                  Defendants are “persons” as defined by Ind. Code § 24-5-0.5-2(a)(2).
 3                  Defendants are “suppliers” as defined by Ind. Code § 24-5-0.5-2(a)(1) because they
 4   regularly engage in or solicit “consumer transactions” within the meaning of § 24-5-0.5-2(a)(3)(A).
 5                  The Google Defendants have intentionally and deceptively misled parents and the public
 6   about Defendants’ intention to use the YouTube Platform and the monetized channels thereon to attract
 7   and provide video viewing to minors under the age of thirteen in order to gain access to the Personal
 8   Information of such minors and to exploit such minors’ Personal Information for Defendants’ financial
 9   gain. The Google Defendants have falsely asserted that such children are not permitted to access the
10   Platform while, at the same time, the Google Defendants and the Channel Owner Defendants have, at
11   all times throughout the Class Period, been well aware that minors under the age of thirteen access
12   YouTube’s channels; have actively sought to increase viewing of the YouTube Platform by children
13   under the age of thirteen; and have sought to exploit, for commercial purposes and gain, the millions of
14   YouTube viewers under the age of thirteen. Defendants’ knowledge of the widespread use of the
15   Platform by children under the age of thirteen (which the Google Defendants have expressly touted in
16   their advertising sales efforts) and failure to disclose that they are tracking, profiling, and targeting such
17   children without parental consent, while at the same time representing that the You Tube Platform does
18   not permit and does not seek to reach children under the age of thirteen, are likely to and, in fact, did
19   deceive Plaintiff and Indiana Subclass Members.
20                  Defendants’ actions constituted unfair, abusive, and deceptive acts, omissions, and
21   practices in connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).
22                  Defendants’ representations and omissions include both implicit and explicit
23   representations.
24                  Defendants’ acts and practices were “unfair” because they caused or were likely to cause
25   substantial injury to Plaintiff Dishman, her minor child C.D., and Indiana Subclass Members which was
26   not reasonably avoidable by them and not outweighed by countervailing benefits to consumers or to
27   competition.
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 1                  The injury to Plaintiff, C.D., and Indiana Subclass Members was and is substantial
 2   because it was non-trivial and non-speculative; and involved a significant monetary injury to the value
 3   of the Personal Information and loss of attendant revenue.
 4                  Plaintiff and Indiana Subclass Members could not have reasonably avoided injury
 5   because Defendants’ business acts and practices unreasonably created or took advantage of an obstacle
 6   to the free exercise of their decision-making. By withholding the important information that they were
 7   collecting and profiting from minors’ Personal Information, Defendants created an asymmetry of
 8   information that precluded parents from taking action to avoid or mitigate injury by preventing their
 9   children under the age of 13 from viewing YouTube videos.
10                  Defendants engaged in “deceptive” acts and practices in violation of Indiana Code § 24-
11   5-0.5-3(a) and § 24-5-0.5-3(b), including:
12                     a. Misrepresenting that the subject of a consumer transaction has sponsorship,
13                         approval, performance, characteristics, accessories, uses, or benefits it does not
14                         have which the supplier knows or should reasonably know it does not have;
15                     b. Misrepresenting that the subject of a consumer transaction is of a particular
16                         standard, quality, grade, style, or model, if it is not, and if the supplier knows or
17                         should reasonably know that it is not; and;
18                     c. Misrepresenting that the subject of a consumer transaction will be supplied to the
19                         public in greater quantity (i.e., more data security) than the supplier intends or
20                         reasonably expects.
21                  Defendants’ acts and practices were “abusive” for numerous reasons, including:
22                   a. Defendants materially interfered with Plaintiff and Indiana Subclass Members’
23                      ability to understand the terms and conditions of their minors’ viewing of YouTube
24                      Channels. Defendants’ failure to disclose their collecting and profiting from minors’
25                      Personal Information interfered with Plaintiff and Indiana Subclass Members’
26                      decision-making.
27                     b. Defendants unreasonably took advantage of Plaintiff and Indiana Subclass
28                         Members’ lack of understanding about the material risks, costs, or conditions of

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 1                          a consumer transaction. Plaintiff and Indiana Subclass Members did not
 2                          understand that their minors’ Personal Information was being collected and
 3                          monetized by Defendants.
 4                      c. Defendants took unreasonable advantage of consumers’ inability to protect their
 5                          own interests. Plaintiff and Indiana Subclass Members’ could not protect minors’
 6                          Personal Information due to the information asymmetry between them and
 7                          Defendants.
 8                      d. Defendants took unreasonable advantage of Plaintiff and Indiana Subclass
 9                          Members’ reasonable reliance that Defendants were acting in accordance with
10                          law and public policy to not profit from minor’s Personal Information.
11                  Defendants intended to mislead Plaintiff and Indiana Subclass Members and induce them
12   to rely on their misrepresentations and omissions.
13                  Defendants’ representations and omissions were material because they were likely to
14   deceive reasonable consumers to induce them to allow their minor children to watch YouTube without
15   being aware that Defendants were collecting and/or profiting from minors’ Personal Information.
16                  Defendants had a duty to disclose the above-described facts due to the public interest in
17   securing the privacy of minors’ Personal Information and the fact that minors are unable to fully protect
18   their own interests. Plaintiff and Indiana Subclass Members placed trust in Defendants as major and
19   reputable companies who represent that they are in compliance with applicable laws and public policy
20   to safeguard minors’ Personal Information. Additionally, Defendants had sole ability to understand the
21   extent of Google Defendants’ collection of Personal Information and Plaintiff and Indiana Subclass
22   Members could not reasonably have discovered—and were totally unaware of—Defendants’ secret
23   tracking, profiling, and targeting.
24                  Had Defendants disclosed to Plaintiff and Indiana Subclass Members that they were
25   collecting and/or profiting from minors’ Personal Information, Defendants would have been unable to
26   earn increased profits from the use of behavior-based advertising. Defendants would have been forced
27   to stop collecting and/or profiting from minors’ Personal Information. Because Defendants held
28   themselves out as complying with law and public policy regarding minors’ privacy rights, Plaintiff and

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 1   Indiana Subclass Members acted reasonably in relying on Defendants’ misrepresentations and
 2   omissions, the truth of which they could not have discovered.
 3                    Defendants acted intentionally, knowingly, and maliciously to violate Indiana’s
 4   Deceptive Consumer Sales Act, and recklessly disregarded Plaintiff and Indiana Subclass Members’
 5   rights. Defendants’ actions were not a result of mistake of fact or law, honest human error or judgment,
 6   overzealousness, mere negligence, or other human failing.
 7                   Defendants’ conduct includes incurable deceptive acts under Ind. Code § 24-5-0.5-
 8   2(a)(8) that Defendants engaged in as part of a scheme, artifice, or device with intent to defraud or
 9   mislead.
10                   As a direct and proximate result of Defendants’ uncured or incurable unfair, abusive, and
11   deceptive acts or practices, C.D. and Indiana Subclass members have suffered and will continue to suffer
12   injury, ascertainable losses of money or property, and monetary and non-monetary damages, including
13   from loss of value of their Personal Information and accompany revenue.
14                   The Google Defendants’ retention of C.D.’s and Indiana Subclass Members’ Personal
15   Information present a continuing risk to them as well as to the general public.
16                   Plaintiff and Indiana Subclass Members seek all monetary and nonmonetary relief
17   allowed by law, including the greater of actual damages or $500 for each non-willful violation; the
18   greater of treble damages or $1,000 for each willful violation; restitution; reasonable attorneys’ fees and
19   costs; injunctive relief; and punitive damages.
20                                    THIRTEENTH CLAIM FOR RELIEF
21                     New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8-1, et. seq.
22     (Brought on Behalf of Plaintiff EfrosPlaintiffs J.A.E. and J.R.E. and the New Jersey Subclass
23                                               Against All Defendants)
24                           Plaintiff Efros incorporatesPlaintiffs J.A.E. and J.R.E. incorporate the foregoing
25   allegations as if fully set forth herein.
26                           Defendants are persons within the meaning of N.J. Stat. Ann. § 56:8-1(d).
27                           The Google Defendants’ YouTube Platform, the Channel Owner Defendants’
28   YouTube Channelschannels, and the advertisement placed on the Channel Owner Defendants’

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 1   Channelschannels by the Google Defendants constitute “merchandise” pursuant to § 56:8-1(c), because
 2   they constitute commodities or services offered directly or indirectly to the public for sale.
 3                          Defendants’ offered YouTube content for “sale” to Plaintiff, his minor children
 4   J.A.E. and J.R.E.,Plaintiffs and New Jersey Subclass Members within the meaning of § 56:8-1(e)
 5   because they attempted directly or indirectly to sell advertised products or services to YouTube
 6   ChannelPlatform viewers.
 7                          Defendants’ conduct was deceptive, unfair, and unlawful in numerous respects.
 8   The Google Defendants have intentionally and deceptively misled parents and the public about
 9   Defendants’ intention to use the YouTube Platform and the monetized channels thereon to attract and
10   provide video viewing to minors under the age of thirteen children in order to gain access to the Personal
11   Information of such minorschildren and to exploit such minors’children’s Personal Information for the
12   Google Defendants’ and the Channel Owner Defendants’ financial gain. TheDuring the Class Period,
13   the Google Defendants have falsely asserted that suchthey “do no evil” and are being “transparent”
14   about “what data we collect, how it’s used, and why” (among other misrepresentations), that they
15   comply with all applicable laws, and that children are not permitted to access the Platform while,
16   atYouTube Platform. The parents and guardians of Plaintiffs and Subclass members also reasonably
17   expected that all Defendants, including the Channel Owners, respect children’s privacy online, in
18   accordance with societal expectations and public policy as well as state and federal statutes and
19   regulations including COPPA and Federal Trade Commission regulations. At the same time, the Google
20   Defendants and the Channel Owner Defendants have, at all times throughout the Class Period, been well
21   aware that minors under the age of thirteenchildren access YouTube’s channels; have actively sought to
22   increase viewing of the YouTube Platform by children under the age of thirteen; and have sought to
23   exploit, for commercial purposes and gain, the millions of YouTubechild viewers under the age of
24   thirteen. of YouTube. Defendants’ knowledge of the widespread use of the Platform by children under
25   the age of thirteen (which the Google Defendants have expressly touted in their advertising sales efforts)
26   and failure to disclose that they are tracking, profiling, and targeting such children without parental
27   consent and/or profiting from this behavior, while at the same time representing that the You
28   TubeYouTube Platform complies with law and societal expectation, and does not permit and does not

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 1   seek to reach children under the age of thirteen, are likely to and, in fact, did deceive PlaintiffPlaintiffs
 2   and New Jersey Subclass members.Members and their parents or guardians.
 3                  The Channel Owner Defendants’ conduct separately violates the New Jersey Consumer
 4   Fraud Act. All Defendants acted in concert to harm Plaintiffs and class members, and/or the Channel
 5   Owner Defendants substantially participated in, directed, permitted, assisted, and/or encouraged the
 6   Google Defendants in the conduct herein described.
 7                  Moreover, the Channel Owner Defendants aided and abetted the Google Defendants. They
 8   had actual knowledge that the Google Defendants’ conduct breached duties owed by law and public
 9   policy, and they gave substantial assistance or encouragement to the Google Defendants in this conduct.
10   Channel Owner Defendants personally participated in these unlawful and unfair practices by creating and
11   posting child-directed content and allowing more profitable behavioral advertising on their YouTube
12   Channels. They also had unbridled control over these practices, in that they could have chosen not to post
13   child-directed content or not to allow behavioral advertising
14                          Defendants operating in New Jersey engaged in unconscionable and deceptive
15   acts and practices, misrepresentation, anddeceptions, fraud, false pretenses, false promises,
16   misrepresentations, or the knowing, concealment, suppression, andor omission of material facts with
17   respect to the Personal Information collected on viewers of videos they created for or hosted on the
18   YouTube Platformthese practices, in violation of N.J. Stat. Ann. § 56:8-2, including: .
19                  a.      Defendants knowingly omitted, suppressed, and concealed the material fact that
20                          they were collecting and monetizing through advertisement the Personal
21                          Information of New Jersey Subclass Members, with the intent that others rely on
22                          the omission, suppression, and concealment;
23                  b.      Defendants engaged in unconscionable and deceptive acts and practices by
24                          collecting and profiting from minors’ personal information, in violation of duties
25                          imposed by and public policies reflected in applicable federal and state laws,
26                          including COPPA;
27                  c.      Defendants engaged in unconscionable and deceptive acts and practices with
28                          respect to the sale of YouTube video services by failing to take proper action

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 1                         following the collection of minors’ Personal Information to protect this
 2                         information from further use to direct behavior-based advertising to minors.
 3                         The above unlawful and deceptive acts and practices and acts by Defendants were
 4   immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers
 5   that the consumers could not reasonably avoid; this substantial injury outweighed any benefits to
 6   consumers or to competition.
 7                         Defendants’ representations and omissions were material because they were likely
 8   to deceive Plaintiffreasonable consumers such as the parents and guardians of Plaintiffs and New Jersey
 9   Subclass members’Members about the collection and monetization of minor children’sterms under which
10   their children were watching the YouTube Platform as well as the fact that Defendants were collecting
11   and profiting from minors’ Personal Information without their parents and guardian’s knowledge or
12   consent.
13                         Defendants intended to mislead PlaintiffPlaintiffs and New Jersey Subclass
14   Members and their parents and guardians and induce them to rely on their misrepresentations and
15   omissions.
16                         Defendants knew or should have known that by not securing verifiable parental
17   consent before showing YouTube content to minors, they were failing to safeguard minors’ Personal
18   Information and that collection of minors’ Personal Information in contravention of law and public
19   policy was highly likely. Defendants’ actions in engaging in the above-named unfair practices and
20   deceptive acts were intentional, negligent, knowing, willful, malicious, and/or wanton and reckless with
21   respect to the rights of members of the New Jersey Subclass.
22                         Defendants had a duty to disclose the above-described facts due to the important
23   public interest in securing the privacy of minors’ Personal Information and the fact that minorschildren
24   are unable to fully protect their own interests. Plaintiff Plaintiffs and New Jersey Subclass Members
25   placed trust in Defendants as major and reputable companies who represent that they are in compliance
26   with applicable laws and public policy to safeguard minors’ Personal Information. Additionally,
27   Defendants had sole ability to understand the extent of the Google Defendants’ collection of Personal
28   Information and Plaintiffthe parents or guardians of Plaintiffs and New Jersey Subclass Members could

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 1   not reasonably have discovered—and were totally unaware of—Defendants’ secret tracking, profiling,
 2   and targeting.
 3                           Had Defendants disclosed to Plaintiffinvaded Plaintiffs’ and New Jersey Subclass
 4   Members that they were collectingMembers’ privacy without their or their parents and/or profiting from
 5   minors’ Personal Information, Defendants would have been unable to earn increased profits from the
 6   use of behavior-based advertising. Defendants would have been forced to stop collecting and/or profiting
 7   from minors’ Personal Information. guardians’ consent. Because Defendants’ held themselves out as
 8   complying with law and public policy regarding minors’children’s privacy rights, Plaintiff and New
 9   Jersey Subclass Members acted reasonably in relying on Defendants’ misrepresentations and omissions,
10   the truth of which they could not have discovered.
11                           Defendants’ deceptive trade practices caused injury in fact and actual damages to
12   Plaintiffs and New Jersey Subclass Class Members. As a direct and proximate result of Defendants’
13   unconscionable or deceptive acts and practices, Plaintiff Efros, of J.A.E. and J.R.E.,Plaintiffs and New
14   Jersey Subclass Class Members have suffered and will continue to suffer an ascertainable loss in
15   moneysof money or property, real or personal, and monetary and non-monetary damages, as described
16   above, including the loss or diminishment in value of their Personal Information and the loss of the
17   ability to control the use of their Personal Information, which allowed Defendants to profit at the expense
18   of J.A.E. and J.R.E.Plaintiffs and New Jersey Subclass Membersmembers. Plaintiffs’ and Subclass
19   members’ Personal Information has tangible value; it is now in the possession of Defendants, who have
20   used and will use it for their financial gain.
21                    Plaintiff EfrosThe Google Defendants’ retention of Plaintiffs’ and New Jersey Subclass
22   Members’ Personal Information present a continuing risk to them.
23                    Plaintiffs and New Jersey Subclass Members seek relief under N.J. Stat. Ann. § 56:8-19,
24   including, but not limited to, injunctive relief, other equitable relief, actual damages, treble damages,
25   and attorneys’ fees and costs.
26                                    FOURTEENTH CLAIM FOR RELIEF
27               Tennessee Consumer Protection Act, Tenn. Code Ann. §§ 47-18-101, et. seq.
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 1         (Brought on Behalf of Plaintiff GilmoreM.W. and the Tennessee Subclass Against All
 2                                                Defendants)
 3                         Plaintiff GilmoreM.W. incorporates the foregoing allegations as if fully set forth
 4   herein.
 5                         Plaintiff Gilmore and Tennessee Subclass membersMembers are “consumers”
 6   within the meaning of Tenn. Code § 47-18-103(2).
 7                         Defendants are “persons” within the meaning of Tenn. Code § 47-18-103(13).
 8                         Defendants advertised, offered, or sold goods or services in Tennessee in
 9   consumer transactions and engaged in trade or commerce directly or indirectly affecting the people of
10   Tennessee, as defined by Tenn. Code §§ 47-18-103(7), (18) & (19). And Defendants’ acts or practices
11   affected the conduct of trade or commerce, under Tenn. Code § 47-18-104.
12                  Defendants’ acts or practices affected the conduct of trade or commerce, under Tenn.
13   Code § 47-18-104.
14                         Defendants’ conduct was deceptive, unfair, and unlawful in numerous respects.
15   The Google Defendants have intentionally and deceptively misled parents and the public about
16   Defendants’ intention to use the YouTube Platform and the monetized channels thereon to attract and
17   provide video viewing to minors under the age of thirteenchildren in order to gain access to the Personal
18   Information of such minorschildren and to exploit such minors’children’s Personal Information for the
19   Google Defendants’ and the Channel Owner Defendants’ financial gain. TheDuring the Class Period,
20   the Google Defendants have falsely asserted that such they “do no evil” and are being “transparent”
21   about “what data we collect, how it’s used, and why” (among other misrepresentations), that they
22   comply with all applicable laws, and that children are not permitted to access the Platform while,
23   atYouTube Platform. The parents and guardians of Plaintiff and Subclass members also reasonably
24   expected that all Defendants, including the Channel Owners, respect children’s privacy online, in
25   accordance with societal expectations and public policy as well as state and federal statutes and
26   regulations including COPPA and Federal Trade Commission regulations. At the same time, the Google
27   Defendants and the Channel Owner Defendants have, at all times throughout the Class Period, been well
28   aware that minors under the age of thirteenchildren access YouTube’s channels; have actively sought to

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 1   increase viewing of the YouTube Platform by children under the age of thirteen; and have sought to
 2   exploit, for commercial purposes and gain, the millions of YouTubechild viewers under the age of
 3   thirteen. of YouTube. Defendants’ knowledge of the widespread use of the Platform by children under
 4   the age of thirteen (which the Google Defendants have expressly touted in their advertising sales efforts)
 5   and failure to disclose that they are tracking, profiling, and targeting such children without parental
 6   consent and/or profiting from this behavior, while at the same time representing that the You
 7   TubeYouTube Platform complies with law and societal expectation, and does not permit and does not
 8   seek to reach children under the age of thirteen, are likely to and, in fact, did deceive Plaintiff and
 9   Tennessee Subclass members. Members and their parents or guardians
10                     The Channel Owner Defendants’ conduct separately violates the Tennessee Consumer
11   Protection Act. All Defendants acted in concert to harm Plaintiffs and class members, and/or the Channel
12   Owner Defendants substantially participated in, directed, permitted, assisted, and/or encouraged the
13   Google Defendants in the conduct herein described.
14                  Moreover, the Channel Owner Defendants aided and abetted the Google Defendants. They
15   had actual knowledge that the Google Defendants’ conduct breached duties owed by law and public
16   policy, and they gave substantial assistance or encouragement to the Google Defendants in this conduct.
17   Channel Owner Defendants personally participated in these unlawful and unfair practices by creating and
18   posting child-directed content and allowing more profitable behavioral advertising on their YouTube
19   channels. They also had unbridled control over these practices, in that they could have chosen not to post
20   child-directed content or not to allow behavioral advertising.
21                          By representing that YouTube does not collect the Personal Information of
22   minors, Defendants engaged in unlawful, unfair, and deceptive acts and practices in violation of Tenn.
23   Code § 47-18-104(b), including:
24              a. Representing that goods or services have sponsorship, approval, characteristics,
25                  ingredients, uses, benefits or quantities that they do not have;, (b)(5);
26              b. Representing that goods or services are of a particular standard, quality or grade, if they
27                  are of another;, (b)(7);
28              c. Advertising goods or services with intent not to sell them as advertised;, (b)(9); and

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 1              d. Representing that a consumer transaction confers or involves rights, remedies or
 2                  obligations that it does not have or involve., (b)(12).
 3                  The above unlawful, unfair, and deceptive acts and practices by Defendants were immoral,
 4   unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers that the
 5   consumers could not reasonably avoid; this substantial injury outweighed any benefits to consumers or
 6   to competition.
 7                         Defendants’The above unlawful, unfair, and deceptive acts and practices by
 8   Defendants were unfair because theyimmoral, unethical, oppressive, and unscrupulous. These acts
 9   caused or were likely to cause substantial injury to Plaintiff and Tennessee Subclass Members
10   consumers that wasthe consumers could not reasonably avoidable by them and not avoid; this substantial
11   injury outweighed by countervailingany benefits to consumers or to competition.
12                  The injury to Plaintiff, M.W., and Tennessee Subclass Members was and is substantial
13   because it was non-trivial and non-speculative; and involved a monetary injury and an unwarranted risk
14   to the safety of their Personal Information. The injury to consumers was substantial not only because it
15   inflicted harm on a significant and unprecedented number of consumers, but also because it inflicted a
16   significant amount of harm on each consumer.
17                         Plaintiff and Tennessee Subclass Members could not have reasonably avoided
18   injury because Defendants’ business acts and practices unreasonably created or took advantage of an
19   obstacle to the free exercise of their decision-making. By withholdingmisleading Plaintiff’s and
20   Tennessee Subclass Members’ parents and/or guardians about the important information that they were
21   collecting and profiting from minors’ Personal Information, Defendants created an asymmetry of
22   information that precluded parents from taking action to avoid or mitigate injury by preventing their
23   children under the age of 13 from viewing YouTube videos.
24                          Defendants knew or should have known that they were collecting and/or
25   profiting from minors’ Personal Information and that the risk of collecting of minors’ Personal
26   Information was highly likely. Defendants’ actions in engaging in the above-named deceptive acts and
27   practices were negligent, knowing and willful, and/or wanton and reckless with respect to the rights of
28   Plaintiff Gilmore and members of the Tennessee Subclass.

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 1                         Defendants intended to mislead Plaintiff and Tennessee Subclass Members and
 2   their parents and guardians and induce them to rely on its misrepresentations and omissions.
 3                         Defendants’ representations and omissions were material because they were likely
 4   to deceive reasonable consumers to induce them to allow such as the parents or guardians of Plaintiff and
 5   Tennessee Subclass Members about the terms under which their minor children to watch were watching
 6   the YouTube without being awarePlatform as well as the fact that Defendants’Defendants were collecting
 7   and profiting from minors’ Personal Information without their parents and guardians’ knowledge or
 8   consent.
 9                         Defendants had a duty to disclose the above-described facts due to the public
10   interest in securing the privacy of minors’ Personal Information and the fact that fact that minors are
11   unable to fully protect their own interests. Plaintiff and Tennessee Subclass Members placed trust in
12   Defendants as major and reputable companies who represent that they are in compliance with applicable
13   laws and public policy to safeguard minors’ Personal Information. Additionally, Defendants had sole
14   ability to understand the extent of the Google Defendants’ collection of Personal Information and the
15   parents or guardians of Plaintiff and Tennessee Subclass Members could not reasonably have
16   discovered—and were totally unaware of—Defendants’ secret tracking, profiling, and targeting.
17                         Had Defendants disclosed to Plaintiff and Tennessee Subclass Members that they
18   were collecting and/or profiting from minors’ Personal Information, Defendants would have been unable
19   to earn increased profits from the use of behavior-based advertising. Defendants would have been forced
20   to stop collectinginvaded Plaintiff’s and Subclass Members’ privacy without their or their parents and/or
21   profiting from minors’ Personal Information. guardians’ consent. Because Defendants’ held themselves
22   out as complying with law and public policy regarding minors’ privacy rights, Plaintiff and Tennessee
23   Subclass Members acted reasonably in relying on Defendants’ misrepresentations and omissions, the
24   truth of which they could not have discovered.
25                         Defendants acted intentionally, knowingly, and maliciously to violate the
26   Tennessee Consumer Protection Act, and recklessly disregarded Plaintiff and Tennessee Subclass
27   Members’ rights. Defendants’ actions were not a result of mistake of fact or law, honest human error or
28   judgment, overzealousness, mere negligence, or other human failing.

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 1                          Defendants’ deceptive trade practices caused injury in fact and actual damages to
 2   Plaintiff and Tennessee Subclass Members. As a direct and proximate result of Defendants’ deceptive
 3   acts and practices, Plaintiff Gilmore’s minor child M.W. and Tennessee Subclass Members have
 4   suffered and will continue to suffer an ascertainable loss of money or property, real or personal, and
 5   monetary and non-monetary damages, as described above, including the loss or diminishment in value
 6   of their Personal Information and the loss of the ability to control the use of their Personal Information,
 7   which allowed Defendants to profit at the expense of M.W.Plaintiff and Tennessee Subclass members.
 8   Plaintiff’s and Subclass Members’ Personal Information has tangible value; it is now in the possession
 9   of Defendants, who have used and will use it for their financial gain.
10                          The Google Defendants’ retention of M.W.’sPlaintiff’s and Tennessee Subclass
11   Members’ Personal Information present a continuing risk to them.
12                          Plaintiff Gilmore and Tennessee Subclass Members seek relief under Tenn. Code
13   Ann. § 47-18-109, including, but not limited to, injunctive relief, actual damages, treble damages for
14   each willful or knowing violation, and attorneys’ fees and costs.
15                                             PRAYER FOR RELIEF
16          WHEREFORE, Plaintiffs, individually and in their capacity as parents and guardians of their
17   minor children identified herein, on behalf of themselves and the proposed Classes and Subclasses,
18   respectfully request relief as follows:
19         A.      An order certifying this action as a class action, and certifying the Classes and Subclasses
20                 defined herein, designating Plaintiffs, as described above, as the representatives of the
21                 respective Classes and Subclasses defined herein, and appointing Plaintiffs’ counsel as
22                 counsel for the Classes and Subclasses;
23         B.      An order declaring that Defendants’ actions, as described above constitute: (i) breaches
24                 of the common law claim of intrusion upon seclusion as to the Intrusion Upon Seclusion
25                 Class; (ii) a violation of California’s Business & Professions Code as cited herein; (iii) a
26                 violation of the right to privacy under the California Constitution, Article I, Section 1; (iv)
27                 a violation of the New Jersey Consumer Fraud Act, the Colorado Consumer Protection
28                 Act, the Indiana Deceptive Consumer Sales Act, the Tennessee Consumer Protection Act,

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 1                 and the Massachusetts Consumer Protection Act as cited herein; and (v) that Defendants’
 2                 were unjustly enriched as a result of their actions.
 3         C.      A judgment awarding Plaintiffs and the members of the Classes and Subclasses
 4                 appropriate relief, including actual, compensatory, and/or statutory damages, and punitive
 5                 damages (as permitted by law), in an amount to be determined at trial;
 6         D.      A judgment awarding any and all equitable, injunctive, and declaratory relief as may be
 7                 appropriate, including orders of disgorgement of Defendants’ unlawful gains, and
 8                 restitution.
 9         E.      A judgment awarding all costs, including experts’ fees, attorneys’ fees, and the costs of
10                 prosecuting this action, and other relief as permitted by law;
11         F.      Pre-judgment and post-judgment interest, as permitted by law; and
12         G.      Grant such other legal and equitable relief as the Court may deem appropriate.
13                                       DEMAND FOR JURY TRIAL
14          Plaintiffs demand a trial by jury for all issues so triable.
15
16   Dated: April 14, 2020January 22, 2021                                 Respectfully submitted,
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